Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 1 of 97 PageID: 75722




                      Exhibit 104
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 2 of 97 PageID: 75723
Reproductive Biology and
Endocrinology                                                                                                                                BioMed Central



Review                                                                                                                                     Open Access
Animal models of ovarian cancer
Barbara C Vanderhyden*1,2,3, Tanya J Shaw1,3 and Jean-François Ethier1,3

Address: 1Department of Cellular and Molecular Medicine, University of Ottawa, 451 Smyth Road, Ottawa, Ontario, Canada K1H 8M5,
2Department of Obstetrics and Gynecology, University of Ottawa, 501 Smyth Road, Ottawa, Ontario, Canada K1H 8L6 and 3Ottawa Regional

Cancer Centre, 503 Smyth Road, Ottawa, Ontario, Canada K1H 1C4
Email: Barbara C Vanderhyden* - Barbara.Vanderhyden@orcc.on.ca; Tanya J Shaw - tshaw018@uottawa.ca; Jean-
François Ethier - jfethier@uottawa.ca
* Corresponding author




Published: 07 October 2003                                                     Received: 28 June 2003
                                                                               Accepted: 07 October 2003
Reproductive Biology and Endocrinology 2003, 1:67
This article is available from: http://www.RBEj.com/content/1/1/67
© 2003 Vanderhyden et al; licensee BioMed Central Ltd. This is an Open Access article: verbatim copying and redistribution of this article are permitted in
all media for any purpose, provided this notice is preserved along with the article's original URL.




                 Abstract
                 Ovarian cancer is the most lethal of all of the gynecological cancers and can arise from any cell type
                 of the ovary, including germ cells, granulosa or stromal cells. However, the majority of ovarian
                 cancers arise from the surface epithelium, a single layer of cells that covers the surface of the ovary.
                 The lack of a reliable and specific method for the early detection of epithelial ovarian cancer results
                 in diagnosis occurring most commonly at late clinical stages, when treatment is less effective. In
                 part, the deficiency in diagnostic tools is due to the lack of markers for the detection of
                 preneoplastic or early neoplastic changes in the epithelial cells, which reflects our rather poor
                 understanding of this process. Animal models which accurately represent the cellular and molecular
                 changes associated with the initiation and progression of human ovarian cancer have significant
                 potential to facilitate the development of better methods for the early detection and treatment of
                 ovarian cancer. This review describes some of the experimental animal models of ovarian
                 tumorigenesis that have been reported, including those involving specific reproductive factors and
                 environmental toxins. Consideration has also been given to the recent progress in modeling
                 ovarian cancer using genetically engineered mice.




Introduction                                                                    genetic factors that influence the phenotypic characteris-
Despite improved knowledge of the etiology of ovarian                           tics of the disease but to utilize as a basis for developing
cancer, aggressive cytoreductive surgery, and modern                            rational intervention strategies. Ovarian cancer cell lines
combination chemotherapy, there has been little change                          derived from ascites or primary ovarian tumors have been
in the mortality statistics over the last 30 years, and                         used extensively and can be very effective for studying the
approximately 60% of the women who develop ovarian                              processes controlling growth regulation and chemosensi-
cancer will die from their disease. Lack of an adequate                         tivity. Our limited knowledge of the initiating events of
screening test for early disease detection and the rapid                        ovarian cancer has restricted the development of models
progression to chemoresistance have prevented apprecia-                         in which the early pathogenic events for ovarian cancer
ble improvement in the five year survival rate of patients                      can be studied. However, there are a few animal models
with ovarian cancer.                                                            that develop ovarian tumors spontaneously, and others
                                                                                where the manipulation of various reproductive factors or
Experimental models for human diseases are of crucial                           exposure to environmental toxins have been shown to
importance not only to understand the biological and                            promote ovarian tumorigenesis. Finally, the recent


                                                                                                                                           Page 1 of 11
                                                                                                                     (page number not for citation purposes)
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 3 of 97 PageID: 75724

Reproductive Biology and Endocrinology 2003, 1                                        http://www.RBEj.com/content/1/1/67



identification of promoters that can drive gene expression   insufficiency in humans. Lats1-/- mice develop soft-tissue
in the ovarian surface epithelium is providing new oppor-    sarcomas and ovarian stromal cell tumors [11].
tunities for the generation of genetically engineered
mouse models of ovarian cancer. Here we describe some        The Ovarian Surface Epithelium
of the models that have been developed to investigate        Although ovarian cancer in humans can arise from any of
ovarian cell transformation.                                 the cell types found in the ovary, almost 90% are derived
                                                             from the ovarian surface epithelium (OSE) [12]. The OSE
Spontaneous and Non-epithelial Ovarian                       covers the entire ovarian surface, and varies morphologi-
Tumorigenesis                                                cally from simple squamous to cuboidal to low pseudos-
There are few animal models that develop ovarian tumors      tratified columnar [13,14]. Embryologically derived from
spontaneously. Hens maintained under intensive egg-lay-      the mesodermal epithelium of the gonadal ridges, OSE
ing conditions develop ovarian adenocarcinomas; how-         cells are continuous with the flattened mesothelium of
ever such tumors are uncommon in hens less than 2 years      the peritoneum [15] and are separated from the underly-
of age [1]. Ovarian tumors will also arise spontaneously     ing stromal compartment of the ovary by a basement
with age in some strains of mice [2], and in Wistar and      membrane. Immunohistochemical staining has shown
Sprague-Dawley rats [3,4]. These tumors show a wide vari-    that OSE cells express cytokeratin, desmoplakin, trans-
ety of histologic sub-types, including tubular adenoma,      forming growth factor-α (TGF-α) and receptors for estro-
adenocarcinoma, papillary cystadenoma, mesothelioma,         gen, progesterone and epidermal growth factor (EGF)
granulosa cell tumor, and polycystic sex cord/stromal        [16–20]. Despite their rather unremarkable appearance in
tumor. However, the low incidence and/or the length of       vivo, it is believed that OSE cells actively participate in the
time required for the appearance of tumors in all of these   ovulatory process. Studies in rabbits and sheep have
models render them poorly feasible for experimental          shown that OSE release proteolytic enzymes that degrade
studies of ovarian carcinogenesis.                           the basement membrane and the underlying apical follic-
                                                             ular wall, weakening the ovarian surface to the point of
Some strains of mice, including C3HeB/Fe and C3HeB/          rupture [21]. The OSE cells directly over the point of rup-
De, show a high incidence of spontaneously occurring         ture undergo apoptotic cell death before ovulation [22]
granulosa cell tumors and tubular adenomas [5]. Strain       and the wound created at the ovulatory site surface is
HAN:NMRI develop spontaneous Sertoli cell-like tumors        repaired by rapid proliferation of OSE cells from the
and (DBA × Ce)F1 hybrids have a high incidence granu-        perimeter of the ruptured follicle [23]. The biology, endo-
losa cell tumors [5]. Granulosa cell tumors also appear      crinology and pathology of the ovarian surface epithelium
spontaneously at 4–6 weeks of age in SWR/J and in SWR/       have recently been reviewed in detail [24].
Bm inbred strain mice, with a maximum incidence
reached by 10 weeks [6]. In some SWXJ strains, granulosa     Although the ovarian surface is generally smooth in early
cell tumors occur spontaneously, and in others granulosa     reproductive life, with aging the ovary becomes more con-
tumors can only be induced by treatment with dehydroe-       voluted. Invaginations of the epithelium result in crypts
piandrosterone [7].                                          or gland-like structures that can become pinched off to
                                                             form epithelial inclusion cysts within the underlying stro-
Spontaneous germ cell tumors are less common, but have       mal compartment [25]. This may occur following the pos-
been reported in LT/Sv and related strains of mice. These    tovulatory proliferation of OSE, follicular attrition, and/
mice have a high frequency of spontaneous ovarian ter-       or from inflammation caused by carcinogens or chemical
atomas arising from follicular oocytes that undergo par-     irritants like talcum powder [26]. The incidence of inclu-
thenogenetic activation. In some strains, this defect        sion cysts increases with advancing age and are common
appears to be associated with an arrest of the oocytes at    in postmenopausal women. Although generally benign in
metaphase of meiosis I [8]. Teratomas arising from par-      nature, these epithelial rearrangements are widely
thenogenetic activation of oocytes also occur in c-mos-      thought to be the potential origin of many epithelial can-
deficient oocytes, which fail to maintain meiotic arrest     cers. The more frequent appearance of epithelial invagina-
after oocyte maturation [9,10].                              tions and inclusion cysts in women with hereditary risk of
                                                             ovarian cancer has strengthened this hypothesis [27]. In
Mice generated to be deficient in the tumor suppressor       addition, some microscopic borderline and malignant
gene Lats1 exhibit a lack of mammary gland development,      tumors have been observed to arise directly within these
infertility and growth retardation. Accompanying these       sites, and they are often associated with dysplasia in simi-
defects are hyperplastic changes in the pituitary and        lar sites elsewhere in the same or contralateral ovary
decreased serum hormone levels. The reproductive hor-        [28,29].
mone defects of Lats1-/- mice are reminiscent of isolated
LH-hypogonadotropic hypogonadism and corpus luteum


                                                                                                                  Page 2 of 11
                                                                                            (page number not for citation purposes)
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 4 of 97 PageID: 75725

Reproductive Biology and Endocrinology 2003, 1                                          http://www.RBEj.com/content/1/1/67




Xenografts of OSE Cells Transformed in vitro                   sion subtractive hybridization to identify differential gene
OSE cells have been implicated as the cell of origin for the   expression patterns that can distinguish normal OSE and
majority of ovarian cancers based primarily on histologi-      ovarian cancer cells [41,42]. These data will be useful for
cal and immunohistochemical analyses of patient sam-           the elucidation of molecular events associated with OSE
ples, but several recent experimental models                   cell transformation.
manipulating these cells in vitro have provided additional
support for this concept. Primary culture of human OSE         Xenografts of Cancer Cells
was first reported by Auersperg et al. in 1984 [30], and her   Xenograft models, where ovarian cancer cells have been
group has since developed several in vitro models of ovar-     injected either subcutaneously or into the peritoneal cav-
ian epithelial carcinogenesis. Introduction of Kirsten         ity have been used extensively for the testing of novel ther-
murine sarcoma virus into rat OSE cells results in             apeutics or modified regimens for administration of
endometrioid tumors following subcutaneous or intra-           standard chemotherapeutic drugs [43–45]. Some mouse
peritoneal injection into immunosuppressed rats [31].          models take advantage of the presence of a bursa, a sac-
Transfection of SV40 T antigen early genes induces             like structure that envelops rodent ovaries. For decades,
immortalization of human OSE cells that delays, but does       researchers have used the intra-bursal space for trans-
not prevent, the senescence that normally occurs after a       plants of xenografted ovaries, or to facilitate direct expo-
few passages [32]. Introduction of E-cadherin into these T     sure of the ovary to various factors. For the generation of
antigen-immortalized cells induces epithelial differentia-     mouse models of ovarian cancer, the injection of ovarian
tion [33] and the cells formed transplantable, invasive        cancer cells into the intra-bursal space results in tumor
adenocarcinomas when injected into SCID mice [34]. In          formation that can perhaps be viewed as more physiolog-
contrast to T antigen-immortalized cells, introduction of      ical (Figure 1), as the cancer cells are placed directly in the
the human papilloma virus E6 and E7 genes into human           environment where ovarian tumors normally arise [46].
OSE cells results in the spontaneous progression from a
benign to invasive phenotype [35].                             Reproductive Factors and Ovarian
                                                               Tumorigenesis
Unlike human OSE, rat and mouse OSE do not senesce.            Unlike most other cancers, the series of events involved in
Rat OSE cells that have spontaneously immortalized but         the initiation, progression and metastasis of ovarian can-
are not tumorigenic (eg. ROSE 199 cells; [36]) have been       cer is not yet established. It is not clear if malignancies
used in a variety of experiments, including some to char-      arise from benign or borderline tumors or if they develop
acterize the cellular features when SV40 T antigen or H-ras    de novo from the surface epithelium or inclusion cysts, as
is introduced into immortalized cells and following the        there is evidence for both [47]. The incidence of ovarian
formation of tumors when these cells are xenografted into      cancer climbs dramatically in women around the age at
nude mice [37]. Repeated subculture of rat and mouse           which they reach menopause. The reason for this is not
OSE cells to maintain continued proliferation results in       clear, but two of the major changes associated with men-
spontaneous malignant transformation, as characterized         opause form the foundation for hypotheses regarding the
by loss of contact inhibition, substrate-independent           origin of ovarian tumors: 1) the depletion of oocytes or
growth and the ability to form tumors in nude mice             germ cells, which is the underlying cause of menopause,
[38,39]. In a variation of the above in vitro transformation   and 2) a significant increase in the pituitary's production
approaches, Orsulic and colleagues used the RCAS retro-        of the gonadotropic hormones, follicle-stimulating hor-
viral vector to introduce oncogenes into OSE cells from        mone (FSH) and luteinizing hormone (LH), that arises as
transgenic mice bearing the RCAS receptor TVA and the          a consequence of the reduced follicular estrogen levels. In
cells were evaluated for tumorigenicity by injection into      addition to the loss of germ cells and the associated alter-
immune-deficient or syngeneic animals [40]. The investi-       ations in hormone levels which normally occur at meno-
gators found that p53 deficiency in combination with two       pause, there are a number of non-menopausal factors that
oncogenes from among C-MYC, K-RAS, or AKT were                 have been shown to have physiological relevance in epi-
required to achieve transformation.                            thelial ovarian tumorigenesis, including ovulation. Each
                                                               of these will be discussed in the context of the animal
While these models allow an evaluation of oncogenes            models that have resulted from the experimental manipu-
whose activation may contribute to the development of          lations of these factors.
epithelial ovarian cancer, this approach does not allow
the investigation of the early events in ovarian tumorigen-    Ovulation
esis inherent in mice when the tumors arise in situ. How-      The "incessant ovulation hypothesis" proposes that con-
ever, the establishment of in vitro models of normal and       tinuous ovulation, with its successive rounds of surface
transformed OSE cells has provided the opportunity to          rupture and OSE cell mitosis to repair the wound, renders
use molecular approaches such as microarray or suppres-        the cells susceptible to malignant transformation [48].


                                                                                                                    Page 3 of 11
                                                                                              (page number not for citation purposes)
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 5 of 97 PageID: 75726
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 6 of 97 PageID: 75727

Reproductive Biology and Endocrinology 2003, 1                                          http://www.RBEj.com/content/1/1/67



cells, since normal human OSE cells and epithelial inclu-       only are at an increased risk of ovarian cancer [69]. In ani-
sions have been found to express receptors for FSH [55]         mals, continuous exposure to estradiol stimulates sheep
and LH/hCG [56]. Enhanced cell proliferation in response        OSE cell proliferation [70], while in guinea pigs and rab-
to FSH and/or LH/hCG has been reported for primary cul-         bits, it results in the formation of a papillary ovarian sur-
tures of rabbit [57], mouse [58] and human [56] OSE             face resembling human serous neoplasms of low
cells. Schiffenbauer and colleagues [59] found that             malignant potential [71,72]. The mechanisms by which
human epithelial ovarian cancers progressed faster in ova-      estrogen may contribute to ovarian cancer risk is
riectomized mice due to elevated FSH and LH levels,             unknown, but could be direct action on the OSE cells, or
which promoted increased vascular endothelial growth            may be indirect, as estrogen reduces GnRH receptor
factor expression and tumor neovascularization.                 expression in both OSE and ovarian cancer cells, thereby
                                                                suppressing the growth inhibitory effects of GnRH [73].
The gonadotropin theory of ovarian tumorigenesis sug-           Estrogen also modulates levels of hepatocyte growth fac-
gests that elevated gonadotropin concentrations contrib-        tor which stimulates OSE cell growth [74].
ute to the development of ovarian tumors. This theory is
based on the initial observation of Biskind and Biskind in      A number of studies, largely epidemiological, provide
1944 [60] who reported that transplantation of ovaries          support for the hypothesis that androgens are involved in
into the splenic pulp of adult rats led to the development      ovarian carcinogenesis. Over 80% of tumors express AR
of ovarian tumors. The tumorigenesis was attributed to          [75] and an increased risk of ovarian cancer was found in
inactivation of estrogen in the liver, and the consequent       women with elevated circulating levels of androgens [76].
elevation of gonadotropin levels due to the lack of steroid     Testosterone-stimulated growth of OSE cells in guinea
feedback on the pituitary. Several transgenic or knockout       pigs caused the formation of benign cysts, small adeno-
animal models in which gonadotropin levels are elevated         mas in the ovarian parenchyma, and papillomas on the
also result in ovarian tumorigenesis. For example, when         ovarian surface [77]. Androgens may promote ovarian
inhibin, the ovarian protein that inhibits the production       tumorigenesis in part by decreasing TGF-β receptor levels,
of FSH, is made deficient in mice, gonadal stromal tumors       thereby allowing ovarian cancer cells to escape TGF-β
arise [61]. Transgenic mice generated to have chronic LH        growth inhibition [78].
hypersecretion develop granulosa cell tumors or luteo-
mas, depending on the background strain [62,63]. Mice           Germ cell deficiency/depletion
with disruption of the FSH receptor are acyclic and sterile,    Aging and hereditary risk are associated with a more fre-
with very small, underdeveloped ovaries; they exhibit           quent incidence of epithelial invaginations and inclusion
hypergonadotropic-hypogonadism with high levels of cir-         cysts, putative preneoplastic precursor lesions, but the
culating FSH and LH similar to the postmenopausal state         underlying mechanisms for these epithelial-stromal rear-
in women. By 12 months, more than 92% of these ani-             rangements are unknown. OSE cell hyperplasia with stro-
mals developed various kinds of ovarian pathology,              mal invasion has been reported in a diverse array of
including neoplasms of sex cord-stromal type as well as         experimental situations, all of them involving loss of germ
cysts, suggesting that FSH receptor insensitivity in the face   cells and consequent failure of follicle development. For
of prolonged elevated levels of gonadotropins may be            example, mutations at the W (Kit) or Sl (Kitl) loci result in
contributing to the development of ovarian granulosa or         sterility by preventing the normal proliferation and migra-
stromal tumors [64]. None of the animal models with tar-        tion of germ cells during fetal development [79]. Germ
geted manipulation of gonadotropin secretion or action          cell deficiency in vivo, as is found in Wx/Wv mice, results in
appear to promote ovarian epithelial tumorigenesis.             bilateral ovarian tubular adenomas in more than 95% of
                                                                the animals by 5 months of age [80,81]. The tumors arise
Steroid hormones                                                from interstitial cell hyperplasia, with proliferation and
In the developing fetal ovary, marked OSE cell prolifera-       invasion of the ovarian surface epithelium into the stro-
tion occurs at 16 to 20 weeks of gestation, coincident with     mal compartment of the ovary. Invasive epithelial tubules
the appearance of steroid-producing cells in the ovarian        are also found in Sl/Slt germ cell deficient mice by 7
cortex [65]. Adult human OSE cells express receptors for        months of age [82], and mice heterozygous for the Sld
estrogen, progesterone and androgens [66,67], and               mutation, which carries a splicing defect, develop papil-
human OSE cell proliferation can be stimulated by andro-        lary structures and epithelial invaginations (Figure 2),
gens [68]. In contrast, human OSE cells in culture are          similar to that seen in women [26]. Likewise, female mice
reportedly unaffected by estradiol or progesterone [66],        homozygous for the germ cell deficient (gcd) mutation
which would suggest that these steroid hormones do not          enter reproductive senescence prematurely due to a dearth
have a significant role in ovarian tumorigenesis. However,      of germ cells. By one year of age, 56% of homozygotes
a recent study has found that menopausal women who              have developed ovarian tubulostromal adenomas while
have taken hormone replacement therapy using estrogen           wild-type littermates are phenotypically normal [83].


                                                                                                                    Page 5 of 11
                                                                                              (page number not for citation purposes)
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 7 of 97 PageID: 75728
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 8 of 97 PageID: 75729

Reproductive Biology and Endocrinology 2003, 1                                           http://www.RBEj.com/content/1/1/67



Therefore, it appears that oocyte depletion is associated        surface [87]. Indeed, direct exposure of rat ovaries to talc
with formation of epithelial structures that resemble the        results in focal areas of papillary change in the ovarian
preneoplastic lesions in human ovaries.                          surface epithelium, as well as ovarian cysts [88]. Exposure
                                                                 of rhesus and cynomolgus monkeys to the environmental
Experimental ovarian tumorigenesis has been investigated         pollutant, hexachlorobenzene results in both reproduc-
in inbred and hybrid strains of mice and induced by a            tive failure and notable alterations in the size, shape and
diversity of mechanisms including X-irradiation, oocyto-         degree of stratification of the OSE cell layer [89]. More
toxic xenobiotic chemicals, ovarian grafting to ectopic or       recent studies have shown that the insecticide methoxy-
orthotopic sites, neonatal thymectomy, genetic defects           chlor increases both the height of the OSE cell layer and
reducing germ cell populations, and aging [reviewed in           the percentage of atretic follicles in exposed mice [90]. In
[84]]. While germ cell deficiency seems to be a required         rodent studies, ovarian toxicity and/or carcinogenicity has
element for the development of epithelium-derived ade-           been documented for at least eight chemicals that result in
nomas, the mechanisms by which germ cell loss contrib-           follicular necrosis, tubular hyperplasia, granulosa cell
utes to tumorigenesis in these models remain unclear.            tumors and benign mixed tumors [91,92]. N-ethyl-N-
Ovarian follicles do not develop in the absence of oocytes,      nitrosourea administered to rats intraperitoneally or
indicating that the oocyte directs the development of fol-       transplacentally increases the incidence of ovarian tubular
licles. Pathogenetic factors that prematurely destroy or         adenomas [93]. The mechanisms by which these environ-
diminish the numbers of germ cells lead to failure in fol-       mental carcinogens enhance the risk of ovarian tumors
licle development and a resulting decrease in sex steroid        remain unexplored.
hormone secretion (notably estradiol) leading to a com-
pensatory over-production of pituitary gonadotropins,            Transgenics and Targeted Approaches to
which places the ovary at an increased risk to develop           Transform the Ovarian Epithelium
tumors. Therefore oocyte depletion, similar to that which        The ideal model to investigate the pathogenic events asso-
occurs naturally by the time of menopause, may be a con-         ciated with early ovarian tumorigenesis would be a mouse
tributing factor to the oncogenic behavior of the surface        model in which the tumor arises directly from the OSE
epithelial cells.                                                cells. This model would differ from current xenograft
                                                                 models in that transgenic mice with defined genetic
The intense proliferation of OSE and stromal (interstitial)      lesions could be studied at various stages as they inevita-
cells with the development of unique tubular adenomas            bly develop ovarian cancer in situ. In addition, the devel-
in response to sterility seems to require both the lack of       opment of a genetic model would permit the direct testing
germ cells/follicles and the increased production of gona-       of oncogenes and tumor suppressors for their
dotropins. Elevated gonadotropins alone resulted in gran-        contribution to the initiation and progression of overt
ulosa cell tumors or luteomas [62,63]. Oocyte destruction        malignancies in the mouse ovary. Finally, a number of dif-
by gamma irradiation in hypogonadal mice deficient in            ferent factors could be altered such as the genetic back-
gonadotropins did not result in the development of tubu-         ground of the mouse strain, the frequency of ovulation
lar adenomas [85]. Similarly, the experimental suppres-          and the levels of various hormones to determine their
sion of gonadotropin levels in Wx/Wv mice was sufficient         impact on the development of tumors in the susceptible
to prevent the development of ovarian tubular adenomas           transgenic mouse line.
from the surface epithelium [86], suggesting that both
oocyte loss/destruction and elevated gonadotropins are           One approach to alter gene expression directly in the OSE
necessary for epithelial tumorigenesis.                          cells would be to take advantage of the fact that these cells
                                                                 readily take up and express genes delivered by intra-bursal
Environmental Carcinogens                                        injection of adenoviruses [94,95]. This method has the
Although the more established hypotheses that have been          potential advantage of mimicking somatic mutations that
proposed to explain increased risk of developing ovarian         contribute to early ovarian tumorigenesis. One recent
cancer are related to the number of ovulations or to             report used intra-bursal adenovirus delivery and Cre-loxP
increased hormone levels, there are additional risk factors      mediated gene inactivation to render OSE cells deficient
that have been identified, including a number of environ-        in two key tumor suppressor genes: p53 and Rb [95]. The
mental carcinogens. While these factors have been                p53 tumor suppressor gene is the most frequently
reported to have effects on the ovarian surface epithelium,      mutated gene in human neoplasms. Mutations and/or
they are usually also associated with follicular destruction     over-expression of p53 have been described in 26–62% of
and/or ovotoxicity, so indirect actions due to altered           ovarian cancers, particularly serous ovarian carcinomas
gonadotropin levels cannot be eliminated. Use of perineal        [reviewed in [96]]. Aberrations in the Rb pathway have
talc has been identified as a risk factor, possibly due to its   been reported [97]; however, direct evidence for their con-
ability to ascend the genital tract and affect the ovarian       tribution to ovarian epithelial tumorigenesis is lacking. In


                                                                                                                     Page 7 of 11
                                                                                               (page number not for citation purposes)
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 9 of 97 PageID: 75730

Reproductive Biology and Endocrinology 2003, 1                                                 http://www.RBEj.com/content/1/1/67



this model, recombinant adenovirus expressing Cre was           female mouse reproductive tract, including the OSE,
injected under the ovarian bursal membrane of double            developed ovarian carcinomas with metastatic spread to
transgenic mice bearing floxed copies of p53 and Rb. Con-       peritoneal organs by 3 months of age. Female transgenic
current inactivation of p53 and Rb was sufficient for           mice developed bilateral ovarian tumors in ~50% percent
reproducible induction of ovarian epithelial carcinogene-       of cases. Histologically, these tumors were poorly differ-
sis in mice homozygous for the conditional alleles. While       entiated carcinomas with occasional cysts and papillary
less than 15% of mice with inactivation of either Rb or p53     structures present at the surface of the ovary. These tumors
developed tumors, 33 of 34 mice with deficiencies in both       disseminated intraperitoneally, invaded the omentum
genes succumbed to their ovarian cancers at a median of         and formed ascites in a manner that resembles human
227 days, with 24% having abdominal ascites.                    ovarian carcinomas. The demonstration that the MISIIR
                                                                promoter can be used successfully to drive gynecological
The major impediment to the development of transgenic           tissue-specific transgene expression in mice and that this
models of ovarian cancer is the lack of specific promoters      often results in the formation of ovarian carcinoma offers
able to direct gene expression to OSE cells. Previous mod-      very promising opportunities for testing the efficacy of
els of ovarian cancer have resulted in granulosa cell           chemotherapeutic and chemopreventive agents in a herit-
tumors using promoters, such as inhibin-alpha subunit           able model of epithelial ovarian cancer.
promoter, that are active in this cell type to drive the
expression of the large T antigen of SV40 [98,99]. Recent       Conclusions
studies have identified two other promoters that may            The two most pressing problems in the management of
prove to be useful for the generation of transgenic models      ovarian cancer are the lack of adequate diagnostic or
of ovarian cancer. The Ovarian Specific Promoter (OSP-1)        screening strategies, and the recurrence of disease that is
was developed from a retrovirus-like element specifically       often chemoresistant. In part, the deficiency in diagnostic
expressed in the rat ovary. The promoter drives gene            tools is due to the lack of markers for the detection of pre-
expression specifically in normal and neoplastic ovarian        neoplastic or early neoplastic changes in the OSE cells.
epithelial cells [100] and expression of lacZ driven by         The generation of animal models in which OSE cells
OSP-1 in transgenic mice was restricted to the ovary as         undergo neoplastic transformation in vivo will provide
determined by X-gal staining of multiple organs [101].          much-needed opportunities to investigate the cellular and
Immunohistochemical detection of β-galactosidase                molecular changes associated with the initiation of OSE
showed lacZ expression mainly in the granulosa cells and        cell transformation, as well as to provide models in which
ovarian surface epithelial cells. However, transgenic mice      prevention, diagnostic, screening and therapeutic strate-
in which OSP-1 drives the expression of the early region        gies can be developed.
of SV40 virus developed tumors in a variety of tissues,
including unilateral granulosa cell tumors in two of three      Acknowledgements
female founder mice. Thus, although transcription from          The authors wish to thank Dr. Ken Garson for critical review of this man-
the OSP-1 promoter occurs predominantly in the ovary,           uscript and Dr. Thomas Hamilton, Fox Chase Cancer Center, for providing
this promoter is sufficiently "leaky" in cells in other tis-    the photograph showing human papillomatosis. Research was supported by
                                                                grants from the National Cancer Institute of Canada (BCV) and the
sues to permit their tumorigenic conversion by SV40 TAg.
                                                                National Institutes of Health (BCV; Dr. Thomas Hamilton, Principal Inves-
                                                                tigator), a scholarship from the Canadian Institutes of Health Research (TJS)
The first transgenic model of epithelial ovarian cancer was     and a fellowship from a partnership of the Mitchell Family Fund, the
recently reported and used the upstream region of the           National Ovarian Cancer Association and Cancer Care Ontario (JFE).
Mullerian inhibitory substance type II receptor (MISIIR)
gene to drive tissue-specific expression [102]. MISIIR is a     References
single transmembrane serine/threonine kinase that shares        1.   Fredrickson TN: Ovarian tumors of the hen. Environ Health
                                                                     Perspect 1987, 73:35-51.
homology with the TGFβ-receptor [103,104]. Expression           2.   Tillmann T, Kamino K and Mohr U: Incidence and spectrum of
of MISIIR has been reported to be restricted to mesenchy-            spontaneous neoplasms in male and female CBA/J mice. Exp
mal cells surrounding the Mullerian duct during embryo-              Toxicol Pathol 2000, 52:221-225.
                                                                3.   Walsh KM and Poteracki J: Spontaneous neoplasms in control
genesis, tubular and follicular structures of fetal gonads,          Wistar rats. Fundam Appl Toxicol 1994, 22:65-72.
Sertoli and Leydig cells of adult testis, and granulosa cells   4.   Gregson RL, Lewis DJ and Abbott DP: Spontaneous ovarian neo-
of adult ovary [103,105,106]. More recently, expression of           plasms of the laboratory rat. Vet Pathol 1984, 21:292-299.
                                                                5.   Liebelt AG, Sass B and Lombard LS: Mouse ovarian tumors – a
MISIIR in established human ovarian cancer cell lines as             review including classification and induction of neoplastic
well as cell lines derived from the ascites of patients with         lesions and description of several previously unreported
                                                                     types. J Exp Pathol 1987, 3:115-145.
ovarian carcinomas has been demonstrated [107]. Trans-          6.   Beamer WG, Hoppe PC and Whitten WK: Spontaneous malig-
genic mice in which the 5' upstream regulatory sequences             nant granulosa cell tumors in ovaries of young SWR mice.
of the mouse MISIIR gene were used to target expression              Cancer Res 1985, 45:5575-5581.
of the SV40 TAg specifically to the epithelium of the


                                                                                                                            Page 8 of 11
                                                                                                     (page number not for citation purposes)
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 10 of 97 PageID: 75731

 Reproductive Biology and Endocrinology 2003, 1                                                                http://www.RBEj.com/content/1/1/67



 7.    Tennent BJ, Shultz KL and Beamer WG: Genetic susceptibility for           29.   Scully RE: Early de novo ovarian cancer and cancer developing
       C19 androgen induction of ovarian granulosa cell tumorigen-                     in benign ovarian lesions. Int J Gynaecol Obstet 1995,
       esis in SWXJ strains of mice. Cancer Res 1993, 53:1059-1063.                    49(Suppl):S9-15.
 8.    Eppig JJ, Wigglesworth K, Varnum DS and Nadeau JH: Genetic reg-           30.   Auersperg N, Siemens CH and Myrdal SE: Human ovarian surface
       ulation of traits essential for spontaneous ovarian teratocar-                  epithelium in primary culture. In Vitro 1984, 20:743-755.
       cinogenesis in strain LT/Sv mice: aberrant meiotic cell cycle,            31.   Adams AT and Auersperg N: Transformation of cultured rat
       oocyte activation, and parthenogenetic development. Cancer                      ovarian surface epithelial cells by Kirsten murine sarcoma
       Res 1996, 56:5047-5054.                                                         virus. Cancer Res 1981, 41:2063-2072.
 9.    Colledge WH, Carlton MB, Udy GB and Evans MJ: Disruption of c-            32.   Leung EH, Leung PC and Auersperg N: Differentiation and
       mos causes parthenogenetic development of unfertilized                          growth potential of human ovarian surface epithelial cells
       mouse eggs. Nature 1994, 370:65-68.                                             expressing temperature-sensitive SV40 T antigen. In Vitro Cell
 10.   Hashimoto N, Watanabe N, Furuta Y, Tamemoto H, Sagata N,                        Dev Biol Anim 2001, 37:515-521.
       Yokoyama M, Okazaki K, Nagayoshi M, Takeda N and Ikawa Y et al.:          33.   Auersperg N, Pan J, Grove BD, Peterson T, Fisher J, Maines-Bandiera
       Parthenogenetic activation of oocytes in c-mos-deficient                        S, Somasiri A and Roskelley CD: E-cadherin induces mesenchy-
       mice. Nature 1994, 370:68-71.                                                   mal-to-epithelial transition in human ovarian surface
 11.   St John MA, Tao W, Fei X, Fukumoto R, Carcangiu ML, Brownstein                  epithelium. Proc Natl Acad Sci USA 1999, 96:6249-6254.
       DG, Parlow AF, McGrath J and Xu T: Mice deficient of Lats1                34.   Ong A, Maines-Bandiera SL, Roskelley CD and Auersperg N: An
       develop soft-tissue sarcomas, ovarian tumours and pituitary                     ovarian adenocarcinoma line derived from SV40/E-cadherin-
       dysfunction. Nat Genet 1999, 21:182-186.                                        transfected normal human ovarian surface epithelium. Int J
 12.   Weiss NS, Homonchuk T and Young JLJ: Incidence of the histo-                    Cancer 2000, 85:430-437.
       logic types of ovarian cancer: the US Third National Cancer               35.   Gregoire L, Rabah R, Schmelz EM, Munkarah A, Roberts PC and Lan-
       Survey, 1969–1971. Gynecol Oncol 1977, 5:161-167.                               caster WD: Spontaneous malignant transformation of human
 13.   Papadaki L and Beilby JO: The fine structure of the surface epi-                ovarian surface epithelial cells in vitro. Clin Cancer Res 2001,
       thelium of the human ovary. J Cell Sci 1971, 8:445-465.                         7:4280-4287.
 14.   Blaustein A and Lee H: Surface cells of the ovary and pelvic per-         36.   Adams AT and Auersperg N: A cell line, ROSE 199, derived from
       itoneum: a histochemical and ultrastructure comparison.                         normal rat ovarian surface epithelium. Exp Cell Biol 1985,
       Gynecol Oncol 1979, 8:34-43.                                                    53:181-188.
 15.   Moore KL: The pelvis and perineum. In: Clinically oriented anatomy        37.   Hoffman AG, Burghardt RC, Tilley R and Auersperg N: An in vitro
       Edited by: Satterfield TS, Napora L, Lumpkin K. Baltimore, Williams &           model of ovarian epithelial carcinogenesis: changes in cell-
       Williams; 1992:281-289.                                                         cell communication and adhesion occuring during neoplastic
 16.   Benjamin E, Law S and Bobrow LG: Intermediate filaments,                        progression. Int J Cancer 1993, 54:828-838.
       cytokeratin and vimentin in ovarian sex cord-stromal                      38.   Godwin AK, Testa JR, Handel LM, Liu Z, Vanderveer LA, Tracey PA
       tumours with correlative studies in adult and fetal ovaries. J                  and Hamilton TC: Spontaneous transformation of rat ovarian
       Pathol 1987, 152:253-263.                                                       surface epithelial cells: association with cytogenetic changes
 17.   Isola J, Kallioniemi OP, Korte JM, Wahlstrom T, Aine R, Helle M and             and implications of repeated ovulation in the etiology of
       Helin H: Steroid receptors and Ki-67 reactivity in ovarian can-                 ovarian cancer. J Natl Cancer Inst 1992, 84:592-601.
       cer and in normal ovary: correlation with DNA flow cytom-                 39.   Roby KF, Taylor CC, Sweetwood JP, Cheng Y, Pace JL, Tawfik O, Per-
       etry, biochemical receptor assay, and patient survival. J Pathol                sons DL, Smith PG and Terranova PF: Development of a syn-
       1990, 162:295-301.                                                              geneic mouse model for events related to ovarian cancer.
 18.   Czernobilsky B, Moll R, Levy R and Franke WW: Co-expression of                  Carcinogenesis 2000, 21:585-591.
       cytokeratin and vimentin filaments in mesothelial, granulosa              40.   Orsulic S, Li Y, Soslow RA, Vitale-Cross LA, Gutkind JS and Varmus
       and rete ovarii cells of the human ovary. Eur J Cell Biol 1985,                 HE: Induction of ovarian cancer by defined multiple genetic
       37:175-190.                                                                     changes in a mouse model system. Cancer Cell 2002, 1:53-62.
 19.   Jindal SK, Ishii E, Letarte M, Vera S, Teerds K and Dorrington JH: Reg-   41.   Tonin PN, Hudson TJ, Rodier F, Bossolasco M, Lee PD, Novak J, Man-
       ulation of transforming growth factor-α gene expression in                      derson EN, Provencher D and Mes-Masson AM: Microarray analy-
       an ovarian surface epithelial cell line derived from a human                    sis of gene expression mirrors the biology of an ovarian
       carcinoma. Biol Reprod 1995, 52:1027-1037.                                      cancer model. Oncogene 2001, 20:6617-6626.
 20.   Rodriguez GC, Berchuck A, Whitaker RS, Schlossman D, Clarke-              42.   Roberts D, Williams SJ, Cvetkovic D, Weinstein JK, Godwin AK,
       Pearson DL and Bast RCJ: Epidermal growth factor receptor                       Johnson SW and Hamilton TC: Decreased expression of retinol-
       expression in normal ovarian epithelium and ovarian cancer.                     binding proteins is associated with malignant transformation
       II. Relationship between receptor expression and response                       of the ovarian surface epithelium. DNA Cell Biol 2002, 21:11-19.
       to epidermal growth factor. Am J Obstet Gynecol 1991,                     43.   Ward BG and Wallace K: Localization of the monoclonal anti-
       164:745-750.                                                                    body HMFG2 after intravenous and intraperitoneal injection
 21.   Bjersing L and Cajander S: Ovulation and the mechanism of fol-                  into nude mice bearing subcutaneous and intraperitoneal
       licle rupture. V. Ultrastructure of tunica albuginea and theca                  human ovarian cancer xenografts. Cancer Res 1987,
       externa of rabbit graafian follicles prior to induced ovulation.                47:4714-4718.
       Cell Tissue Res 1974, 153:15-30.                                          44.   Hamilton TC, Young RC, Louie KG, Behrens BC, McKoy WM, Grotz-
 22.   Ackerman RC and Murdoch WJ: Prostaglandin-induced apopto-                       inger KR and Ozols RF: Characterization of a xenograft model
       sis of ovarian surface epithelial cells. Prostaglandins 1993,                   of human ovarian carcinoma which produces ascites and
       45:475-485.                                                                     intraabdominal carcinomatosis in mice. Cancer Res 1984,
 23.   Osterholzer HO, Johnson JH and Nicosia SV: An autoradiographic                  44:5286-5290.
       study of rabbit ovarian surface epithelium before and after               45.   Massazza G, Tomasoni A, Lucchini V, Allavena P, Erba E, Colombo N,
       ovulation. Biol Reprod 1985, 33:729-738.                                        Mantovani A, D'Incalci M, Mangioni C and Giavazzi R: Intraperito-
 24.   Auersperg N, Wong AS, Choi KC, Kang SK and Leung PC: Ovarian                    neal and subcutaneous xenografts of human ovarian carci-
       surface epithelium: biology, endocrinology, and pathology.                      noma in nude mice and their potential in experimental
       Endocr Rev 2001, 22:255-288.                                                    therapy. Int J Cancer 1989, 44:494-500.
 25.   Nicosia SV: The aging ovary. Med Clin North Am 1987, 71:1-9.              46.   Fu X and Hoffman RM: Human ovarian carcinoma metastatic
 26.   Hamilton TC: Ovarian cancer, Part I: Biology. Curr Probl Cancer                 models constructed in nude mice by orthotopic transplanta-
       1992, 16:1-57.                                                                  tion of histologically-intact patient specimens. Anticancer Res
 27.   Salazar H, Godwin AK, Daly MB, Laub PB, Hogan WM, Rosenblum N,                  1993, 13:283-286.
       Boente MP, Lynch HT and Hamilton TC: Microscopic benign and               47.   Scully RE, Young RH and Clement PB: Tumors of the Ovary, Maldevel-
       invasive malignant neoplasms and a cancer-prone pheno-                          oped Gonads, Fallopian Tube, and Broad Ligament Washington DC, Armed
       type in prophylactic oophorectomies. J Natl Cancer Inst 1996,                   Forces Institute of Pathology; 1996.
       88:1810-1820.                                                             48.   Fathalla MF: Incessant ovulation – a factor in ovarian
 28.   Deligdisch L and Gil J: Characterization of ovarian dysplasia by                neoplasia? Lancet 1971, 2:163.
       interactive morphometry. Cancer 1989, 63:748-755.



                                                                                                                                           Page 9 of 11
                                                                                                                     (page number not for citation purposes)
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 11 of 97 PageID: 75732

 Reproductive Biology and Endocrinology 2003, 1                                                                http://www.RBEj.com/content/1/1/67



 49.   Whittemore AS, Harris R and Itnyre J: Characteristics relating to         71.   Silva EG, Tornos C, Deavers M, Kaisman K, Gray K and Gershenson
       ovarian cancer risk: collaborative analysis of 12 US case-con-                  D: Induction of epithelial neoplasms in the ovaries of guinea
       trol studies. IV. The pathogenesis of epithelial ovarian can-                   pigs by estrogenic stimulation. Gynecol Oncol 1998, 71:240-246.
       cer Collaborative Ovarian Cancer Group. Am J Epidemiol 1992,              72.   Bai W, Oliveros-Saunders B, Wang Q, Acevedo-Duncan ME and
       136:1212-1220.                                                                  Nicosia SV: Estrogen stimulation of ovarian surface epithelial
 50.   La Vecchia C and Franceschi S: Oral contraceptives and ovarian                  cell proliferation. In Vitro Cell Dev Biol Anim 2000, 36:657-666.
       cancer. Eur J Cancer Prev 1999, 8:297-304.                                73.   Kang SK, Choi KC, Tai CJ, Auersperg N and Leung PC: Estradiol
 51.   Clow OL, Hurst PR and Fleming JS: Changes in the mouse ovar-                    regulates gonadotropin-releasing hormone (GnRH) and its
       ian surface epithelium with age and ovulation number. Mol                       receptor gene expression and antagonizes the growth inhib-
       Cell Endocrinol 2002, 191:105-111.                                              itory effects of GnRH in human ovarian surface epithelial and
 52.   Cramer DW and Welch WR: Determinants of ovarian cancer                          ovarian cancer cells. Endocrinology 2001, 142:580-588.
       risk. II. Inferences regarding pathogenesis. J Natl Cancer Inst           74.   Liu Y, Lin L and Zarnegar R: Modulation of hepatocyte growth
       1983, 71:717-721.                                                               factor gene expression by estrogen in mouse ovary. Mol Cell
 53.   Sell A, Bertelsen K, Andersen JE, Stroyer I and Panduro J: Rand-                Endocrinol 1994, 104:173-181.
       omized study of whole-abdomen irradiation versus pelvic                   75.   Ilekis JV, Connor JP, Prins GS, Ferrer K, Niederberger C and Scoccia
       irradiation plus cyclophosphamide in treatment of early                         B: Expression of epidermal growth factor and androgen
       ovarian cancer. Gynecol Oncol 1990, 37:367-373.                                 receptors in ovarian cancer. Gynecol Oncol 1997, 66:250-254.
 54.   Chakravarti S, Collins WP, Forecast JD, Newton JR, Oram DH and            76.   Helzlsouer KJ, Alberg AJ, Gordon GB, Longcope C, Bush TL, Hoffman
       Studd JW: Hormonal profiles after the menopause. Br Med J                       SC and Comstock GW: Serum gonadotropins and steroid hor-
       1976, 2:784-787.                                                                mones and the development of ovarian cancer. JAMA 1995,
 55.   Zheng WX, Magid MS, Kramer EE and Chen YT: Follicle-stimulat-                   274:1926-1930.
       ing hormone receptor is expressed in human ovarian surface                77.   Silva EG, Tornos C, Fritsche HAJ, el-Naggar A, Gray K, Ordonez NG,
       epithelium and fallopian tube. Am J Pathol 1996, 148:47-53.                     Luna M and Gershenson D: The induction of benign epithelial
 56.   Konishi I, Kuroda H and Mandai M: Review: gonadotropins and                     neoplasms of the ovaries of guinea pigs by testosterone stim-
       development of ovarian cancer. Oncology 1999, 57(Suppl                          ulation: a potential animal model. Mod Pathol 1997, 10:879-883.
       2):45-48.                                                                 78.   Evangelou A, Jindal SK, Brown TJ and Letarte M: Down-regulation
 57.   Osterholzer HO, Streibel EJ and Nicosia SV: Growth effects of                   of transforming growth factor beta receptors by androgen in
       protein hormones on cultured rabbit ovarian surface epithe-                     ovarian cancer cells. Cancer Res 2000, 60:929-935.
       lial cells. Biol Reprod 1985, 33:247-258.                                 79.   Mintz B and Russell ES: Gene-induced embryological modifica-
 58.   Davies BR, Finnigan DS, Smith SK and Ponder BA: Administration                  tions of primordial germ cells in the mouse. J Exp Zool 1957,
       of gonadotropins stimulates proliferation of normal mouse                       134:207-237.
       ovarian surface epithelium. Gynecol Endocrinol 1999, 13:75-81.            80.   Murphy ED: Hyperplastic and early neoplastic changes in the
 59.   Schiffenbauer YS, Abramovitch R, Meir G, Nevo N, Holzinger M, Itin              ovaries of mice after genic deletion of germ cells. J Natl Cancer
       A, Keshet E and Neeman M: Loss of ovarian function promotes                     Inst 1972, 48:1283-1295.
       angiogenesis in human ovarian carcinoma. Proc Natl Acad Sci U             81.   Murphy ED and Beamer WG: Plasma gonadotropin levels during
       S A 1997, 94:13203-13208.                                                       early stages of ovarian tumorigenesis in mice of the Wx/Wv
 60.   Biskind MS and Biskind GS: Development of tumors in the rat                     genotype. Cancer Res 1973, 33:721-723.
       ovary after transplantation into the spleen. Proc Soc Exp Biol            82.   Ishimura K, Matsuda H, Tatsumi H, Fujita H, Terada N and Kitamura
       Med 1944, 55:176-179.                                                           Y: Ultrastructural changes in the ovaries of Sl/Slt mutant
 61.   Matzuk MM, Finegold MJ, Su JG, Hsueh AJ and Bradley A: Alpha-                   mice, showing developmental deficiency of follicles and
       inhibin is a tumor-suppressor gene with gonadal specificity in                  tubular adenomas. Arch Histol Jpn 1986, 49:379-389.
       mice. Nature 1992, 360:313-319.                                           83.   Duncan MK and Chada KK: Incidence of tubulostromal ade-
 62.   Nilson JH, Abbud RA, Keri RA and Quirk CC: Chronic hypersecre-                  noma of the ovary in aged germ cell-deficient mice. J Comp
       tion of luteinizing hormone in transgenic mice disrupts both                    Pathol 1993, 109:13-19.
       ovarian and pituitary function, with some effects modified by             84.   Capen CC, Beamer WG, Tennent BJ and Stitzel KA: Mechanisms of
       the genetic background. Recent Prog Horm Res 2000, 55:69-89.                    hormone-mediated carcinogenesis of the ovary in mice.
 63.   Keri RA, Lozada KL, Abdul-Karim FW, Nadeau JH and Nilson JH:                    Mutat Res 1995, 333:143-151.
       Luteinizing hormone induction of ovarian tumors: oligo-                   85.   Tennent BJ and Beamer WG: Ovarian tumors not induced by
       genic differences between mouse strains dictates tumor                          irradiation and gonadotropins in hypogonadal (hpg) mice.
       disposition. Proc Natl Acad Sci USA 2000, 97:383-387.                           Biol Reprod 1986, 34:751-760.
 64.   Danilovich N, Roy I and Sairam MR: Ovarian pathology and high             86.   Blaakaer J, Baeksted M, Micic S, Albrectsen P, Rygaard J and Bock J:
       incidence of sex cord tumors in follitropin receptor knock-                     Gonadotropin-releasing hormone agonist suppression of
       out (FORKO) mice. Endocrinology 2001, 142:3673-3684.                            ovarian tumorigenesis in mice of the Wx/Wv genotype. Biol
 65.   Gondos B: Surface epithelium of the developing ovary. Possi-                    Reprod 1995, 53:775-779.
       ble correlation with ovarian neoplasia. Am J Pathol 1975,                 87.   Gertig DM, Hunter DJ, Cramer DW, Colditz GA, Speizer FE, Willett
       81:303-321.                                                                     WC and Hankinson SE: Prospective study of talc use and ovar-
 66.   Karlan BY, Jones J, Greenwald M and Lagasse LD: Steroid hormone                 ian cancer. J Natl Cancer Inst 2000, 92:249-252.
       effects on the proliferation of human ovarian surface epithe-             88.   Hamilton TC, Fox H, Buckley CH, Henderson WJ and Griffiths K:
       lium in vitro. Am J Obstet Gynecol 1995, 173:97-104.                            Effects of talc on the rat ovary. Br J Exp Pathol 1984, 65:101-106.
 67.   Lau KM, Mok SC and Ho SM: Expression of human estrogen                    89.   Sims DE, Singh A, Donald A, Jarrell J and Villeneuve DC: Alteration
       receptor-alpha and -beta, progesterone receptor, and                            of primate ovary surface epithelium by exposure to hex-
       androgen receptor mRNA in normal and malignant ovarian                          achlorobenzene: a quantitative study. Histol Histopathol 1991,
       epithelial cells. Proc Natl Acad Sci USA 1999, 96:5722-5727.                    6:525-529.
 68.   Hamilton TC, Davies P and Criffiths K: Steroid hormone receptor           90.   Borgeest C, Symonds D, Mayer LP, Hoyer PB and Flaws JA: Methox-
       status of the normal and neoplastic ovarian surface germinal                    ychlor may cause ovarian follicular atresia and proliferation
       epithelium. In Factors regulating ovarian function Edited by: Greenwald         of the ovarian epithelium in the mouse. Toxicol Sci 2002,
       GS, Terranova PF. New York, Raven Press; 1983:81-85.                            68:473-478.
 69.   Lacey JV Jr, Mink PJ, Lubin JH, Sherman ME, Troisi R, Hartge P, Schatz-   91.   Maronpot RR: Ovarian toxicity and carcinogenicity in eight
       kin A and Schairer C: Menopausal hormone replacement ther-                      recent National Toxicology Program studies. Environ Health
       apy and risk of ovarian cancer. JAMA 2002, 288:334-341.                         Perspect 1987, 73:125-130.
 70.   Murdoch WJ and Van Kirk EA: Steroid hormonal regulation of                92.   Collins JJ, Montali RJ and Manus AG: Toxicological evaluation of
       proliferative, p53 tumor suppressor, and apoptotic                              4-vinylcyclohexene. II. Induction of ovarian tumors in female
       responses of sheep ovarian surface epithelial cells. Mol Cell                   B6C3F1 mice by chronic oral administration of 4-vinylcy-
       Endocrinol 2002, 186:61-67.                                                     clohexene. J Toxicol Environ Health 1987, 21:507-524.




                                                                                                                                          Page 10 of 11
                                                                                                                     (page number not for citation purposes)
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 12 of 97 PageID: 75733
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 13 of 97 PageID: 75734




                       Exhibit 105
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 14 of 97 PageID: 75735




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON                           MDL NO. 16-2738 (FLW) (LHG)
    TALCUM POWDER PRODUCTS
    MARKETING, SALES PRACTICES,
    AND PRODUCTS LIABILITY
    LITIGATION

    THIS DOCUMENT RELATES TO ALL CASES




                                RULE 26 EXPERT REPORT OF
                                  DR. GHASSAN M. SAED




    Date: November 16, 2018
                                         Dr. Ghassan M. Saed
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 15 of 97 PageID: 75736

    1

    Molecular basis for the association of talcum powder use with increased risk of ovarian

    cancer.

    Dr. Ghassan M. Saed

    Department of Obstetrics and Gynecology, Wayne State University School of Medicine and

    Department of Gynecologic Oncology, Karmanos Cancer Institute, Detroit, MI



    Dr. Ghassan M. Saed,

    Associate Professor of Gynecologic Oncology

    Director of Ovarian Cancer Biology Research

    Departments of Obstetrics and Gynecology and Oncology

    Member of Tumor Biology and Microenvironment Program

    Karmanos Cancer Institute

    Wayne State University School of Medicine

    Detroit, MI 48201

    (313) 577-5433 Office phone

    (313) 577-8544 Office fax

    (313) 577-1302 Lab phone

    gsaed@med.wayne.edu
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 16 of 97 PageID: 75737

    2

    Qualifications

           In this report, I describe the role of oxidative stress in the pathogenesis and behavior of

    ovarian cancer, as well as describe the biological effects of talcum powder on normal ovarian and

    fallopian tube cells, macrophages, and ovarian cancer cells.

           I am an Associate Professor with tenure at Wayne State University in Detroit, Michigan,

    where I am Director of Ovarian Cancer Research. I am a faculty member in the Departments of

    Obstetrics & Gynecology, Cell Biology, and Anatomy & Physiology at Wayne State School of

    Medicine. I am also a Member of the Karmanos Cancer Institute, Molecular Biology and Genetics

    Program.

           I received a Ph.D. in Molecular Biology at the University of Essex, Colchester, England in

    1986. My postgraduate training included a Fellowship in Immunopathology at the University of

    Michigan, Ann Arbor from 1992-1993 and a Fellowship in Molecular Biology at the Henry Ford

    Hospital in Detroit, Michigan from 1988-1990. I joined the faculty at Wayne State School of

    Medicine in 1998.

           My laboratory investigates the role of oxidative stress in the pathogenesis of ovarian

    cancer. This concentration arose from my original research that focused on the molecular

    mechanisms involved in the pathogenesis of tissue fibrosis and the need to compare the effects of

    oxidative stress on a malignant overgrowth versus a benign overgrowth, specifically postoperative

    adhesions.

           My research in ovarian cancer has resulted in the identification of biomarkers for assessing

    the progression and metastasis of ovarian cancer. The major outcome of my work with fibrosis

    and postoperative adhesions, in addition to the development of the ex-vivo model for adgestiosn,

    was the development and characterization of the adhesion phenotype in cell culture. Additionally,
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 17 of 97 PageID: 75738

    3

    the cell culture system was used to test the hypothesis that hypoxia is the trigger for the

    development of postoperative adhesions.

           I have taught numerous undergraduate, graduate, medical students, residents, and fellows.

    Many of these have received research awards, published important papers, and accepted

    prestigious academic faculty positions. I have been the recipient of national and international

    grants and contracts from organizations including the American Association for Cancer Research

    (AACR), NIH/NICHD, U.S. Department of Defense, the Ovarian Cancer Research Fund Alliance,

    the Michigan Ovarian Cancer Alliance, and other ovarian cancer foundations. I have been a prolific

    publisher and presenter at scientific meetings. I have been an author on 136 original studies

    published in peer-reviewed journals with additional review articles, and book chapters. Recently,

    I published a review article in the journal, Gynecologic Oncology titled, “Updates of the role of

    oxidative stress in the pathogenesis of ovarian cancer” and a textbook chapter titled “New insights

    into the Pathogenesis of Ovarian Cancer: Oxidative Stress” summarizing my research in this area.

    My CV is attached as Exhibit A. In addition to the references included in this report, the materials

    I reviewed are attached as Exhibit B. My fees and prior testimony are attached as Exhibit C.

    Ovarian cancer

           Ovarian cancer is the most lethal gynecologic malignancy and ranks fifth in cancer deaths

    among women diagnosed with cancer1. Epithelial ovarian cancer (EOC) has long been considered

    a heterogeneous disease with respect to histopathology, molecular biology, and clinical outcome1,2.

    It comprises at least five distinct histological subtypes, the most common and well-studied being

    high-grade serous ovarian cancer. In the last decade, researchers have proposed the theory that

    many ovarian cancers arise from the distal fallopian tubes. For this reason, as well as the

    similarities in pathogenesis, presentation, treatment, and prognosis, fallopian tube, ovarian, and
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 18 of 97 PageID: 75739

    4

    peritoneal cancer are generally treated as a single entity. Although surgical techniques and

    treatments have advanced over the years, the prognosis of EOC remains poor, with a 5-year

    survival rate of 50% in advanced stage 2. This is largely due to the lack of early warning symptoms

    and screening methods, and the development of chemoresistance 1,2. Ovarian cancer is known to

    be associated with germline mutations in the BRCA1 or BRCA2 genes, but with a rate of only 20-

    40%, suggesting the presence of other unknown mutations in other predisposition genes 3.

    Additional genetic variations including single nucleotide polymorphisms (SNPs) have been

    described to act as low to moderate penetrant alleles that contribute to ovarian cancer risk 3,4. Non-

    synonymous SNPs substitute encoded amino acids in proteins and are more likely to alter the

    structure, function, and interaction of the protein 4. The pathophysiology of EOC is not fully

    understood but has been strongly associated with inflammation and the resultant oxidative stress5.

    Oxidative stress

           Homeostasis, the balance between the production and elimination of oxidants, is

    maintained by mechanisms involving oxidants and antioxidant enzymes and molecules. If this

    balance is altered, it leads to an enhanced state of oxidative stress that alters key biomolecules and

    cells of living organism 5. Oxidant molecules are divided into two main groups; oxygen-derived

    or nitrogen-containing molecules. Oxygen-derived molecules, also known as reactive oxygen

    species (ROS), include free radicals such as hydroxyl (HO●), superoxide (O2●−), peroxyl (RO2●),

    and alkoxyl (RO●), as well as oxidizing agents such as hydrogen peroxide (H2O2), hypochlorous

    acid (HOCl), ozone (O3), and singlet oxygen (1O2) that can be converted to radicals 5,6. Nitrogen

    containing oxidants, also known as reactive nitrogen species (RNS), are derived from nitric oxide

    (NO) that is produced in the mitochondria in response to hypoxia 5. Exposure to inflammation,

    infection, carcinogens, and toxicants are major sources of ROS and RNS, in vivo 5-8. Additionally,
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 19 of 97 PageID: 75740

    5

    RNS and ROS can be produced by various enzymes including cytochrome P450, lipoxygenase,

    cyclooxygenase, nicotinamide adenine dinucleotide phosphate (NAD(P)H) oxidase complex,

    xanthine oxidase (XO), and peroxisomes (Figure 1) 5,7,9.

           To maintain the redox balance, ROS and RNS are neutralized by various important enzyme

    systems including superoxide dismutase (SOD), catalase (CAT), glutathione S-transferase (GST),

    glutathione (GSH), thioredoxin coupled with thioredoxin reductase, glutaredoxin, glutathione

    peroxidase (GPX), and glutathione reductase (GSR) 6. Superoxide dismutase is known to convert

    O2●– to H2O2, which is then converted to water by CAT. Glutathione S-transferase is involved in

    detoxification of carcinogens and xenobiotics by catalyzing their conjugation to GSH that will aid
                                 6
    in expulsion from the cell       . Indeed, the GSH-to-oxidized-GSH (GSH/GSSG) ratio is a good

    indicator of cellular redox buffering capacity 10,11. Under enhanced oxidative stress, the

    GSH/GSSG complex is known to stimulate the activity of the GS-X-MRP1 efflux pump, which

    removes toxins from cells. This mechanism has been investigated in the development of resistance

    to chemotherapeutic drugs 10,11.

    Ovarian Cancer Cells Manifest a Persistent Pro-Oxidant State

           Recent evidence demonstrates that oxidative stress is a critical factor in the initiation and

    development of several cancers, including ovarian cancer 12,13. Consistently, it has been reported

    that ovarian cancer patients manifest significantly decreased levels of antioxidants and higher

    levels of oxidants 12-17. An enhanced redox state, resulting from increased expression of key pro-

    oxidant enzymes and decreased expression of antioxidant enzymes, has been extensively described

    in epithelial ovarian cancer (EOC) 16-18. My laboratory has previously reported that MPO, a

    hemoprotein present solely in myeloid cells that acts as a powerful oxidant, and iNOS, a key pro-

    oxidant enzyme, are highly expressed and co-localized to the same cell in EOC cells 17. These two
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 20 of 97 PageID: 75741

    6

    enzymes, MPO and iNOS, work together to inhibit apoptosis, a hallmark of ovarian cancer cells.

    Apoptosis, or programmed cell death, refers to the normal and controlled death of cells.

    Myeloperoxidase acts as powerful oxidant enzyme in EOC cells through the utilization of nitric

    oxide (NO) produced by iNOS as a one-electron substrate generating NO+, a labile nitrosylating

    species19-21. My laboratory was the first to report that MPO was expressed by EOC cells and

    tissues17. Silencing MPO gene expression utilizing MPO specific siRNA induced apoptosis in

    EOC cells through a mechanism that involved the S-nitrosylation of caspase-3 by MPO17.

    Additionally, there is compelling evidence that MPO serves as a source of free iron under oxidative

    stress, where both NO+ and superoxide are elevated19. Iron reacts with hydrogen peroxide (H2O2)

    and catalyzes the generation of highly reactive hydroxy radical (HO●), thereby increasing oxidative

    stress, which in turn increases free iron concentrations by the Fenton and Haber–Weiss

    reaction19,21. Additionally, my laboratory has highlighted the potential benefits of the combination

    of serum MPO and free iron as biomarkers for early detection and prognosis of ovarian cancer14.

    EOC cells are also characterized by enhanced expression of NAD(P)H oxidase, a potent oxidant

    enzyme that is known to be the major source of O2●– in the cell. Such high levels of O2●– combined

    with significantly high levels of NO generates peroxynitrite, another powerful nitrosylation and

    nitration agent, which modifies proteins and DNA structure and function in cells 22.

           A reliable screening and detection method based on molecular profiles for ovarian cancer

    has not yet been developed because the disease exhibits a wide range of morphological, clinical

    and genetic variations during its progression. The search for non-invasive, cost-effective ovarian

    cancer biomarker tests has been ongoing for many years. Immunizations of mice with ovarian

    cancer cells has led to hybridoma validation by ELISA, while flow cytometry analysis permitted

    the discovery of cancer antigen (CA)-125 (the only marker currently used in clinical practice) and
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 21 of 97 PageID: 75742

    7

    mesothelin 23. Furthermore, the screening of an array of 21,500 unknown ovarian cDNAs

    hybridized with labeled first-strand cDNA from ten ovarian tumors and six normal tissues led to

    the discovery of human epididymis protein 4 (HE4) 24. Most interestingly, HE4 is overexpressed

    in 93% of serous and 100% of endometrioid EOCs, and in 50% of clear cell carcinomas, but not

    in mucinous ovarian carcinomas 25. Thus, HE4 was identified as one of the most useful biomarkers

    for ovarian cancer, although it lacked tissue-specificity 24,26-28. Secreted HE4 high levels were also

    detected in the serum of ovarian cancer patients 29. Additionally, combining CA-125 and HE4 is a

    more accurate predictor of malignancy than either alone 30-32. The discovery of MPO expression

    in ovarian EOC cells and tissues was surprising, as it is only expressed by cells of myeloid origin.

    Intriguingly, my laboratory has previously reported that the combination of serum MPO and free

    iron may serve as biomarkers for early detection of ovarian cancer 14.

    Common Polymorphisms in Redox Enzymes are Associated with Ovarian Cancer.

           A single nucleotide polymorphism (SNP) occurs as a result of gene point mutations with

    an estimated frequency of at least one in every 1000 base pairs that are selectively maintained and

    distributed in populations throughout the human genome 33. An association between common

    SNPs in oxidative DNA repair genes and redox genes with human cancer susceptibility has been

    established 7. Common SNPs in the redox enzymes are known to be strongly associated with an

    altered enzymatic activity in these enzymes, and helps explain the enhanced redox state that has

    been linked to several malignancies, including ovarian cancer 12,16. Additionally, it helps explain

    the observation of significantly decreased apoptosis and increased survival of EOC cells 17. It is

    therefore critical to determine the exact effect of common SNPs in various redox enzymes on all

    process involved in the development of the oncogenic phenotype 34-37. Such studies can be linked

    to other studies focusing on determining the effects of genes involved in carcinogen metabolism
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 22 of 97 PageID: 75743

    8

    (detoxification and/or activation), redox enzymes, and DNA repair pathways36. Numerous SNPs

    associated with change of function have been identified in antioxidant enzymes including CAT,

    GPX1, GSR, and SOD2 35,37. Additionally, the association between genetic polymorphisms in

    genes with anti-tumor activity and those involved in the cell cycle has been reported in ovarian

    cancer 38,39. Recently, several genetic variations have been identified in genome-wide association

    studies (GWAS), and were found to act as low to moderate penetrant alleles, which contribute to

    ovarian cancer risk, as well as other diseases 4,40.

            There is now an association of specific SNPs in key oxidant and anti-oxidant enzymes that

    impact increased risk of ovarian cancer and/or overall survival of patients with ovarian cancer 34,35.

    A common SNP that reduced CAT activity (rs1001179) was utilized as a significant predictor of

    death when present in ovarian cancer patients and was also associated with increased risk for breast

    cancer 34,35,37,41. This SNP is also linked to increased risk, survival, and response to adjuvant

    treatment of cancer patients, including ovarian 34,42. Another common SNP that reduced CYBA

    activity (rs4673) was also reported to be associated with an increased risk for ovarian cancer 34,35.

    The mutant genotype of the CYBA gene has been shown to both decrease and increase activity of

    the protein, thereby altering the generation of O2●– 34,35. Moreover, functionally distinct MPO

    polymorphisms, such as (rs2333227) have been linked to relative increased risk for development

    of ovarian cancer as well as other cancers 34,35,43. Additional SNPs that influenced the risk of EOC

    have been successfully identified from the GWAS studies including rs3814113 (located at 9p22,

    near BNC2), rs2072590 (located at 2q31, which contains a family of HOX genes), rs2665390

    (located at 3q25, intronic to TIPARP), rs10088218 (located at 8q24, 700 kb downstream of MYC),

    rs8170 (located at 19p13, near MERIT40), and rs9303542 (located at 17q21, intronic to SKAP1)
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 23 of 97 PageID: 75744

    9

    34,35
            . Thus, the genetic component of increased ovarian cancer risk may be attributed to SNPs that

    result in point mutations in the redox genes and potentially other genes 44.

    Chemoresistance is Associated with Point Mutations in Key Redox Enzymes in EOC cells

               To date, the acquisition of chemoresistance in ovarian cancer is being investigated. The

    enhanced oxidant state reported in chemoresistant EOC cells is likely linked to point mutations in

    key redox enzymes 35. Chemoresistant EOC cells manifested increased levels of CAT, GPX, and

    iNOS and decreased levels of GSR, SOD, and NAD(P)H oxidase as compared to their sensitive

    counterparts 35. Interestingly, chemoresistant EOC cells, and not their sensitive counterparts,

    manifested specific point mutations that corresponded to known functional SNPs, in key redox

    enzymes including SOD2 (rs4880), NOS2 (rs2297518), and CYBA (rs4673) 45. However, altered

    enzymatic activity for CAT and GSR observed in chemoresistant EOC cells did not correspond to

    the specific SNP of interest in those enzymes, indicating involvement of other possible functional

    SNPs for those enzymes 35. Coincidently, chemotherapy treatment induced point mutations that

    happen to correspond to known functional SNPs in key oxidant enzymes subsequently led to the

    acquisition of chemoresistance by EOC cells. Indeed, the induction of specific point mutations in

    SOD2 or GPX1 in sensitive EOC cells resulted in a decrease in the sensitivity to chemotherapy of

    these cells 35. In fact, the addition of SOD to sensitive EOC cells during chemotherapy treatment

    synergistically increased the efficacy to chemotherapy 35.

               Alternatively, the observed nucleotide switch in response to chemotherapy in EOC cells

    may be the result of nucleotide substitution, a process that includes transitions, replacement of one

    purine by the other or that of one pyrimidine by the other, or transversions, replacement of a purine

    by a pyrimidine or vice versa 35. Actually, hydroxyl radicals are known to react with DNA causing

    the formation of many pyrimidine and purine-derived lesions 35. The oxidative damage to 8-Oxo-
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 24 of 97 PageID: 75745

    10

    2'-deoxyguanosine, a major product of DNA oxidation, induces genetic alterations in oncogenes

    and tumor suppressor genes that have been involved in tumor initiation and progression 35. A GC

    to TA transversion has been reported in the ras oncogene and the p53 tumor suppressor gene in

    several cancers. However, the GC to TA transversion is not unique to hydroxy-2'-deoxyguanosine,

    as CC to TT substitutions have been identified as signature mutations for oxidants and free radicals
    35
         . Moreover, the observed nucleotide switch in response to chemotherapy in EOC cells can be due

    to the fact that acquisition of chemoresistance generates an entirely different population of cells

    with a distinct genotype. Hence, chemotherapy kills the bulk of the tumor cells leaving a subtype

    of cancer cells with ability for repair and renewal, known as cancer stem cells (CSCs) 35. Indeed,

    cancer stem cells have been isolated from various types of cancer including leukemia, breast, brain,

    pancreatic, prostate, ovary and colon 35. Interestingly, CSC populations were present in cultures of

    SKOV-3 EOC cells and have been shown to be chemoresistant in nature 35.

    Talcum powder and increased risk of ovarian cancer

              Talcum powder is made from talc, a mineral containing mainly of the elements magnesium,

    silicon, and oxygen. In its natural form, some talc contains asbestos. Talc and asbestos are both

    silicate minerals; the carcinogenic effects of asbestos have been extensively studied and

    documented in the medical literature 46,47. Asbestos fibers in the lung initiate an inflammatory and

    scarring process, and it has been proposed that ground talc, as a foreign body, initiates a similar

    inflammatory response and it has been proposed that ground talc, as a foreign body, might initiate

    an inflammatory response 48,47. There has been concern about a possible link between talcum

    powder usage in the genital and ovarian cancer, as well as lung cancer in workers exposed to talc

    in an occupational setting 49. Studies that exposed lab animals (rats, mice, and hamsters) to

    asbestos-free talcum powder in various ways have had mixed results, with some showing tumor
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 25 of 97 PageID: 75746

    11

    formation and others finding only inflammation 50,51. The International Agency for Research on

    Cancer (IARC) is part of the World Health Organization (WHO). Its major goal is to identify

    causes of cancer. Based on limited evidence from human studies of a link to ovarian cancer, IARC

    classified the perineal (genital) use of talc-based body powder (not containing asbestiform fibers)

    as “possibly carcinogenic to humans.” (Group 2b) 88. Talcum powder containing asbestos and

    fibrous talc are both considered carcinogenic (Group 1) by IARC 89.

           The association between perineal talc powder dusting and ovarian cancer has been studied

    in at least 25 case-control studies, three cohort studies, six meta-analyses and one pooled study 73.

    Although the cohort studies individually did not show a statistically significant increased risk of

    ovarian cancer with talcum powder usage, the case-control studies overall and the meta-analyses

    show a consistent and significant increased risk. This risk is estimated to be 30-40%. The studies

    have shown conflicting results regarding the presence of a dose-response, largely due to the failure

    of many studies to obtain necessary information on the frequency and duration of usage and the

    inherent challenge of quantifying actual exposure. Although migration/transport of particles

    through the genital tract is universally accepted and the inflammatory nature of talcum powder

    consistently demonstrated, the exact mechanism for carcinogenesis had not been conclusively

    elucidated. For these reasons, there has been some reluctance in the scientific community to accept

    talcum powder as a causative risk factor for the development of ovarian cancer. The most recent

    meta-analysis, reported by Penninkilampi and Eslick in 2017, found that any perineal talc use was

    associated with a statistically significant increased risk of ovarian cancer (OR = 1.31). More than

    3600 lifetime applications (OR = 1.42) were slightly more associated with ovarian cancer than

    <3600 (OR = 1.32). An association with ever use of talc was found in case–control studies (OR =

    1.35), but not cohort studies (OR = 1.06). However, cohort studies found an association between
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 26 of 97 PageID: 75747

    12

    talc use and invasive serous type ovarian cancer (OR = 1.25), the most common and most lethal

    subtype. In the opinion of the authors, meta-analysis is the highest level of evidence in this setting

    because of the need for a large number of cases and long-term follow-up in a relatively rare form

    of cancer with a lengthy latency period. The authors of this meta-analysis suggested that cellular

    injury, oxidative stress, and local increase in inflammatory mediators might be the mechanism by

    which talcum powder promotes carcinogensis, but that this mechanism was unclear. They

    recognized the “substantial need for further research on a potential mechanism by which ovarian

    cancer may be caused by talc, as this will allow a causal relationship to be established or rejected

    with more certainty” 73.

           In addition to epidemiological studies, the claim that regular use of talcum powder for

    perineal hygiene purpose is associated with an increased risk of ovarian cancer is based on several

    reports confirming the presence of talc particles in the ovaries and other parts of the female

    reproductive tract as well as in lymphatic vessels and tissues of the pelvis 45,75. Henderson first

    reported the presence of talc particles in ovaries in 1971. A study by Cramer, et al has reported the

    presence of talc in pelvic lymph nodes of a woman with ovarian cancer who used talc daily for 30

    years45. The ability of talc particles to migrate through the genital tract to the distal fallopian tube

    and ovaries is well accepted 45,75.

           It has been suggested that the associations between perineal talc dusting and ovarian cancer

    might be explained by the induction of ANTI-MUC1 antibodies 57. Additionally, in a previous

    study by Shukla et.al., whereby human mesothelial cells (LP9/TERT-1) were exposed to low and

    high (15 and 75 mm2/cm2 dish) equal surface area concentrations of nonfibrous talc for 8 or 24

    hours, the authors found that nonfibrous talc at low concentrations to cause an increase in the
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 27 of 97 PageID: 75748

    13

    expression of Activating Transcription Factor 3 (ATF3) at 8 hours and no changes at 24 hours,

    whereas expression levels of 30 genes were elevated at 8 hours at high talc concentrations 78.

           My laboratory undertook research to determine whether or not there was a molecular basis

    for the observed association between talcum powder and ovarian cancer. If a biological effect was

    demonstrated, we hoped to define the mechanism in detail. Issues like this one, relating to the

    pathogenesis of ovarian cancer and the relationship between inflammation and other pathological

    conditions in the female reproductive system as well as cancer, have been the focus of my

    laboratory for many years.

    Findings from recent research from our laboratory relating to the effects of talcum powder
    exposure in vitro

    The following is a description of the methodology used:

           Cell Lines: Ovarian cancer cells: SKOV-3 (ATCC), A2780 (Sigma Aldrich), and

    TOV112D (a kind gift from Gen Sheng Wu at Wayne State University, Detroit, MI) 25. Normal

    cell lines: human macrophage cells (EL-1, ATCC), human primary normal ovarian epithelial cells

    (Cell Biologics), Human Ovarian Epithelial Cells (HOSEpiC, ScienCell Research Laboratories,

    Inc.) immortalized human fallopian tube secretory epithelial cells (FT33-shp53-R24C, Applied

    Biological Materials). All cells were grown in media and conditions following manufacturer’s

    protocol. EL-1 cells were grown in IMDM media (ATCC) supplemented with 0.1 mM

    hypoxanthine and 0.1 mM thymidine solution (H-T, ATCC) and 0.05mM β-mercaptoethanol.

    SKOV-3 EOC cells were grown in HyClone McCoy’s 5A medium (Fisher Scientific), A2780 EOC

    cells were grown in HyClone RPMI-1640 (Fisher Scientific), and both TOV112D EOC cells were

    grown in MCDB105 (Cell Applications) and Medium 199 (Fisher Scientific) (1:1). All media was

    supplemented with fetal bovine serum (FBS, Innovative Research) and penicillin/streptomycin
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 28 of 97 PageID: 75749

    14

    (Fisher Scientific), per their manufacturer specifications.      Human primary normal ovarian

    epithelial cells were grown in Complete Human Epithelial Cell Medium (Cell Biologics).

           Treatment of cells: Talcum powder (Fisher Scientific, Catalog #T4-500, Lot#166820) or

    Johnson’s Baby Powder (Johnson & Johnson, #30027477, Lot#13717RA) was dissolved in

    DMSO (Sigma Aldrich) at a concentration of 500 mg in 10 ml and was filtered with a 0.2 µm

    syringe filter (Corning). Sterile DMSO was used as a control for all treatments. Cells were seeded

    in 100 mm cell culture dishes (3 x 106) and were treated 24 hours later with 0, 5, 20, or 100 μg/ml

    of talc for 48 hours. Cell pellets were collected for RNA, DNA, and protein extraction. Cell culture

    media was collected for CA-125 analysis by ELISA.

           Real time RT-PCR: Total RNA was extracted from all cells using the RNeasy Mini Kit

    (Qiagen) according to the protocol provided by the manufacturer. Measurement of the amount of

    RNA in each sample was performed using a Nanodrop Spectrophotometer (Thermo Fisher

    Scientific). A 20 μL cDNA reaction volume containing 0.5 μg RNA was prepared using the

    SuperScript VILO Master Mix Kit (Life Technologies), as described by the manufacturer's

    protocol. Optimal oligonucleotide primer pairs were selected for each target using Beacon

    Designer (Premier Biosoft, Inc., Table 1). Quantitative RT-PCR was performed using the

    EXPRESS SYBR Green ER qPCR Supermix Kit (Life Technologies) and the Cepheid 1.2f

    Detection System as previously described24. Standards with known concentrations and lengths

    were designed specifically for β-actin (79 bp), CAT (105 bp), iNOS (89 bp), GSR (103 bp), GPX1

    (100 bp), MPO (79 bp), and SOD3 (84 bp), allowing for construction of a standard curve using a

    10-fold dilution series26. A specific standard for each gene allows for absolute quantification of

    the gene in number of copies, which can then be expressed per microgram of RNA. All samples
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 29 of 97 PageID: 75750

    15

    were normalized to the housekeeping gene, β-actin. A final melting curve analysis was performed

    to demonstrate specificity of the PCR product.

           Protein Detection: Cell pellets were lysed utilizing cell lysis buffer (20 mM Tris-HCl (pH

    7.5), 150 mM NaCl, 1 mM Na2EDTA, 1 mM EGTA, 1% Triton, 2.5 sodium pyrophosphate, 1

    mM beta-glycerophosphate, 1 mM Na3VO4, 1 µg/ml leupeptin) containing a cocktail of protease

    inhibitors. Samples were centrifuged at 13000 rpm for 10 minutes at 4°C.            Total protein

    concentration of cell lysates from control and talc-treated cells was measured with the Pierce BCA

    Protein Assay Kit (Thermo Scientific, Rockford, Illinois) per the manufacturer’s protocol.

    Detection of protein/activity by ELISA: ELISA kits for each target were purchased and used

    according to the manufacturer’s protocol. The following ELISA kits were purchased from Cayman

    Chemical, Ann Arbor, MI: CAT, SOD3, GSR, GPX1, and MPO. Nitrite (NO2-)/nitrate (NO3-)

    were determined spectrophotometrically by measuring their absorbance at 210 nm after separation

    by HPLC with standard NO2-/NO3- as previously reported19. The analysis was performed by a

    HPLC system (Shimadzu Scientific Instruments, Inc.) including a LC-10ADV pump, frc-10A

    injector and DGU-14A degasser. Nitrite/nitrate were detected using an RF-10 XL fluorescence

    detector with 210 nm excitation and 440 nm emission. CA-125 protein levels were measured in

    cell media by ELISA from Ray Biotech according to the manufacturer’s protocol.

           TaqMan® SNP Genotyping Assay: DNA was isolated utilizing the EZ1 DNA Tissue Kit

    (Qiagen Valencia, CA) for EOC cells according the manufacturer's protocols. The TaqMan® SNP

    Genotyping Assay Set (Applied Biosystems, Carlsbad, CA) (NCBI dbSNP genome build 37, MAF

    source 1000 genomes) were used to genotype the SNPs described in Table 1. The Applied

    Genomics Technology Center (AGTC, Wayne State University, Detroit, MI) performed these
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 30 of 97 PageID: 75751

    16

    assays. Analysis was done utilizing the QuantStudioTM 12 K Flex Real-Time PCR System

    (Applied Biosystems).

           Statistical Analysis: Normality was examined using the Kolmogorov-Smirnov test and by

    visual inspection of quantile-quantile plots. Because most of the data were not normally

    distributed, differences in distributions were examined using the Kruskal-Wallis test. Generalized

    linear models were fit to examine pairwise differences in estimated least squares mean expression

    values by exposure to 0, 5, 20 or 100 ug/ml of Talc. We used the Tukey-Kramer adjustment for

    multiple comparisons, and the regression models were fit using log2 transformed analyte

    expression values after adding a numeric constant ‘1’ to meet model assumptions

    while avoiding negative transformed values. P-values below 0.05 are statistically significant.

           Research Findings: Recent studies from our laboratory have shown conclusively that

    talcum powder alter key redox and inflammatory markers, enhance cell proliferation, and inhibit

    apoptosis in EOC cells, which are hallmarks of ovarian cancer. More importantly, this effect is

    also manifested by talcum powder in normal cells, including surface ovarian epithelium, fallopian

    tube, and macrophages. Oxidative stress has been implicated in the pathogenesis of ovarian cancer,

    specifically, by increased expression of several key pro-oxidant enzymes such as iNOS, MPO, and

    NAD(P)H oxidase in EOC tissues and cells as compared to normal cells indicating an enhanced

    redox state, as we have recently demonstrated 19. This redox state is further enhanced in

    chemoresistant EOC cells as evident by a further increase in iNOS and NO2-/NO3- and a decrease

    in GSR levels, suggesting a shift towards a pro-oxidant state 19. Antioxidant enzymes, key

    regulators of cellular redox balance, are differentially expressed in various cancers, including

    ovarian 19,79. Specifically, GPX expression is reduced in prostate, bladder, and estrogen receptor

    negative breast cancer cell lines as well as in cancerous tissues from the kidney. However, GPX
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 31 of 97 PageID: 75752

    17

    activity is increased in cancerous tissues from breast 79. Glutathione reductase levels, on the other

    hand, are elevated in lung cancer, although differentially expressed in breast and kidney cancerous

    tissues 5,80. Similarly, CAT was decreased in breast, bladder, and lung cancer while increased in

    brain cancer 81-83. Superoxide dismutase is expressed in lung, colorectal, gastric ovarian, and breast

    cancer, while decreased activity and expression have been reported in colorectal carcinomas and

    pancreatic cancer cells 83-86. Collectively, this differential expression of antioxidants demonstrates

    the unique and complex redox microenvironment in cancer. Glutathione reductase is a flavoprotein

    that catalyzes the NADPH-dependent reduction of oxidized glutathione (GSSG) to GSH. This

    enzyme is essential for the GSH redox cycle which maintains adequate levels of reduced cellular

    GSH. A high GSH/GSSG ratio is essential for protection against oxidative stress. Treatment with

    talc significantly reduced GSR in normal and cancer cells, altering the redox balance. Likewise,

    GPX is an enzyme that detoxifies reactive electrophilic intermediates and thus plays an important

    role in protecting cells from cytotoxic and carcinogenic agents. Overexpression of GPX is

    triggered by exogenous chemical agents and reactive oxygen species, and is thus thought to

    represent an adaptive response to stress 80. Treatment of normal and cancer cells with talc

    significantly reduced GPX, which compromised the overall cell response to stress.

           We have previously reported that EOC cells manifest increased cell proliferations and

    decreased apoptosis 19. Consistent with these findings, recent studies from my laboratory have

    shown that talc enhances cell proliferation and induces an inhibition in apoptosis in EOC cells, but

    more importantly in normal cells, suggesting talc is a stimulus to the development of the oncogenic

    phenotype. We also previously reported a cross-talk between iNOS and MPO in ovarian cancer

    which contributed to the lower apoptosis observed in ovarian cancer cells 17,19. Collectively, we

    now have substantial evidence demonstrating that altered oxidative stress may play a role in
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 32 of 97 PageID: 75753

    18

    maintaining the oncogenic phenotype of EOC cells. Treatment of normal or ovarian cancer cells

    with talc resulted in a significant increase in MPO and iNOS, supporting the role of talc in the

    enhancement of a pro-oxidant state that is a major cause in the development and maintenance of

    the oncogenic phenotype.

            Furthermore, CA-125, which exists as a membrane-bound and secreted protein in epithelial

    ovarian cancer cells, has been established as a biomarker for disease progression and response to

    treatment 2. CA-125 expression was significantly increased from nearly undetectable levels in

    controls to values approaching clinical significance (35 U/ml in postmenopausal women87) in talc

    treated cell lines without the physiologic effects on the tumor microenvironment one would expect

    to be present in the human body, highlighting the implications of the pro-oxidant states caused by

    talc alone.

            To elucidate the mechanism by which talc alters the redox balance to favor a pro-oxidant

    state not only in ovarian cancer cells, but more importantly in normal cells, my laboratory

    examined selected known gene mutations in key oxidant and antioxidant enzymes. These

    mutations correspond to specific SNPs that are known to be associated with altered enzymatic

    activity and increased cancer risk 34,35. Results show that the CAT SNP (rs769217) which results

    in decreased enzymatic activity was induced in all normal cell lines tested and in TOV112D EOC

    lines. However, the CAT mutation was not detected in A2780 or SKOV-3 cell lines. Nevertheless,

    our results confirm a decrease in CAT expression and enzymatic activity in all talc treated cells,

    indicating the existence of other CAT SNPs. However, the SOD3 (rs2536512) and GSR

    (rs8190955) SNP genotypes were not detected in any cell line, yet SOD3 and GSR activity and

    expression were decreased in all talc treated cells, again suggesting the presence of other SNPs.

    Our results have also shown that all cells, except for HOSEpiC cells, manifest the SNP genotype
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 33 of 97 PageID: 75754

    19

    of GPX1 (C/T) before talc treatment. Intriguingly, talc treatment reversed this SNP genotype to

    the normal genotype. Consistent with this finding, it has previously been reported that acquisition

    of chemoresistance by ovarian cancer cells is associated with a switch from the GPX1 SNP

    genotype to the normal GPX1 genotype 35. It is not understood why a GPX1 SNP genotype

    predominates in untreated normal and ovarian cancer cells. Additionally, our results showed that

    talc treatment was associated with a genotype switch from common C/C genotype in NOS2 in

    untreated cells to T/T, the SNP genotype, in talc treated cells, except in A2780 and TOV112D.

    Nevertheless, our results confirm an increase in iNOS expression and enzymatic activity in all talc

    treated cells, again suggesting the existence of other NOS2 SNPs. Collectively, these findings

    demonstrate that talc treatment induced gene point mutations that happen to correspond to SNPs

    in locations with functional effects, thus altering overall redox balance for the initiation and

    development of ovarian cancer. Future studies examining such SNPs are important to fully

    elucidate a genotype switch mechanism induced by talc exposure.

            In summary, this research clearly demonstrates that talcum powder induces inflammation

    and alters the redox balance favoring a pro-oxidant state in normal and EOC cells. This study has

    shown a dose-dependent significant increase in key pro-oxidants, iNOS, NO2-/NO3-, and MPO

    and a concomitant decrease in key antioxidant enzymes, CAT, SOD, GPX, and GSR, in all talc

    treated cells (both normal and ovarian cancer) compared to their controls. Additionally, there was

    a significant increase in CA-125 levels in all the talc treated cells compared to their controls, except

    in macrophages (which do not produce CA-125). The mechanism by which talc alters the cellular

    redox and inflammatory balance involves the induction of specific mutations in key oxidant and

    antioxidant enzymes that correlate with alterations in their activities. The fact that these mutations
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 34 of 97 PageID: 75755

    20

    happen to correspond to known SNPs of these enzymes indicate a genetic predisposition to

    developing ovarian cancer with genital talcum powder exposure.

    Summary of opinions

    These opinions are made to a reasonable degree of scientific certainty and are based on my

    experience, training, and expertise, as well as a knowledge of the relevant scientific literature and

    my previous and ongoing research.

         1. Johnson’s Baby Powder elicits an inflammatory response in normal ovarian and tubal cells

            and in ovarian cancer cells that can result in the development and the progression of ovarian

            cancer.

         2. This pro-carcinogenic process involves oxidative stress, alteration of the redox

            environment by increasing oxidant enzymes and decreasing anti-oxidant enzymes,

            promotion of cell proliferation, inhibition of apoptosis, and induction of specific genetic

            mutations.

         3. Johnson’s Baby Powder exposure results in elevation of CA-125, a clinically relevant

            biomarker for ovarian cancer, in normal and ovarian cancer cells.

         4. The molecular effects resulting from Johnson’s Baby Powder exposure exhibit a clear

            dose-response pattern.

         5. In my opinion, based on established molecular mechanisms for the pathogenesis of ovarian

            cancer (as evidenced in the peer-reviewed scientific literature and my previously published

            research) and my in vitro experiments, Johnson’s Baby Powder exposure can cause ovarian

            cancer.

         6. In my opinion, based on established molecular mechanisms that influence the progression

            and chemoresistance associated with ovarian cancer (as evidenced in the peer-reviewed
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 35 of 97 PageID: 75756

    21

           scientific literature and my previously published research) and my in vitro experiments,

           Johnson’s Baby Powder exposure worsens the prognosis for patients with ovarian cancer.

    I reserve the right to amend or supplement this report as new information becomes available.
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 36 of 97 PageID: 75757

    22

    References

    1.   Berek, J.S., et al. [Epithelial ovarian cancer (advanced stage): consensus conference

         (1998)]. Gynecol Obstet Fertil 28, 576-583 (2000).

    2.   Jelovac, D. & Armstrong, D.K. Recent progress in the diagnosis and treatment of ovarian

         cancer. CA Cancer J Clin 61, 183-203 (2011).

    3.   Prat, J., Ribe, A. & Gallardo, A. Hereditary ovarian cancer. Hum Pathol 36, 861-870

         (2005).

    4.   Ramus, S.J., et al. Consortium analysis of 7 candidate SNPs for ovarian cancer. Int J

         Cancer 123, 380-388 (2008).

    5.   Reuter, S., Gupta, S.C., Chaturvedi, M.M. & Aggarwal, B.B. Oxidative stress,

         inflammation, and cancer: how are they linked? Free Radic Biol Med 49, 1603-1616

         (2010).

    6.   Lei, X.G., et al. Paradoxical Roles of Antioxidant Enzymes: Basic Mechanisms and Health

         Implications. Physiol Rev 96, 307-364 (2016).

    7.   Klaunig, J.E., Kamendulis, L.M. & Hocevar, B.A. Oxidative stress and oxidative damage in

         carcinogenesis. Toxicologic pathology 38, 96-109 (2010).

    8.   Coussens, L.M. & Werb, Z. Inflammation and cancer. Nature 420, 860-867 (2002).

    9.   Fruehauf, J.P. & Meyskens, F.L., Jr. Reactive oxygen species: a breath of life or death? Clin

         Cancer Res 13, 789-794 (2007).

    10. Circu, M.L. & Aw, T.Y. Glutathione and modulation of cell apoptosis. Biochimica et

         biophysica acta 1823, 1767-1777 (2012).

    11. Ishikawa, T. & Ali-Osman, F. Glutathione-associated cis-diamminedichloroplatinum(II)

         metabolism and ATP-dependent efflux from leukemia cells. Molecular characterization of
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 37 of 97 PageID: 75758

    23

         glutathione-platinum complex and its biological significance. J Biol Chem 268, 20116-

         20125 (1993).

    12. Saed, G.M., Fletcher, N.M., Jiang, Z.L., Abu-Soud, H.M. & Diamond, M.P.

         Dichloroacetate induces apoptosis of epithelial ovarian cancer cells through a mechanism

         involving modulation of oxidative stress. Reproductive sciences 18, 1253-1261 (2011).

    13. Senthil, K., Aranganathan, S. & Nalini, N. Evidence of oxidative stress in the circulation of

         ovarian cancer patients. Clin Chim Acta 339, 27-32 (2004).

    14. Fletcher, N.M., et al. Myeloperoxidase and free iron levels: potential biomarkers for early

         detection and prognosis of ovarian cancer. Cancer Biomark 10, 267-275 (2011).

    15. Hileman, E.O., Liu, J., Albitar, M., Keating, M.J. & Huang, P. Intrinsic oxidative stress in

         cancer cells: a biochemical basis for therapeutic selectivity. Cancer Chemother Pharmacol

         53, 209-219 (2004).

    16. Jiang, Z., et al. Modulation of redox signaling promotes apoptosis in epithelial ovarian

         cancer cells. Gynecologic oncology 122, 418-423 (2011).

    17. Saed, G.M., et al. Myeloperoxidase serves as a redox switch that regulates apoptosis in

         epithelial ovarian cancer. Gynecologic oncology 116, 276-281 (2010).

    18. Malone, J.M., Saed, G.M., Diamond, M.P., Sokol, R.J. & Munkarah, A.R. The effects of

         the inhibition of inducible nitric oxide synthase on angiogenesis of epithelial ovarian

         cancer. Am J Obstet Gynecol 194, 1110-1116; discussion 1116-1118 (2006).

    19. Saed, G.M., Diamond, M.P. & Fletcher, N.M. Updates of the role of oxidative stress in the

         pathogenesis of ovarian cancer. Gynecologic oncology (2017).

    20. Galijasevic, S., Saed, G.M., Hazen, S.L. & Abu-Soud, H.M. Myeloperoxidase metabolizes

         thiocyanate in a reaction driven by nitric oxide. Biochemistry 45, 1255-1262 (2006).
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 38 of 97 PageID: 75759

    24

    21. Galijasevic, S., et al. Myeloperoxidase interaction with peroxynitrite: chloride deficiency

         and heme depletion. Free Radic Biol Med 47, 431-439 (2009).

    22. Habib, S. & Ali, A. Biochemistry of nitric oxide. Indian J Clin Biochem 26, 3-17 (2011).

    23. Sasaroli, D., Coukos, G. & Scholler, N. Beyond CA125: the coming of age of ovarian

         cancer biomarkers. Are we there yet? Biomark Med 3, 275-288 (2009).

    24. Schummer, M., et al. Comparative hybridization of an array of 21,500 ovarian cDNAs for

         the discovery of genes overexpressed in ovarian carcinomas. Gene 238, 375-385 (1999).

    25. Drapkin, R., et al. Human epididymis protein 4 (HE4) is a secreted glycoprotein that is

         overexpressed by serous and endometrioid ovarian carcinomas. Cancer Res 65, 2162-2169

         (2005).

    26. Galgano, M.T., Hampton, G.M. & Frierson, H.F., Jr. Comprehensive analysis of HE4

         expression in normal and malignant human tissues. Mod Pathol 19, 847-853 (2006).

    27. Gilks, C.B., Vanderhyden, B.C., Zhu, S., van de Rijn, M. & Longacre, T.A. Distinction

         between serous tumors of low malignant potential and serous carcinomas based on global

         mRNA expression profiling. Gynecologic oncology 96, 684-694 (2005).

    28. Hough, C.D., et al. Large-scale serial analysis of gene expression reveals genes

         differentially expressed in ovarian cancer. Cancer Res 60, 6281-6287 (2000).

    29. Bouchard, D., Morisset, D., Bourbonnais, Y. & Tremblay, G.M. Proteins with whey-acidic-

         protein motifs and cancer. Lancet Oncol 7, 167-174 (2006).

    30. Rosen, D.G., et al. Potential markers that complement expression of CA125 in epithelial

         ovarian cancer. Gynecologic oncology 99, 267-277 (2005).

    31. Scholler, N., et al. Bead-based ELISA for validation of ovarian cancer early detection

         markers. Clin Cancer Res 12, 2117-2124 (2006).
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 39 of 97 PageID: 75760

    25

    32. Moore, R.G., et al. The use of multiple novel tumor biomarkers for the detection of ovarian

         carcinoma in patients with a pelvic mass. Gynecologic oncology 108, 402-408 (2008).

    33. Erichsen, H.C. & Chanock, S.J. SNPs in cancer research and treatment. Br J Cancer 90,

         747-751 (2004).

    34. Belotte, J., et al. A Single Nucleotide Polymorphism in Catalase Is Strongly Associated

         with Ovarian Cancer Survival. PloS one 10, e0135739 (2015).

    35. Fletcher, N.M., et al. Specific point mutations in key redox enzymes are associated with

         chemoresistance in epithelial ovarian cancer. Free Radic Biol Med 102, 122-132 (2016).

    36. Klaunig, J.E., Wang, Z., Pu, X. & Zhou, S. Oxidative stress and oxidative damage in

         chemical carcinogenesis. Toxicol Appl Pharmacol 254, 86-99 (2011).

    37. Forsberg, L., Lyrenas, L., de Faire, U. & Morgenstern, R. A common functional C-T

         substitution polymorphism in the promoter region of the human catalase gene influences

         transcription factor binding, reporter gene transcription and is correlated to blood catalase

         levels. Free Radic Biol Med 30, 500-505 (2001).

    38. Goode, E.L., et al. Candidate gene analysis using imputed genotypes: cell cycle single-

         nucleotide polymorphisms and ovarian cancer risk. Cancer epidemiology, biomarkers &

         prevention : a publication of the American Association for Cancer Research, cosponsored

         by the American Society of Preventive Oncology 18, 935-944 (2009).

    39. Notaridou, M., et al. Common alleles in candidate susceptibility genes associated with risk

         and development of epithelial ovarian cancer. Int J Cancer 128, 2063-2074 (2011).

    40. Savas, S., Schmidt, S., Jarjanazi, H. & Ozcelik, H. Functional nsSNPs from carcinogenesis-

         related genes expressed in breast tissue: potential breast cancer risk alleles and their

         distribution across human populations. Hum Genomics 2, 287-296 (2006).
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 40 of 97 PageID: 75761

    26

    41. Quick, S.K., et al. Effect modification by catalase genotype suggests a role for oxidative

         stress in the association of hormone replacement therapy with postmenopausal breast cancer

         risk. Cancer epidemiology, biomarkers & prevention : a publication of the American

         Association for Cancer Research, cosponsored by the American Society of Preventive

         Oncology 17, 1082-1087 (2008).

    42. Didziapetriene, J., Bublevic, J., Smailyte, G., Kazbariene, B. & Stukas, R. Significance of

         blood serum catalase activity and malondialdehyde level for survival prognosis of ovarian

         cancer patients. Medicina 50, 204-208 (2014).

    43. Castillo-Tong, D.C., et al. Association of myeloperoxidase with ovarian cancer. Tumour

         biology : the journal of the International Society for Oncodevelopmental Biology and

         Medicine 35, 141-148 (2014).

    44. Sellers, T.A., et al. Association of single nucleotide polymorphisms in glycosylation genes

         with risk of epithelial ovarian cancer. Cancer epidemiology, biomarkers & prevention : a

         publication of the American Association for Cancer Research, cosponsored by the

         American Society of Preventive Oncology 17, 397-404 (2008).

    45. Saed, G.M., Diamond, M.P. & Fletcher, N.M. Updates of the role of oxidative stress in the

         pathogenesis of ovarian cancer. Gynecologic oncology 145, 595-602 (2017).

    46. Haegens, A., et al. Asbestos-induced lung inflammation and epithelial cell proliferation are

         altered in myeloperoxidase-null mice. Cancer Res 65, 9670-9677 (2005).

    47. Muscat, J.E. & Huncharek, M.S. Perineal talc use and ovarian cancer: a critical review. Eur

         J Cancer Prev 17, 139-146 (2008).

    48. Ness, R.B. & Cottreau, C. Possible role of ovarian epithelial inflammation in ovarian

         cancer. J Natl Cancer Inst 91, 1459-1467 (1999).
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 41 of 97 PageID: 75762

    27

    49. Karageorgi, S., Gates, M.A., Hankinson, S.E. & De Vivo, I. Perineal use of talcum powder

         and endometrial cancer risk. Cancer epidemiology, biomarkers & prevention : a publication

         of the American Association for Cancer Research, cosponsored by the American Society of

         Preventive Oncology 19, 1269-1275 (2010).

    50. Graham, J. & Graham, R. Ovarian cancer and asbestos. Environ Res 1, 115-128 (1967).

    51. Langseth, H. & Kjærheim, K. Ovarian cancer and occupational exposure among pulp and

         paper employees in Norway. Scandinavian Journal of Work, Environment & Health 30,

         356-361 (2004).

    52. Booth, M., Beral, V. & Smith, P. Risk factors for ovarian cancer: a case-control study. Br J

         Cancer 60, 592-598 (1989).

    53. Chang, S. & Risch, H.A. Perineal talc exposure and risk of ovarian carcinoma. Cancer 79,

         2396-2401 (1997).

    54. Chen, Y., et al. Risk factors for epithelial ovarian cancer in Beijing, China. Int J Epidemiol

         21, 23-29 (1992).

    55. Cook, L.S., Kamb, M.L. & Weiss, N.S. Perineal powder exposure and the risk of ovarian

         cancer. American journal of epidemiology 145, 459-465 (1997).

    56. Cramer, D.W., et al. Genital talc exposure and risk of ovarian cancer. Int J Cancer 81, 351-

         356 (1999).

    57. Cramer, D.W., et al. Conditions associated with antibodies against the tumor-associated

         antigen MUC1 and their relationship to risk for ovarian cancer. Cancer epidemiology,

         biomarkers & prevention : a publication of the American Association for Cancer Research,

         cosponsored by the American Society of Preventive Oncology 14, 1125-1131 (2005).
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 42 of 97 PageID: 75763

    28

    58. Cramer, D.W., Welch, W.R., Scully, R.E. & Wojciechowski, C.A. Ovarian cancer and talc:

         a case-control study. Cancer 50, 372-376 (1982).

    59. Endo-Capron, S., Renier, A., Janson, X., Kheuang, L. & Jaurand, M.C. In vitro response of

         rat pleural mesothelial cells to talc samples in genotoxicity assays (sister chromatid

         exchanges and DNA repair). Toxicol In Vitro 7, 7-14 (1993).

    60. Ferrer, J., Villarino, M.A., Tura, J.M., Traveria, A. & Light, R.W. Talc preparations used

         for pleurodesis vary markedly from one preparation to another. Chest 119, 1901-1905

         (2001).

    61. Gertig, D.M., et al. Prospective study of talc use and ovarian cancer. J Natl Cancer Inst 92,

         249-252 (2000).

    62. Harlow, B.L. & Weiss, N.S. A case-control study of borderline ovarian tumors: the

         influence of perineal exposure to talc. American journal of epidemiology 130, 390-394

         (1989).

    63. Mills, P.K., Riordan, D.G., Cress, R.D. & Young, H.A. Perineal talc exposure and epithelial

         ovarian cancer risk in the Central Valley of California. Int J Cancer 112, 458-464 (2004).

    64. Ness, R.B., et al. Factors related to inflammation of the ovarian epithelium and risk of

         ovarian cancer. Epidemiology 11, 111-117 (2000).

    65. Purdie, D., et al. Reproductive and other factors and risk of epithelial ovarian cancer: an

         Australian case-control study. Survey of Women's Health Study Group. Int J Cancer 62,

         678-684 (1995).

    66. Rosenblatt, K.A., Mathews, W.A., Daling, J.R., Voigt, L.F. & Malone, K. Characteristics of

         women who use perineal powders. Obstet Gynecol 92, 753-756 (1998).
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 43 of 97 PageID: 75764

    29

    67. Tzonou, A., et al. Hair dyes, analgesics, tranquilizers and perineal talc application as risk

         factors for ovarian cancer. Int J Cancer 55, 408-410 (1993).

    68. Whittemore, A.S., et al. Personal and environmental characteristics related to epithelial

         ovarian cancer. II. Exposures to talcum powder, tobacco, alcohol, and coffee. American

         journal of epidemiology 128, 1228-1240 (1988).

    69. Wong, C., Hempling, R.E., Piver, M.S., Natarajan, N. & Mettlin, C.J. Perineal talc exposure

         and subsequent epithelial ovarian cancer: a case-control study. Obstet Gynecol 93, 372-376

         (1999).

    70. Harlow, B.L., Cramer, D.W., Bell, D.A. & Welch, W.R. Perineal exposure to talc and

         ovarian cancer risk. Obstet Gynecol 80, 19-26 (1992).

    71. Hankinson, S.E., et al. Tubal ligation, hysterectomy, and risk of ovarian cancer. A

         prospective study. JAMA 270, 2813-2818 (1993).

    72. Terry, K.L., et al. Genital powder use and risk of ovarian cancer: a pooled analysis of 8,525

         cases and 9,859 controls. Cancer Prev Res (Phila) 6, 811-821 (2013).

    73. Penninkilampi, R. & Eslick, G.D. Perineal Talc Use and Ovarian Cancer: A Systematic

         Review and Meta-Analysis. Epidemiology 29, 41-49 (2018).

    74. Reid, B.M., Permuth, J.B. & Sellers, T.A. Epidemiology of ovarian cancer: a review.

         Cancer Biol Med 14, 9-32 (2017).

    75. Kunz, G., et al. The uterine peristaltic pump. Normal and impeded sperm transport within

         the female genital tract. Adv Exp Med Biol 424, 267-277 (1997).

    76. Leyendecker, G., et al. Uterine peristaltic activity and the development of endometriosis.

         Ann N Y Acad Sci 1034, 338-355 (2004).
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 44 of 97 PageID: 75765

    30

    77. Zervomanolakis, I., et al. Physiology of upward transport in the human female genital tract.

         Ann N Y Acad Sci 1101, 1-20 (2007).

    78. Shukla, A., et al. Alterations in gene expression in human mesothelial cells correlate with

         mineral pathogenicity. Am J Respir Cell Mol Biol 41, 114-123 (2009).

    79. Brigelius-Flohe, R. & Kipp, A. Glutathione peroxidases in different stages of

         carcinogenesis. Biochimica et biophysica acta 1790, 1555-1568 (2009).

    80. Sun, Y. Free radicals, antioxidant enzymes, and carcinogenesis. Free Radic Biol Med 8,

         583-599 (1990).

    81. Popov, B., Gadjeva, V., Valkanov, P., Popova, S. & Tolekova, A. Lipid peroxidation,

         superoxide dismutase and catalase activities in brain tumor tissues. Arch Physiol Biochem

         111, 455-459 (2003).

    82. Ray, G., et al. Lipid peroxidation, free radical production and antioxidant status in breast

         cancer. Breast Cancer Res Treat 59, 163-170 (2000).

    83. Chung-man Ho, J., Zheng, S., Comhair, S.A., Farver, C. & Erzurum, S.C. Differential

         expression of manganese superoxide dismutase and catalase in lung cancer. Cancer Res 61,

         8578-8585 (2001).

    84. Radenkovic, S., et al. Lactate dehydrogenase, catalase, and superoxide dismutase in tumor

         tissue of breast cancer patients in respect to mammographic findings. Cell Biochem Biophys

         66, 287-295 (2013).

    85. Hu, Y., et al. Mitochondrial manganese-superoxide dismutase expression in ovarian cancer:

         role in cell proliferation and response to oxidative stress. J Biol Chem 280, 39485-39492

         (2005).
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 45 of 97 PageID: 75766

    31

    86. Svensk, A.M., Soini, Y., Paakko, P., Hiravikoski, P. & Kinnula, V.L. Differential

         expression of superoxide dismutases in lung cancer. Am J Clin Pathol 122, 395-404 (2004).

    87. Scholler, N. & Urban, N. CA125 in ovarian cancer. Biomark Med 1, 513-523 (2007).

    88. IARC Working Group on the Evaluation of Carcinogenic Risks to Humans. “IARC

         Monographs on the Evaluation of Carcinogenic Risks to Humans Volume 93 Carbon Black,

         Titanium Dioxide, and Talc.” IARC Monographs on the Evaluation of Carcinogenic Risks

         to Humans / World Health Organization, International Agency for Research on Cancer 93

         (2010): 1–413.

    89. IARC. “IARC Monographs on the Evaluation of Carcinogenic Risks to Humans: Volume

         100C,” 2012.
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 46 of 97 PageID: 75767




                       Exhibit 106
CaseDOI:10.1093/jnci/djt431
     3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 47Published
                                                                 of 97 byPageID:    75768
                                                                          Oxford University Press 2014.




     Article


     Aspirin, Nonaspirin Nonsteroidal Anti-inflammatory Drug, and
     Acetaminophen Use and Risk of Invasive Epithelial Ovarian
     Cancer: A Pooled Analysis in the Ovarian Cancer Association
     Consortium
     Britton Trabert, Roberta B. Ness, Wei-Hsuan Lo-Ciganic, Megan A. Murphy, Ellen L. Goode, Elizabeth M. Poole, Louise A. Brinton,
     Penelope M. Webb, Christina M. Nagle, Susan J. Jordan, Australian Ovarian Cancer Study Group, the Australian Cancer Study
     (Ovarian Cancer), Harvey A. Risch, Mary Anne Rossing, Jennifer A. Doherty, Marc T. Goodman, Galina Lurie, Susanne K. Kjær,
     Estrid Hogdall, Allan Jensen, Daniel W. Cramer, Kathryn L. Terry, Allison Vitonis, Elisa V. Bandera, Sara Olson, Melony G. King,
     Urmila Chandran, Hoda Anton-Culver, Argyrios Ziogas, Usha Menon, Simon A. Gayther, Susan J. Ramus, Aleksandra Gentry-
     Maharaj, Anna H. Wu, Celeste Leigh Pearce, Malcolm C. Pike, Andrew Berchuck, Joellen M. Schildkraut, Nicolas Wentzensen;
     on behalf of the Ovarian Cancer Association Consortium

     Manuscript received April 10, 2013; revised November 10, 2013; accepted November 14, 2013.
     Correspondence to: Britton Trabert, PhD, Hormonal and Reproductive Epidemiology Branch, Division of Cancer Epidemiology and Genetics, 6120 Executive
     Blvd, Ste 550, MSC-7234, Rockville, MD 20852 (e-mail: britton.trabert@nih.gov).




     Background        Regular aspirin use is associated with reduced risk of several malignancies. Epidemiologic studies analyzing
                       aspirin, nonaspirin nonsteroidal anti-inflammatory drug (NSAID), and acetaminophen use and ovarian cancer risk
                       have been inconclusive.

        Methods        We analyzed pooled data from 12 population-based case–control studies of ovarian cancer, including 7776 case
                       patients and 11 843 control subjects accrued between 1992 and 2007. Odds ratios (ORs) for associations of medica-
                       tion use with invasive epithelial ovarian cancer were estimated in individual studies using logistic regression and
                       combined using random effects meta-analysis. Associations between frequency, dose, and duration of analgesic
                       use and risk of ovarian cancer were also assessed. All statistical tests were two-sided.

          Results      Aspirin use was associated with a reduced risk of ovarian cancer (OR = 0.91; 95% confidence interval [CI] = 0.84
                       to 0.99). Results were similar but not statistically significant for nonaspirin NSAIDs, and there was no association
                       with acetaminophen. In seven studies with frequency data, the reduced risk was strongest among daily aspirin
                       users (OR = 0.80; 95% CI = 0.67 to 0.96). In three studies with dose information, the reduced risk was strongest
                       among users of low dose (<100 mg) aspirin (OR = 0.66; 95% CI = 0.53 to 0.83), whereas for nonaspirin NSAIDs, the
                       reduced risk was strongest for high dose (≥500 mg) usage (OR = 0.76; 95% CI = 0.64 to 0.91).

     Conclusions       Aspirin use was associated with a reduced risk of ovarian cancer, especially among daily users of low-dose aspi-
                       rin. These findings suggest that the same aspirin regimen proven to protect against cardiovascular events and
                       several cancers could reduce the risk of ovarian cancer 20% to 34% depending on frequency and dose of use.

     		                JNCI J Natl Cancer Inst (2014) 106(2): djt431 doi:10.1093/jnci/djt431



     Ovarian cancer is the most fatal gynecologic malignancy, causing           factors associated with ovarian epithelial disruption through ovula-
     more than 140 000 deaths each year worldwide (1). Although early           tion (7–9), inflammation-related exposures such as endometriosis
     stage ovarian cancer can be successfully treated, the disease is com-      (10–12) and exposure to talc or genital powder and asbestos (13)
     monly detected at advanced stages with extensive local and systemic        have been associated with increased ovarian cancer risk.
     spread and poor survival. Early detection strategies have not been            Recently, intervention trials have shown that regular aspirin
     shown to reduce mortality (2,3), and biomarker candidates have had         use is associated with reduced risk of several malignancies (14).
     insufficient performance to improve early detection efforts thus far       However, these trials were not powered for rare cancer endpoints,
     (4,5). Primary prevention strategies have not been widely studied          and none of the clinical trials to date have evaluated ovarian can-
     but may present alternatives to reduce ovarian cancer burden.              cer separately. Recent meta-analyses of aspirin use have reached
        Multiple lines of evidence suggest that ovarian cancer may be           various conclusions that range from no effect (15) to a weak risk
     related to chronic inflammation (6). In addition to inflammatory           reduction among regular users of aspirin (16–18). For nonsteroidal

     jnci.oxfordjournals.org                                                                                                    JNCI   | Article   1 of 11
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 48 of 97 PageID: 75769

   anti-inflammatory drug (NSAID) use, a recent summary suggested           Study Variables
   a greater risk reduction among cohort studies than among case–           Data for medication use was self-reported in all studies (Table 1).
   control studies (15), whereas, the results from individual epidemio-     Ten of the 12 studies asked about “regular use” of medications
   logic studies have been largely inconclusive (13,19–33), possibly        over a specified time period with a minimum frequency of use
   because of limited sample size and limited data on dose, duration,       (13,23,34,38–40,42–45). The duration of regular use varied in the
   and frequency of use across the studies.                                 10 studies, from 1 month to 1 year of use. The majority of the
      We conducted an analysis of pooled individual-level data              studies, six of 10, specified 6 months or more as the minimum dura-
   of NSAID use and ovarian cancer risk in the Ovarian Cancer               tion (23,38,42–45). The definition for frequency of regular use also
   Association Consortium (OCAC), including more than 7500 ovar-            varied by study, ranging from once per week to daily; the majority
   ian cancer cases from 12 population-based case–control studies.          of the studies (n = 8 of 10) specified once or twice per week as the
                                                                            minimum frequency of regular use (13,23,34,38,39,42,44,45). The
                                                                            two remaining studies did not specify regular use, so we reclassified
   Methods                                                                  study participants as regular users if their reported frequency of
   Study Population                                                         use was at least once per week (26) or if their frequency of use was
   We analyzed individual-level data from 12 population-based case–         at least five pills per month and their duration of use was at least
   control studies participating in OCAC that had available data            6 months (37).
   on aspirin, nonaspirin NSAID, or acetaminophen (paracetamol)                 The exposures used in this analysis were regular (at least once
   use. All studies had approval from ethics committees, and writ-          per week) use of aspirin, nonaspirin NSAIDs, and acetaminophen
   ten informed consent was obtained from study participants. Data          and nonregular use (reference group; less than once a week use
   acquisition and data pooling for each study were approved by the         for each category). Data for nonaspirin NSAID use were pro-
   institutional review board or research ethics committees of the          vided in all studies except for two studies that combined aspirin
   institutes sponsoring the study.                                         use with other NSAIDs (44,45). Medication use was further clas-
       The 12 studies were as follows: the Australian Ovarian Cancer        sified by frequency [<30 days per month and daily; n = 7 studies
   Study and Australian Cancer Study (26), the Connecticut Ovarian          (13,23,26,37-40)], dose [<100 and ≥100 mg for aspirin to differ-
   Cancer Study (34), the Diseases of the Ovary and their Evaluation        entiate between use of low- and regular/high-dose formulations;
   Study (23,35), the Hawaii Ovarian Cancer Case–Control Study              <500 mg and ≥ 500 mg for non-aspirin NSAID and acetaminophen
   (36,37), the Hormones and Ovarian Cancer Prediction Study (38),          to differentiate between standard and high-dose formulations;
   the Malignant Ovarian Cancer Study (39), the North Carolina              n = studies (37,38,40)], and duration [<60 months and ≥60 months;
   Ovarian Cancer Study (40,41), the New England Case–Control               n = 8 studies (13,23,34,37-39,42,43)] of use based on available data
   Study of Ovarian Cancer (42), the New Jersey Ovarian Cancer              from the individual studies. We created a frequency–dose combi-
   Study (43), the University of California, Irvine Ovarian Cancer          nation exposure variable based on cross-tabulations of the original
   Study (44), the United Kingdom Ovarian Cancer Population Study           categorical variables [(n = 3 studies) (37,38,40)].
   (45), and the University of Southern California Study of Lifestyle           Potential confounding variables were available from all studies
   and Women’s Health (13) (Table 1). In total, the study included          as part of a core dataset and were harmonized by the coordinat-
   data from nine case–control studies conducted in the United States       ing center. Continuous variables were categorized in all analyses
   (13,23,34,37,38,40,42–44), one study conducted in Denmark (39),          for ease of interpretation and to reduce the effect of any outliers.
   one study conducted in the United Kingdom (45), and one study            Variables that were selected a priori as adjustment factors included
   conducted in Australia (26).                                             age (5-year categories), race (white, black, other), body mass index
       From these 12 studies, 10 161 ovarian cancer case patients and       (<25, 25–29, ≥30 kg/m2), use of oral contraceptives (ever, never),
   12 382 control subjects were available for the analysis. For the pri-    parity (nulliparous, 1 full-term birth, >1 full-term birth), meno-
   mary analysis, we excluded case patients whose cancers were non-         pausal status (pre- or postmenopausal based on study-specific
   epithelial (n = 43), of low malignant potential (n = 2059), or missing   algorithm), and family history of breast or ovarian cancer in a first-
   data on both the malignant potential of the tumor and tumor grade        degree relative (defined as any breast or ovarian cancer reported
   (n = 68). We further excluded study participants with missing data       in mother, sister, or daughter or breast cancer reported in father).
   for all three exposure variables (n = 215 case patients and n=539        Potential confounding was also evaluated, but not found, for the
   control subjects), leaving 7776 invasive ovarian cancer case patients    following variables: Hispanic ethnicity, history of breast feeding,
   and 11 843 control subjects for our analysis. The case patients were     use of estrogen menopausal hormone therapy, use of estrogen plus
   divided into four categories by the four main histologic subtypes        progestin menopausal hormone therapy, tubal ligation, hysterec-
   of the cancer: serous (n = 4510), endometrioid (n = 1163), clear         tomy, and history of endometriosis.
   cell (n = 677), and mucinous (n = 423). The remaining 1003 case
   patients with cancers of other histologic type were not included         Statistical Analyses
   in subtype analyses. We also evaluated associations for high-grade       We used multivariable logistic regression models to estimate study-
   serous ovarian tumors (grade II–IV; n = 3786) based on the pre-          specific odds ratios (ORs) and 95% confidence intervals (CIs) for
   vailing view that high-grade serous tumors are distinct from low-        the association between NSAID exposure and ovarian cancer risk.
   grade (grade I; n = 330) serous tumors (46). We evaluated 2059           Study-specific odds ratios were pooled using random-effects meta-
   case patients with cancers of low malignant potential in a separate      analysis to generate a summary odds ratio. For the analyses of the
   analysis.                                                                primary exposures (regular use, dose, duration, and frequency), two

   2 of 11 Article   |   JNCI                                                                           Vol. 106, Issue 2 | djt431 | February 5, 2014
                          Table 1. Characteristics of population-based case–control studies from the Ovarian Cancer Association Consortium included in the pooled analysis*

                                                                                                                                                                               Prevalence of exposure in
                                                                                                   Study subjects                                                                  control subjects
                                                                                                                                                                                   Nonaspirin




jnci.oxfordjournals.org
                                                                                                Case         Control
                                                                                                                                                                        Aspirin     NSAID‡      Acetaminophen
                                                    OCAC                   Ascertainment      patients       subjects
                          Study                    acronym     Location       period         (n = 7776)    (n = 11 843)       Question pertaining to drug use             %            %               %
                          Australian Ovarian       AUS        Australia      2002–2005         1311           1505        How often have you taken the following          10           16             25
                            Cancer Study &                                                                                  over-the-counter (aspirin, paracetamol,
                            Australian Cancer                                                                               anti-inflammatory drugs) medications
                            Study† (26)                                                                                     during PAST 5 years?
                          Connecticut Ovarian      CON        USA            1999–2003         388            551         Have you ever taken any of the                  26           28             16
                            Cancer Study (34)                                                                               medications shown on this card
                                                                                                                            regularly (at least once per week on
                                                                                                                            average over a duration of 3 months or
                                                                                                                            more)?
                          Diseases of the Ovary    DOV        USA            2002–2009         1159           1849        Before reference date have you taken            22           27             16
                            and their Evaluation                                                                            any of these medications (show card)
                            Study (23,35)                                                                                   5 or more days per month for at least
                                                                                                                            6 months?
                          Hawaii Ovarian Cancer    HAW        USA            2001–2008         256            485         Did you ever take an aspirin product (show      26           25             22
                            Case–Control Study                                                                              card) at least 12 times a year? Identical
                            (36,37)                                                                                         questions ascertained use of acetami-
                                                                                                                            nophen (aspirin-free) and NSAIDs.
                          Hormones and Ovarian     HOP        USA            2003–2008         683            1513        Prior to reference date have you ever           34           33             19
                            Cancer Prediction                                                                               used aspirin (show card) for at least
                            Study (38)                                                                                      two tablets per week continuously for a
                                                                                                                            period of 6 months or longer? Identical
                                                                                                                            questions ascertained use of over-the-
                                                                                                                            counter pain or inflammation reliever
                                                                                                                            other than aspirin.
                          Malignant Ovarian        MAL        Denmark        1994–1999         554            1564        Did you ever take medicine on a regular          8            9              5
                           Cancer Study (39)                                                                                basis, i.e. two times or more per week
                                                                                                                            for more than one month for any of the
                                                                                                                            following conditions?
                          North Carolina Ovarian   NCO        USA            1999–2008         939            1085        For the 5 years prior to diagnosis, did         11           38             20
                            Cancer Study (40,41)                                                                            you take any of these over-the-counter
                                                                                                                            medications (show card) on a regular
                                                                                                                            basis for at least 3 months?
                          New England Case–        NEC        USA            1992–2003         870            1243        Prior to reference date have you ever used      18           25             22
                            Control Study of                                                                                any over-the-counter pain reliever (show




JNCI
                            Ovarian Cancer (42)                                                                             card) continuously at least once a week
                                                                                                                            for a period of 6 months or longer?

                          (Table continues)




| Article
                                                                                                                                                                                                                Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 49 of 97 PageID: 75770




3 of 11
                                                Table 1 (Continued ).

                                                                                                                                                                                                                           Prevalence of exposure in
                                                                                                                                       Study subjects                                                                          control subjects
                                                                                                                                                                                                                               Nonaspirin




4 of 11 Article
                                                                                                                                   Case            Control
                                                                                                                                                                                                                     Aspirin    NSAID‡      Acetaminophen




|
                                                                               OCAC                       Ascertainment          patients          subjects
                                                Study                         acronym          Location      period             (n = 7776)       (n = 11 843)             Question pertaining to drug use              %           %               %




JNCI
                                                New Jersey Ovarian          NJO                USA           2002–2008               238             458              Prior to reference date did you ever take       16           9               3
                                                  Cancer Study (43)                                                                                                     any over-the-counter medications con-
                                                                                                                                                                        tinuously for 6 months or longer (this
                                                                                                                                                                        includes prescriptions, over-the-counter
                                                                                                                                                                        medications, and any natural or alterna-
                                                                                                                                                                        tive treatments you may have taken).
                                                University of California,   UCI                USA           1995–2005               393             313              Have you taken medication listed (aspirin,      26          41‡             17
                                                  Irvine Ovarian                                                                                                        ibuprofen, acetaminophen, naproxen)
                                                  Cancer Study (44)                                                                                                     regularly? By regular, we are referring to
                                                                                                                                                                        use of the drug or medication at least
                                                                                                                                                                        once a week for a year, or more than 50
                                                                                                                                                                        pills during a one year-period.
                                                United Kingdom              UKO                UK            2006–2007               516             598              Have you ever used any medication               15          16‡             —
                                                  Ovarian Cancer                                                                                                        containing the drugs (aspirin, ibupro-
                                                  Population Study (45)                                                                                                 fen) on a regular basis (by regular we
                                                                                                                                                                        mean every day or almost every day for
                                                                                                                                                                        6 months or longer)?
                                                University of Southern      USC                USA           2000–2005               469             679              Before reference date, as an adult, did         15          16              13
                                                  California Study                                                                                                      you ever take any prescription or
                                                  of Lifestyle and                                                                                                      non-prescription medicine at least 2 or
                                                  Women’s Health (13)                                                                                                   more times per week for one month or
                                                                                                                                                                        longer?
                                                                                                                                                                      Overall                                         18          24              16

                                                * NSAID = nonsteroidal antiinflammatory drug; OCAC = Ovarian Cancer Association Consortium.
                                                † Combined for the purpose of this analysis.
                                                ‡ UCI and UKO reported data on NSAIDs, including aspirin; the remaining studies provided data on nonaspirin NSAIDs.
                                                                                                                                                                                                                                                            Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 50 of 97 PageID: 75771




Vol. 106, Issue 2 | djt431 | February 5, 2014
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 51 of 97 PageID: 75772

    multivariable logistic regression models were used: 1) a minimally       comparisons showed no significant differences in risk between the
    adjusted model that included covariables for age and race and 2) a       subtypes (P > .05).
    fully adjusted model that included age, race, body mass index, oral
    contraceptive use, parity, menopausal status, and family history of      Nonaspirin NSAIDs
    breast or ovarian cancer in a first-degree relative. The summary         Regular nonaspirin NSAID use was associated with a reduced,
    odds ratios from the fully adjusted model were attenuated slightly       albeit not statistically significant, risk of ovarian cancer (OR = 0.90;
    compared with the minimally adjusted model. We present the               95% CI = 0.77 to 1.05; I2 = 73.2%) (Figure 1B). Among the three
    results from the fully adjusted model. We further evaluated mod-         studies that reported information on dose, high-dose nonaspirin
    els stratified by age (<55 and ≥55 years old), body mass index (<25      NSAID use (≥500 mg/day) was associated with a 24% reduction in
    and ≥25 kg/m2), oral contraceptive use (ever/never), and history of      ovarian cancer risk (OR = 0.76; 95% CI = 0.64 to 0.91) (Table 2). In
    endometriosis (yes/no). We assessed asymmetry in study estimates         analyses of combined categories of frequency and dose, the reduced
    using a funnel plot, and when data were sufficient (n > 5 studies), we   risk of ovarian cancer was apparent among both categories of high-
    formally assessed asymmetry using the adjusted rank correlation          dose nonaspirin NSAID use (<30 days per month: OR = 0.77,
    (47) and regression asymmetry tests (48). Interstudy heterogeneity       95% CI = 0.57 to 1.04; daily: OR = 0.75; 95% CI = 0.60 to 0.94),
    was evaluated using I2.                                                  with a weaker association with daily users of low-dose nonaspirin
        The following sensitivity analyses were performed: 1) exclu-         NSAIDs (OR = 0.88; 95% CI = 0.70 to 1.11) (Table 3). The asso-
    sion of tubal or primary peritoneal cases (n = 461); 2) restriction to   ciation between nonaspirin NSAIDs and risk was strongest for
    white non-Hispanic participants because 85% of the participants          serous cancers but did not differ across histologic subtypes of ovar-
    were of white race and non-Hispanic ethnicity; 3) use of a common        ian cancer (Table 4).
    reference group analysis, coding “nonregular users” as women who
    reported no regular use of aspirin or nonaspirin NSAIDs or aceta-        Acetaminophen
    minophen; 4) restriction of pooled analysis to the six studies that      Acetaminophen use was not associated with ovarian cancer risk
    specified 6 months or more as the minimum duration; 5) restriction       (OR = 0.99; 95% CI = 0.88 to 1.12; I2: 40.0%) (Figure 1C). No
    of pooled analysis to the nine US studies; and 6) exclusion from the     associations were observed when analyzing dose, duration, or fre-
    pooled analysis the two studies (23,45) with the most restrictive        quency of acetaminophen use and ovarian cancer risk (Table 2).
    definition of medication use given concerns for misclassification        Further we observed no association between acetaminophen use
    of regular users as unexposed. All statistical tests were two-sided,     and histologic subtypes of ovarian cancer (Table 4).
    and P values less than .05 were considered statistically significant.
    All analyses were performed using STATA software version 11.2            Additional Analyses
    (StataCorp LP, College Station, TX).                                     The association between NSAID use and high-grade serous
                                                                             tumors was not substantially different than the results reported
                                                                             for all serous tumors combined (results not shown). Tumors of low
    Results                                                                  malignant potential (n = 2059) were not associated with analge-
    Study site, number of case patients and control subjects, and expo-      sic use (data not shown). In analyses stratified by age, body mass
    sure prevalence for each of the 12 OCAC studies are described in         index, oral contraception use, and history of endometriosis, similar
    Table 1. Overall, 18% of the study population reported regular use       NSAID use and ovarian cancer associations were observed as in the
    (at least once per week) of aspirin, 24% reported regular use of non-    overall population (results not shown). Based on the adjusted rank
    aspirin NSAIDs, and 16% reported regular use of acetaminophen.           correlation and regression asymmetry tests, there was no indication
                                                                             of small study effects (all P > .05) in the summary estimates for the
    Aspirin                                                                  associations between regular use of aspirin, nonaspirin NSAIDs,
    Figure 1A shows the association between aspirin use (regular vs          or acetaminophen and ovarian cancer. Although there was het-
    nonregular use) and ovarian cancer risk. Regular aspirin use was         erogeneity in the definition of nonaspirin NSAID use, individual
    associated with a reduced risk of ovarian cancer (OR = 0.91; 95%         exclusion of each study did not substantially change the summary
    CI = 0.84 to 0.99; I2 = 5.2%). Among seven studies that reported         odds ratio (results not shown); however, the exclusion of two stud-
    information on frequency of use, daily use was associated with a         ies (13,44) resulted in a decrease in I2 from 73.2% to 27.8% but no
    20% reduction in ovarian cancer risk (OR = 0.80; 95% CI = 0.67           substantial change in the summary odds ratio (results not shown).
    to 0.96) (Table 2). Among three studies that reported information            In a sensitivity analysis excluding peritoneal and fallopian
    on dose, low-dose aspirin use (<100 mg/day) was associated with a        tube cancers, the pooled summary odds ratios for the associations
    34% reduction in ovarian cancer risk (OR = 0.66; 95% CI = 0.53           between regular use of aspirin, nonaspirin NSAIDs, or acetami-
    to 0.83) (Table 2). In analyses of combined categories of frequency      nophen and ovarian cancer were not substantially different from
    and dose of aspirin use, the reduced risk was apparent for daily users   the odds ratios observed for the overall case group (data not
    of aspirin regardless of dose (low dose: OR = 0.64, 95% CI = 0.50        shown). The associations between regular use of NSAIDs and
    to 0.81; high dose: OR = 0.78, 95% CI = 0.62 to 0.97) (Table 3).         ovarian cancer did not substantially change when the analyses were
        In subtype analyses, regular aspirin use was associated with         restricted to non-Hispanic white case patients and control subjects
    reduced risks of serous, endometrioid, and mucinous ovarian can-         (data not shown). In analyses using women who reported nonreg-
    cer, but only the results for serous cancer reached statistical sig-     ular use of all three NSAIDs as the reference group, a stronger
    nificance (OR = 0.89; 95% CI = 0.80 to 0.99) (Table 4). Pairwise         reduced risk was observed for regular use of aspirin (OR = 0.81;

    jnci.oxfordjournals.org                                                                                                 JNCI   | Article   5 of 11
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 52 of 97 PageID: 75773
jnci.oxfordjournals.org
                          Table 2. Summary odds ratios (ORs) and 95% confidence intervals (CIs) for the associations of aspirin, nonaspirin NSAID, and acetaminophen/paracetamol use with risk of ovarian
                          cancer in the Ovarian Cancer Association Consortium (1992–2009)*

                                                                                     Aspirin                                                 Nonaspirin NSAID                                                Acetaminophen
                          Exposure
                                                                                                                    2                                                              2
                          categorization                    Control       Case      OR†          (95% CI)          I   ǁ   Control       Case      OR†         (95% CI)          I   ǁ    Control      Case       OR†         (95% CI)          I  2ǁ
                          Frequency‡
                            No regular use                    6366        3826      1.00         (referent)                  6007        3565      1.00        (referent)                   6189        3497      1.00        (referent)
                            <30 days per month                 917         739      1.04       (0.92 to 1.18)      0.0       1357         994      1.04      (0.88 to 1.22)      44.8       1805        1439      1.10      (0.96 to 1.26)      0.0
                            Daily                             1179         607      0.80       (0.67 to 0.96)     51.4       1285         776      0.97      (0.83 to 1.12)      46.1        665         427      0.95      (0.74 to 1.23)     63.4
                          Dose‡§
                            No regular use                    2138        1359      1.00         (referent)                  2053        1274      1.00        (referent)                  2465         1516      1.00        (referent)
                            Low                                320         129      0.66       (0.53 to 0.83)      0.0        439         259      0.96      (0.79 to 1.16)      11.7       113           68      1.15      (0.84 to 1.59)      0.0
                            High                               415         211      0.89       (0.73 to 1.08)      0.0        490         233      0.76      (0.64 to 0.91)       0.0       500          293      0.90      (0.68 to 1.19)     60.4
                          Duration‡
                            No regular use                    6625        3667      1.00         (referent)                  6451        3568      1.00        (referent)                   7106        3918      1.00        (referent)
                            <60 months                         819         401      0.83       (0.68 to 1.01)     42.3       1002         490      0.86      (0.71 to 1.04)      48.6        477         243      0.88      (0.72 to 1.08)     26.5
                            ≥60 months                         833         527      0.98       (0.86 to 1.11)      0.0        824         525      1.08      (0.86 to 1.34)      55.6        712         438      1.13      (0.92 to 1.39)     44.4

                          * NSAID = nonsteroidal anti-inflammatory drug.
                          † Summary odds ratios were estimated using random-effects meta-analytic model. Results were adjusted for age (<50, 50–54, 55–59, 60–64, 65–69, ≥70 years), race (white, black, other), oral contraceptive use (ever/
                            never), parity (0, 1, ≥2), menopausal status (premenopausal/postmenopausal), body mass index category (<25, 25–29.9, ≥30 kg/m2) if available, and first-degree family history of breast cancer, male breast cancer, or
                            ovarian cancer. All statistical tests were two-sided.
                          ‡ Analyses included seven studies for frequency (13,23,26,37–40), three studies for dose (37,38,40), and eight studies for duration.(13,23,34,37–39,42,43).
                          § Dose categories for aspirin: low: <100 mg, high: ≥100 mg; for nonaspirin NSAIDs and acetaminophen: low: <500 mg, high: ≥500 mg.
                          ǁ I2 is the percentage of variation across studies due to heterogeneity rather than chance.




JNCI
| Article
                                                                                                                                                                                                                                                        Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 53 of 97 PageID: 75774




7 of 11
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 54 of 97 PageID: 75775

   Table 3. Summary odds ratios (ORs) and 95% confidence intervals (CIs) for the associations of aspirin and NSAID use with risk of ovarian
   cancer in the Ovarian Cancer Association Consortium (1992–2009)*

                                                                         Aspirin                                                     Nonaspirin NSAID
   Exposure categorization                     Control        Case       OR†          (95% CI)          I  2§    Control        Case       OR†          (95% CI)              I  2§
   Frequency and dose‡
     No regular use                              2138         1359       1.00        (referent)                    2053         1274       1.00        (referent)
     <30 days per month, low dose                  19           11       1.12      (0.52 to 2.43)       0.0         175          115       1.08      (0.74 to 1.59)       52.1
     Daily, low Dose                              298          118       0.64      (0.50 to 0.81)       0.0         263          143       0.88      (0.70 to 1.11)        0.0
     <30 days per month, high dose                 93           66       1.25      (0.88 to 1.76)       0.0         136           82       0.77      (0.57 to 1.04)        0.0
     Daily, high Dose                             322          144       0.78      (0.62 to 0.97)       0.0         353          148       0.75      (0.60 to 0.94)        3.8

   * NSAID = nonsteroidal anti-inflammatory drug.
   † Summary odds ratios were estimated using random-effects meta-analytic model. Results were adjusted for age (<50, 50–54, 55–59, 60v64, 65–69, ≥70 years),
     race (white, black, other), oral contraceptive use (ever/never), parity (0, 1, ≥2), menopausal status (premenopausal/postmenopausal), body mass index category
     (<25, 25–29.9, ≥30 kg/m2) if available, and first-degree family history of breast cancer, male breast cancer, or ovarian cancer. All statistical tests were two-sided.
   ‡ Analyses included three studies for frequency and dose analyses (37,38,40). Dose categories for aspirin: low: <100 mg, high: ≥100 mg; for nonaspirin NSAIDs and
     acetaminophen: low: <500 mg, high: ≥500 mg.
   § I  2 is the percentage of variation across studies due to heterogeneity rather than chance.


   However, daily and/or low-dose aspirin use was not specifically                             Quantifying desired and adverse effects of aspirin will be
   evaluated in the meta-analysis. In contrast, the use of individual-                     important when evaluating future public health decisions about
   level data in this study facilitated the evaluation of usage patterns                   aspirin use for prevention of cardiovascular disease and cancer.
   beyond what was available in the meta-analysis of published studies.                    Complications associated with aspirin use, including peptic ulcer,
       The pharmacological effects of NSAIDs that lead to reduced                          upper gastrointestinal bleeding, and hemorrhagic stroke, pose seri-
   risks of cancer or improved cancer prognosis are not well under-                        ous threats; current risk–benefit analyses favor aspirin use among
   stood and may differ by cancer site. Aspirin is a strong, irrevers-                     high-risk groups but not for large-scale, population-based chemo-
   ible inhibitor of COX-1. Nonaspirin NSAIDs are nonselective                             prevention. Our study provides estimates on the effect of aspirin on
   and reversible inhibitors of both COX-1 and COX-2, whereas                              ovarian cancer risk that should be considered in risk–benefit analy-
   acetaminophen is a more effective inhibitor of COX-2 (52,53).                           ses for preventive aspirin use. However, detailed questions about
   The different effects observed in our study for aspirin/nonaspirin                      frequency, dose, and duration will need to be evaluated in future
   NSAIDs and acetaminophen may suggest that COX-1 inhibition is                           studies including pooled data from cohort studies.
   important for ovarian cancer risk reduction, a notion that is further                       This pooled analysis of data from 12 studies offered several nota-
   supported by frequent overexpression of COX-1 in ovarian cancer                         ble strengths. With more than 7500 case patients, we had greater
   tissue, but more biological and pharmacological research is needed                      power to detect associations than in any previous single study.
   to understand the underlying mechanisms (54).                                           Further, we were able to consistently adjust for potential confound-
       Both epidemiologic studies and randomized trials have reported                      ers across studies and to evaluate NSAID exposure compared with
   inverse associations between aspirin use and colorectal cancer, with                    a common reference group, reducing exposure misclassification
   a relative risk of approximately 0.5 for regular users (55). There is                   (23). Observing consistent associations across studies and countries
   some evidence that regular and prolonged aspirin use is also asso-                      provided additional robustness to our findings, specifically for aspi-
   ciated with reduced risk of cancers of the esophagus (16), bladder                      rin use, where the interstudy heterogeneity was the smallest. The
   (56), liver (57), lung (16), endometrium (58), and female breast (16).                  use of individual-level data and the ability to consider and control
   A recent pooled analysis of individual patient data from 51 rand-                       for a wide range of potential confounders were additional strengths
   omized trials of aspirin use for cardiovascular disease prevention                      of this pooled analysis.
   reported a 12% reduction in cancer incidence with 3 or more years                           Potential limitations include possible differential recall of medi-
   of daily aspirin use (14). In women, the reduction in incidence was                     cation use between case patients and control subjects. However, the
   greatest for cancers of the female reproductive organs; however,                        decreased risk observed for aspirin or nonaspirin NSAIDs and the
   ovarian cancer incidence was very low (14).                                             lack of association with acetaminophen argues against substantial
       In the Women’s Health Study, use of low-dose aspirin every                          differential recall. Further, the study-specific prevalence of regular
   other day was not associated with reduced incidence of colorec-                         aspirin use in the US studies (11%–16%) included in the current
   tal cancer or cancer overall, suggesting that a daily use regimen                       analysis is consistent with estimates reported in US cohorts (60–62);
   is important for cancer protection (59). This notion is sup-                            differential recall (ie, greater reporting of medication use among case
   ported by our findings: the reduction of ovarian cancer risk was                        patients) would have biased our results toward the null. There was
   much stronger when daily use was considered, and the strongest                          evidence of heterogeneity between study-specific estimates, but this
   reduction was observed among daily users of low-dose aspirin.                           was mostly restricted to analyses pertaining to nonaspirin NSAIDs
   This finding is likely explained by the regular use pattern of                          and acetaminophen use. Nonaspirin NSAIDs include a variety of
   low-dose aspirin because low-dose aspirin regimens for cardio-                          drugs and formulations with regional differences that may have con-
   vascular protection are characterized by daily use over a long                          tributed to heterogeneity. Another limitation of this pooled analy-
   period of time.                                                                         sis was the variability in the definition of regular use across study

   8 of 11 Article     |   JNCI                                                                                               Vol. 106, Issue 2 | djt431 | February 5, 2014
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 55 of 97 PageID: 75776

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   populations. We addressed the misclassification of exposure defini-
    Table 4. Summary odds ratios (ORs) and 95% confidence intervals (CIs) for the associations of aspirin, nonaspirin NSAID, and acetaminophen/paracetamol use with risk of ovarian




                                                                                                                                                                                                                            33.3


                                                                                                                                                                                                                                             29.1


                                                                                                                                                                                                                                                              32.7


                                                                                                                                                                                                                                                                               0.0
                                                                                                                                                                                                         I  2‡




                                                                                                                                                                                                                                                                                                                                          † Summary odds ratios were estimated using random-effects meta-analytic model. Results were adjusted for age (<50, 50–54, 55–59, 60–64, 65–69, ≥70 years), race (white, black, other), oral contraceptive use (ever/
                                                                                                                                                                                                                                                                                                                                            never), parity (0, 1, ≥2), menopausal status (premenopausal/postmenopausal), body mass index category (<25, 25–29.9, ≥30 kg/m2) if available, and first-degree family history of breast cancer, male breast cancer, or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   tions across the studies by using a standard definition for regular
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   use as described in the Methods; in the two studies with the least




                                                                                                                                                                                                                                      (0.66 to 1.05)


                                                                                                                                                                                                                                                       (0.91 to 1.64)


                                                                                                                                                                                                                                                                        (0.66 to 1.23)
                                                                                                                                                                                                                     (0.91 to 1.18)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   restrictive definition of regular use (26,37), participants were reclas-

                                                                                                                                                                                                                       (referent)


                                                                                                                                                                                                                                        (referent)


                                                                                                                                                                                                                                                         (referent)


                                                                                                                                                                                                                                                                          (referent)
                                                                                                                                                                                                         (95% CI)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   sified accordingly. We conducted a sensitivity analysis restricting the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   pooled analysis to those studies with regular use for at least 6 or more
                                                                                                                                                                                      Acetaminophen




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   months in duration and found similar results. We were not able to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   reclassify participants from two studies with the most restrictive defi-
                                                                                                                                                                                                         OR†


                                                                                                                                                                                                                     1.00


                                                                                                                                                                                                                                      1.00


                                                                                                                                                                                                                                                       1.00


                                                                                                                                                                                                                                                                        1.00
                                                                                                                                                                                                                     1.03


                                                                                                                                                                                                                                      0.83


                                                                                                                                                                                                                                                       1.22


                                                                                                                                                                                                                                                                        0.90
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   nition of regular use (23,45). In a sensitivity analysis excluding these
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   two studies from the pooled analysis, the results were essentially
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   unchanged. The details of NSAID use patterns ascertained in each
                                                                                                                                                                                                         Cases


                                                                                                                                                                                                                     3478
                                                                                                                                                                                                                      777

                                                                                                                                                                                                                                      920
                                                                                                                                                                                                                                      192

                                                                                                                                                                                                                                                       510
                                                                                                                                                                                                                                                       166

                                                                                                                                                                                                                                                                        314
                                                                                                                                                                                                                                                                         66
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   study population differed, and data on frequency, dose, and duration
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   of use were not provided in all studies; thus some subgroup analyses
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   are based on small numbers. Although the point estimates for dura-
                                                                                                                                                                                                         Controls




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   tion of use suggest a counterintuitive trend of shorter duration of use
                                                                                                                                                                                                                     9326
                                                                                                                                                                                                                     1878

                                                                                                                                                                                                                                      9264
                                                                                                                                                                                                                                      2277

                                                                                                                                                                                                                                                       9070
                                                                                                                                                                                                                                                       3222

                                                                                                                                                                                                                                                                        8927
                                                                                                                                                                                                                                                                        1987

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   associated with lower risk of ovarian cancer, the differences were not
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   statistically significant. It will be important to follow up the findings
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   in large pooled prospective studies to better understand the effects of
                                                                                                                                                                                                                            75.4


                                                                                                                                                                                                                                             38.8


                                                                                                                                                                                                                                                              35.0


                                                                                                                                                                                                                                                                               21.0
                                                                                                                                                                                                         I   ‡
                                                                                                                                                                                                         2




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   duration and timing of aspirin use and ovarian cancer risk. Further,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   we were not able to evaluate indication of use.
                                                                                                                                                                                                                     (0.68 to 1.02)




                                                                                                                                                                                                                                                       (0.73 to 1.27)


                                                                                                                                                                                                                                                                        (0.73 to 1.35)
                                                                                                                                                                                                                                      (0.75 to 1.15)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       In summary, this pooled analysis supports the hypothesis that
                                                                                                                                                                                                                       (referent)


                                                                                                                                                                                                                                        (referent)


                                                                                                                                                                                                                                                         (referent)


                                                                                                                                                                                                                                                                          (referent)
                                                                                                                                                                                                         (95% CI)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   regular aspirin use reduces ovarian cancer risk. Specifically, we
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   report a statistically significant decreased risk of ovarian cancer
                                                                                                                                                                                      Nonaspirin NSAID




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   with daily use of aspirin. Further biological and pharmacological
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   research is necessary to understand the mechanisms of ovarian can-
                                                                                                                                                                                                         OR†


                                                                                                                                                                                                                     1.00


                                                                                                                                                                                                                                      1.00


                                                                                                                                                                                                                                                       1.00


                                                                                                                                                                                                                                                                        1.00
                                                                                                                                                                                                                     0.83


                                                                                                                                                                                                                                      0.93


                                                                                                                                                                                                                                                       0.97


                                                                                                                                                                                                                                                                        0.99




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   cer risk reduction by aspirin use.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   References
                                                                                                                                                                                                         Cases


                                                                                                                                                                                                                     3467
                                                                                                                                                                                                                     1002

                                                                                                                                                                                                                                      858
                                                                                                                                                                                                                                      290

                                                                                                                                                                                                                                                       456
                                                                                                                                                                                                                                                       169

                                                                                                                                                                                                                                                                        270
                                                                                                                                                                                                                                                                         96




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1. Jemal A, Bray F, Center MM, et al. Global cancer statistics. CA Cancer J
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Clin. 2011;61(2):69–90.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2. Buys SS, Partridge E, Greene MH, et al. Ovarian cancer screening in the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Prostate, Lung, Colorectal and Ovarian (PLCO) cancer screening trial:
                                                                                                                                                                                                         Controls




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        findings from the initial screen of a randomized trial. Am J Obstet Gynecol.
                                                                                                                                                                                                                     8940
                                                                                                                                                                                                                     2754

                                                                                                                                                                                                                                      8903
                                                                                                                                                                                                                                      2742

                                                                                                                                                                                                                                                       8215
                                                                                                                                                                                                                                                       2561

                                                                                                                                                                                                                                                                        8340
                                                                                                                                                                                                                                                                        2625




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        2005;193(5):1630–1639.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     3. Buys SS, Partridge E, Black A, et al. Effect of screening on ovar-
    cancer subtype in the Ovarian Cancer Association Consortium (1992–2009)*




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‡ I2 is the percentage of variation across studies due to heterogeneity rather than chance.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ian cancer mortality: the Prostate, Lung, Colorectal and Ovarian
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        (PLCO) Cancer Screening Randomized Controlled Trial. JAMA.
                                                                                                                                                                                                                            4.3


                                                                                                                                                                                                                                             5.5


                                                                                                                                                                                                                                                              9.1


                                                                                                                                                                                                                                                                               38.1
                                                                                                                                                                                                         I   ‡
                                                                                                                                                                                                         2




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        2011;305(22):2295–2303.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     4. Zhu CS, Pinsky PF, Cramer DW, et al. A framework for evaluating bio-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        markers for early detection: validation of biomarker panels for ovarian
                                                                                                                                                                                                                     (0.80 to 0.99)




                                                                                                                                                                                                                                                       (0.84 to 1.41)


                                                                                                                                                                                                                                                                        (0.58 to 1.38)
                                                                                                                                                                                                                                      (0.74 to 1.09)
                                                                                                                                                                                                                       (referent)


                                                                                                                                                                                                                                        (referent)


                                                                                                                                                                                                                                                         (referent)


                                                                                                                                                                                                                                                                          (referent)
                                                                                                                                                                                                         (95% CI)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        cancer. Cancer Prev Res (Phila). 2011;4(3):375–383.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     5. Cramer DW, Bast RC, Jr., Berg CD, et al. Ovarian cancer biomarker per-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        formance in prostate, lung, colorectal, and ovarian cancer screening trial
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        specimens. Cancer Prev Res (Phila). 2011;4(3):365–374.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     6. Ness RB, Grisso JA, Cottreau C, et al. Factors related to inflamma-
                                                                                                                                                                                      Aspirin




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        tion of the ovarian epithelium and risk of ovarian cancer. Epidemiology.
                                                                                                                                                                                                         OR†


                                                                                                                                                                                                                     1.00


                                                                                                                                                                                                                                      1.00


                                                                                                                                                                                                                                                       1.00


                                                                                                                                                                                                                                                                        1.00
                                                                                                                                                                                                                     0.89


                                                                                                                                                                                                                                      0.90


                                                                                                                                                                                                                                                       1.09


                                                                                                                                                                                                                                                                        0.89




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        2000;11(2):111–117.
                                                                                                                                                                                                                                                                                                                                            ovarian cancer. All statistical tests were two-sided.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     7. Fathalla MF. Incessant ovulation—a factor in ovarian neoplasia? Lancet.
                                                                                                                                                                                                                                                                                         * NSAID = nonsteroidal anti-inflammatory drug.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1971;2(7716):163.
                                                                                                                                                                                                         Cases


                                                                                                                                                                                                                     3622
                                                                                                                                                                                                                      769

                                                                                                                                                                                                                                      951
                                                                                                                                                                                                                                      183

                                                                                                                                                                                                                                                       507
                                                                                                                                                                                                                                                       110

                                                                                                                                                                                                                                                                        308
                                                                                                                                                                                                                                                                         62




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     8. Moorman PG, Schildkraut JM, Calingaert B, et al. Ovulation and ovar-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ian cancer: a comparison of two methods for calculating lifetime ovulatory
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        cycles (United States). Cancer Causes Control. 2002;13(9):807–811.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     9. Fleming JS, Beaugie CR, Haviv I, Chenevix-Trench G, Tan OL. Incessant
                                                                                                                                                                                                         Controls


                                                                                                                                                                                                                     9501
                                                                                                                                                                                                                     2123

                                                                                                                                                                                                                                      9460
                                                                                                                                                                                                                                      2115

                                                                                                                                                                                                                                                       8800
                                                                                                                                                                                                                                                       1906

                                                                                                                                                                                                                                                                        8897
                                                                                                                                                                                                                                                                        2312




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ovulation, inflammation and epithelial ovarian carcinogenesis: revisiting
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        old hypotheses. Mol Cell Endocrinol. 2006;247(1–2):4–21.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    10. Ness RB. Endometriosis and ovarian cancer: thoughts on shared patho-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        physiology. Am J Obstet Gynecol. 2003;189(1):280–294.
                                                                                                                                                                                                                      No regular use


                                                                                                                                                                                                                      No regular use


                                                                                                                                                                                                                      No regular use


                                                                                                                                                                                                                      No regular use




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    11. Brinton LA, Sakoda LC, Sherman ME, et al. Relationship of benign
                                                                                                                                                                                                                    Endometrioid




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        gynecologic diseases to subsequent risk of ovarian and uterine tumors.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Cancer Epidemiol Biomarkers Prev. 2005;14(12):2929–2935.
                                                                                                                                                                                      Subtype




                                                                                                                                                                                                                    Mucinous
                                                                                                                                                                                                                    Clear cell




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    12. Pearce CL, Templeman C, Rossing MA, et al. Association between endo-
                                                                                                                                                                                                                    Serous

                                                                                                                                                                                                                      Use


                                                                                                                                                                                                                      Use


                                                                                                                                                                                                                      Use


                                                                                                                                                                                                                      Use




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        metriosis and risk of histological subtypes of ovarian cancer: a pooled
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        analysis of case–control studies. Lancet Oncol. 2012;13(4):385–394.


                   jnci.oxfordjournals.org                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             JNCI    | Article    9 of 11
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 56 of 97 PageID: 75777

    13. Wu AH, Pearce CL, Tseng CC, Templeman C, Pike MC. Markers of                    37. Lurie G, Wilkens LR, Thompson PJ, et al. Combined oral contraceptive
        inflammation and risk of ovarian cancer in Los Angeles County. Int J                use and epithelial ovarian cancer risk: time-related effects. Epidemiology.
        Cancer. 2009;124(6):1409–1415.                                                      2008;19(2):237–243.
    14. Rothwell PM, Price JF, Fowkes FG, et al. Short-term effects of daily aspi-      38. Ness RB, Dodge RC, Edwards RP, Baker JA, Moysich KB. Contraception
        rin on cancer incidence, mortality, and non-vascular death: analysis of the         methods, beyond oral contraceptives and tubal ligation, and risk of ovarian
        time course of risks and benefits in 51 randomised controlled trials. Lancet.       cancer. Ann Epidemiol. 2011;21(3):188–196.
        2012;379(9826):1602–1612.                                                       39. Glud E, Kjaer SK, Thomsen BL, et al. Hormone therapy and the
    15. Murphy MA, Trabert B, Yang HP, et al. Non-steroidal anti-inflammatory drug          impact of estrogen intake on the risk of ovarian cancer. Arch Intern Med.
        use and ovarian cancer risk: findings from the NIH-AARP Diet and Health             2004;164(20):2253–2259.
        Study and systematic review. Cancer Causes Control. 2012;23(11):1839–1852.      40. Moorman PG, Calingaert B, Palmieri RT, et al. Hormonal risk factors
    16. Bosetti C, Rosato V, Gallus S, Cuzick J, La VC. Aspirin and cancer risk: a          for ovarian cancer in premenopausal and postmenopausal women. Am J
        quantitative review to 2011. Ann Oncol. 2012;23(6):1403–1415.                       Epidemiol. 2008;167(9):1059–1069.
    17. Bonovas S, Filioussi K, Sitaras NM. Do nonsteroidal anti-inflammatory           41. Schildkraut JM, Iversen ES, Wilson MA, et al. Association between DNA
        drugs affect the risk of developing ovarian cancer? A meta-analysis. Br J           damage response and repair genes and risk of invasive serous ovarian can-
        Clin Pharmacol. 2005;60(2):194–203.                                                 cer. PLoS One. 2010;5(4):e10061.
    18. Baandrup L, Faber MT, Christensen J, et al. Nonsteroidal anti-inflamma-         42. Terry KL, DeVivo I, Titus-Ernstoff L, Shih MC, Cramer DW. Androgen
        tory drugs and risk of ovarian cancer: systematic review and meta-analysis          receptor cytosine, adenine, guanine repeats, and haplotypes in relation to
        of observational studies. Acta Obstet Gynecol Scand. 2013;92(3):245–255.            ovarian cancer risk. Cancer Res. 2005;65(13):5974–5981.
    19. Akhmedkhanov A, Toniolo P, Zeleniuch-Jacquotte A, et al. Aspirin and epi-       43. Bandera EV, King M, Chandran U, et al. Phytoestrogen consump-
        thelial ovarian cancer. Prev Med. 2001;33(6):682–687.                               tion from foods and supplements and epithelial ovarian cancer risk: a
    20. Ammundsen HB, Faber MT, Jensen A, et al. Use of analgesic drugs and                 population-based case–control study. BMC Womens Health. 2011;11:40.
        risk of ovarian cancer: results from a Danish case–control study. Acta Obstet       doi:10.1186/1472-6874-11-40.
        Gynecol Scand. 2012;91(9):1094–1102.                                            44. Ziogas A, Gildea M, Cohen P, et al. Cancer risk estimates for family mem-
    21. Cramer DW, Harlow BL, Titus-Ernstoff L, et al. Over-the-counter anal-               bers of a population-based family registry for breast and ovarian cancer.
        gesics and risk of ovarian cancer. Lancet. 1998;351(9096):104–107.                  Cancer Epidemiol Biomarkers Prev. 2000;9(1):103–111.
    22. Fairfield KM, Hunter DJ, Fuchs CS, Colditz GA, Hankinson SE. Aspirin,           45. Balogun N, Gentry-Maharaj A, Wozniak EL, et al. Recruitment of newly
        other NSAIDs, and ovarian cancer risk (United States). Cancer Causes                diagnosed ovarian cancer patients proved challenging in a multicentre
        Control. 2002;13(6):535–542.                                                        biobanking study. J Clin Epidemiol. 2011;64(5):525–530.
    23. Hannibal CG, Rossing MA, Wicklund KG, Cushing-Haugen KL.                        46. Gilks CB. Molecular abnormalities in ovarian cancer subtypes
        Analgesic drug use and risk of epithelial ovarian cancer. Am J Epidemiol.           other than high-grade serous carcinoma. J Oncol. 2010;2010:7.
        2008;167(12):1430–1437.                                                             doi:10.1186/1472-6874-11-40.
    24. Lacey JV, Jr., Sherman ME, Hartge P, Schatzkin A, Schairer C. Medication        47. Begg CB, Mazumdar M. Operating characteristics of a rank correlation
        use and risk of ovarian carcinoma: a prospective study. Int J Cancer.               test for publication bias. Biometrics. 1994;50(4):1088–1101.
        2004;108(2):281–286.                                                            48. Egger M, Davey SG, Schneider M, Minder C. Bias in meta-analysis
    25. Lo-Ciganic WH, Zgibor JC, Bunker CH, et al. Aspirin, nonaspirin non-                detected by a simple, graphical test. BMJ. 1997;315(7109):629–634.
        steroidal anti-inflammatory drugs, or acetaminophen and risk of ovarian         49. Richards JS, Russell DL, Ochsner S, Espey LL. Ovulation: new dimen-
        cancer. Epidemiology. 2012;23(2):311–319.                                           sions and new regulators of the inflammatory-like response. Annu Rev
    26. Merritt MA, Green AC, Nagle CM, Webb PM. Talcum powder, chronic                     Physiol. 2002;64:69–92.
        pelvic inflammation and NSAIDs in relation to risk of epithelial ovarian        50. Ness RB, Cottreau C. Possible role of ovarian epithelial inflammation in
        cancer. Int J Cancer. 2008;122(1):170–176.                                          ovarian cancer. J Natl Cancer Inst. 1999;91(17):1459–1467.
    27. Pinheiro SP, Tworoger SS, Cramer DW, Rosner BA, Hankinson SE. Use of            51. Ni X, Ma J, Zhao Y, Wang Y, Wang S. Meta-analysis on the association
        nonsteroidal antiinflammatory agents and incidence of ovarian cancer in 2           between non-steroidal anti-inflammatory drug use and ovarian cancer. Br
        large prospective cohorts. Am J Epidemiol. 2009;169(11):1378–1387.                  J Clin Pharmacol. 2013;75(1):26–35.
    28. Prizment AE, Folsom AR, Anderson KE. Nonsteroidal anti-inflammatory             52. Sciulli MG, Seta F, Tacconelli S, et al. Effects of acetaminophen on con-
        drugs and risk for ovarian and endometrial cancers in the Iowa Women’s              stitutive and inducible prostanoid biosynthesis in human blood cells. Br J
        Health Study. Cancer Epidemiol Biomarkers Prev. 2010;19(2):435–442.                 Pharmacol. 2003;138(4):634–641.
    29. Schildkraut JM, Moorman PG, Halabi S, et al. Analgesic drug use and risk        53. Altinoz MA, Korkmaz R. NF-kappaB, macrophage migration inhibitory
        of ovarian cancer. Epidemiology. 2006;17(1):104–107.                                factor and cyclooxygenase-inhibitions as likely mechanisms behind the
    30. Setiawan VW, Matsuno RK, Lurie G, et al. use of nonsteroidal anti-inflam-           acetaminophen- and NSAID-prevention of the ovarian cancer. Neoplasma.
        matory drugs and risk of ovarian and endometrial cancer: the Multiethnic            2004;51(4):239–247.
        Cohort. Cancer Epidemiol Biomarkers Prev. 2012;21(9):1441–1449.                 54. Khunnarong J, Tangjitgamol S, Manusirivithaya S, Suekwattana P,
    31. Rosenberg L, Palmer JR, Rao RS, et al. A case–control study of analgesic use        Leelahakorn S. Expression of cyclooxygenase-1 in epithelial ovarian can-
        and ovarian cancer. Cancer Epidemiol Biomarkers Prev. 2000;9(9):933–937.            cer: a clinicopathological study. Asian Pac J Cancer Prev. 2008;9(4):757–762.
    32. Moysich KB, Mettlin C, Piver MS, et al. Regular use of analge-                  55. Chan AT, Arber N, Burn J, et al. Aspirin in the chemoprevention of colo-
        sic drugs and ovarian cancer risk. Cancer Epidemiol Biomarkers Prev.                rectal neoplasia: an overview. Cancer Prev Res (Phila). 2012;5(2):164–178.
        2001;10(8):903–906.                                                             56. Daugherty SE, Pfeiffer RM, Sigurdson AJ, et al. Nonsteroidal antiin-
    33. Tavani A, Gallus S, La VC, et al. Aspirin and ovarian cancer: an Italian            flammatory drugs and bladder cancer: a pooled analysis. Am J Epidemiol.
        case–control study. Ann Oncol. 2000;11(9):1171–1173.                                2011;173(7):721–730.
    34. Risch HA, Bale AE, Beck PA, Zheng W. PGR +331 A/G and increased                 57. Sahasrabuddhe VV, Gunja MZ, Graubard BI, et al. Nonsteroidal anti-
        risk of epithelial ovarian cancer. Cancer Epidemiol Biomarkers Prev.                inflammatory drug use, chronic liver disease, and hepatocellular carci-
        2006;15(9):1738–1741.                                                               noma. J Natl Cancer Inst. 2012;104(23):1808–1814.
    35. Rossing MA, Cushing-Haugen KL, Wicklund KG, Doherty JA, Weiss NS.               58. Neill AS, Nagle CM, Protani MM, et al. Aspirin, nonsteroidal anti-
        Menopausal hormone therapy and risk of epithelial ovarian cancer. Cancer            inflammatory drugs, paracetamol and risk of endometrial cancer: a
        Epidemiol Biomarkers Prev. 2007;16(12):2548–2556.                                   case–control study, systematic review and meta-analysis. Int J Cancer.
    36. Goodman MT, Lurie G, Thompson PJ, McDuffie KE, Carney ME.                           2013;132(5):1146–1155.
        Association of two common single-nucleotide polymorphisms in                    59. Cook NR, Lee IM, Gaziano JM, et al. Low-dose aspirin in the primary
        the CYP19A1 locus and ovarian cancer risk. Endocr Relat Cancer.                     prevention of cancer: the Women’s Health Study: a randomized controlled
        2008;15(4):1055–1060.                                                               trial. JAMA. 2005;294(1):47–55.


   10 of 11 Article    |   JNCI                                                                                         Vol. 106, Issue 2 | djt431 | February 5, 2014
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 57 of 97 PageID: 75778

     60. Ajani UA, Ford ES, Greenland KJ, Giles WH, Mokdad AH. Aspirin use                  aocstudy.org/) and the women for their contribution. The cooperation of the 32
         among U.S. adults: Behavioral Risk Factor Surveillance System. Am J Prev           Connecticut hospitals, including Stamford Hospital, in allowing patient access, is
         Med. 2006;30(1):74–77.                                                             gratefully acknowledged. This study was approved by the State of Connecticut
     61. Sanchez DR, Diez Roux AV, Michos ED, et al. Comparison of the racial/              Department of Public Health Human Investigation Committee. Certain data
         ethnic prevalence of regular aspirin use for the primary prevention of coro-       used in this study were obtained from the Connecticut Tumor Registry in the
         nary heart disease from the multi-ethnic study of atherosclerosis. Am J            Connecticut Department of Public Health. The authors assume full responsibil-
         Cardiol. 2011;107(1):41–46.                                                        ity for analyses and interpretation of these data. The MALOVA group is grateful
     62. Soni A. Aspirin Use Among the Adult U.S. Noninstitutionalized Population,          to Nick Martinussen for data management assistance. The NJO group thanks
         With and Without Indicators of Heart Disease. Statistical Brief #179. Rockville,   Drs Lorna Rodriguez and Lisa Paddock, the staff of the New Jersey State Cancer
         MD: Agency for Healthcare Research and Quality; 2005.                              Registry, and Thanusha Puvananayagam for their contribution to the study. Some
                                                                                            of this work was undertaken at University College London Hospital/University
    Funding                                                                                 College London, which received a proportion of funding from the Department
    The Ovarian Cancer Association Consortium was supported by a grant from the             of Health’s National Institutes for Health Research Biomedical Research Centre
    Ovarian Cancer Research Fund thanks to donations by the family and friends of           funding scheme. We particularly thank I. Jacobs, M. Widschwendter, E. Wozniak,
    Kathryn Sladek Smith. This work was supported in part by the Intramural Research        A. Ryan, J. Ford and N. Balogun for their contribution to the study.
    Program of the National Institutes of Health (NIH). Elizabeth Poole and Megan
    Murphy are both supported in part by training grant T32 CA 09001. Ellen Goode           Affiliations of authors: Division of Cancer Epidemiology and Genetics, National
    is supported by R01 CA122443 and P50-CA136393. The Australian Ovarian                   Cancer Institute, National Institutes of Health, Bethesda, MD (BT, LAB, NW);
    Cancer Study and Australian Cancer Study were funded by the US Army Medical             University of Texas School of Public Health, Houston, TX (RBN); Department
    Research and Material Command (DAMD17-01-1-0729), National Health and
                                                                                            of Epidemiology, University of Pittsburgh, Pittsburgh, PA (WL); Channing
    Medical Research Council of Australia (199600, 400413), Cancer Councils of
                                                                                            Division of Network Medicine (MAM, EMP) and Obstetrics and Gynecology
    New South Wales, Victoria, Queensland, South Australia and Tasmania, Cancer
                                                                                            Epidemiology Center (DWC, KLT), Brigham and Women’s Hospital and Harvard
    Foundation of Western Australia. The Connecticut Ovarian Cancer Study was
    funded by R01 CA074850 and R01 CA080742. The Diseases of the Ovary and                  Medical School, Boston, MA; Department of Epidemiology, Harvard School
    their Evaluation Study was funded by R01 CA112523 and R01 CA87538. The                  of Public Health, Boston, MA (MAM, EMP, DWC, KLT); Department of Health
    Hawaii Ovarian Cancer Case–Control Study was funded by R01 CA58598, N01                 Sciences Research, Division of Epidemiology, Mayo Clinic, Rochester, MN
    CN55424 and N01 PC67001. The Hormones and Ovarian Cancer Prediction                     (ELG); Queensland Institute of Medical Research, Brisbane, Australia (PMW,
    Study was funded by R01 CA95023 and Department of Defense (DOD) grant                   CMN, SJJ, Australian Ovarian Cancer Study Group, the Australian Cancer
    DAMD17-02-1-0669. The Malignant Ovarian Cancer Study was funded by R01                  Study (Ovarian Cancer); Peter MacCallum Cancer Centre, East Melbourne,
    CA61107, research grant 94 222 52 from the Danish Cancer Society, Copenhagen,           Australia (Australian Ovarian Cancer Study Group); Department of Chronic
    Denmark, and the Mermaid I project. The North Carolina Ovarian Cancer
                                                                                            Disease Epidemiology, Yale School of Public Health, New Haven, CT (HAR);
    Study was funded by R01 CA76016 and DOD grant DAMD17-02-1-0666.
                                                                                            Program in Epidemiology, Fred Hutchinson Cancer Research Center, Seattle,
    The New England Case–Control Study of Ovarian Cancer was funded by R01
                                                                                            WA (MAR, JAD); Department of Community and Family Medicine, Section
    CA54419, P50 CA105009, and DOD grant W81XWH-10-1-02802. The New
    Jersey Ovarian Cancer Study was funded by the National Cancer Institute (K07            of Biostatistics & Epidemiology, Dartmouth Medical School, Lebanon, NH
    CA095666, R01 CA83918, and K22CA138563) and the Cancer Institute of New                 (JAD); Samuel Oschin Comprehensive Cancer Institute, Cedars-Sinai Medical
    Jersey. The University of California, Irvine Ovarian Cancer Study was funded by         Center, Los Angeles, CA (MTG); Cancer Epidemiology Program, University of
    R01 CA58860, R01 CA92044, PSA 042205, and the Lon V Smith Foundation                    Hawaii Cancer Center, Honolulu, HI (GL); Virus, Lifestyle and Genes, Danish
    grant LVS-39420. The United Kingdom Ovarian Cancer Population Study                     Cancer Society Research Center, Copenhagen, Denmark (SKK, EH, AJ);
    was funded by Cancer Research UK, the Eve Appeal and the OAK Foundation.                Gynaecologic Clinic, Copenhagen University Hospital, Copenhagen, Denmark
    The University of Southern California, Study of Lifestyle and Women’s Health            (SKK); The Cancer Institute of New Jersey, Robert Wood Johnson Medical
    was funded by R01 CA17054, R01 CA14089, R01 CA61132, N01-PC-67010,
                                                                                            School, New Brunswick, NJ (EVB, MGK, UC); Department of Epidemiology
    P01 CA17054, California Cancer Research Program (00-01389V-20170, R03
                                                                                            and Biostatistics, Memorial Sloan-Kettering Cancer Center, New York, NY (SO);
    CA113148, R03 CA115195, N01 CN25403), and California Cancer Research
                                                                                            Department of Epidemiology, School of Medicine, University of California
    Program (2II0200) (USC). The funding agencies did not have any role in con-
    ducting the study or preparing the manuscript for publication.                          Irvine, Irvine, CA (HA, AZ); Department of Women’s Cancer, University College
                                                                                            London, EGA Institute for Women’s Health, London, UK (UM, AG); Department
    Notes                                                                                   of Preventive Medicine, Keck School of Medicine, University of Southern
    The Australian Ovarian Cancer Study Management Group (D. Bowtell,                       California, Los Angeles, CA (SAG, SJR, MCP); Department of Obstetrics and
    G. Chenevix-Trench, A. deFazio, D. Gertig, A. Green, P. Webb) and Australian            Gynecology (AB) and Department of Community and Family Medicine (JMS),
    Cancer Study investigators (A. Green, P. Parsons, N. Hayward, P. Webb,                  Duke University Medical Center, Durham, NC; Cancer Prevention, Detection
    D. Whiteman) thank all the clinical and scientific collaborators (see http://www.       and Control Research Program, Duke Cancer Institute, Durham, NC (JMS).




    jnci.oxfordjournals.org                                                                                                                     JNCI    | Article    11 of 11
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 58 of 97 PageID: 75779




                       Exhibit 107
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 59 of 97 PageID: 75780
             Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 60 of 97 PageID: 75781
                   2 | JNCI J Natl Cancer Inst, 2019, Vol. 111, No. 2



                through ovulation (2,3), inflammation related exposures such         (n ¼ 758 829). All studies obtained institutional approval at their
                as endometriosis and pelvic inflammatory disease (4,5), and cir      respective institutions; participants provided either written in
                culating biomarkers of inflammation (6,7) have been associated       formed consent or implicit consent through return of the study
                with ovarian cancer risk.                                            questionnaire. The OC3 Data Coordinating Center and analytic
                    Inhibition of cyclooxygenase (COX) enzymes in prosta             approaches were approved by the institutional review board of
                glandin synthesis is a primary mechanism responsible for             the Brigham and Women’s Hospital.
                the anti inflammatory and antineoplastic effects of nonste
                roidal anti inflammatory drugs (NSAIDs) (8,9), and may play
                a role in ovarian carcinogenesis. Additionally, NSAIDs may           Exposure Definitions
                suppress ovulation and affect cell proliferation, angiogene          Medication use was self reported at enrollment (Supplementary
                sis, and apoptosis of the epithelium (10). Acetaminophen,            Table 1, available online) (16,17,19,21,22,24 27,29 34). Given the
                another common analgesic and antipyretic, has weak anti              rationale for assessment of frequent use based on biologic
                inflammatory activity and antigonadotropic effects (11). It          mechanisms and published research (13 15), we focused on fre
                also may inhibit ovarian carcinogenesis through the deple            quent medication use (at least 4 5 days/wk) when possible.
                tion of glutathione leading to necrosis (12). Aspirin, nonas         Frequency was available in 10 of 13 studies (16,17,21,24,25,29 32),
                pirin NSAIDs, and acetaminophen are widely used, so any              whereas three studies included frequency in their definition of
                increased or decreased cancer risk may have important pub            regular medication use (19,22,26). Frequent use was defined as
                lic health implications.                                             use at least four to five times per week for at least six months’
                    Cardiovascular disease prevention trials have shown that         duration; less frequent use or nonregular use/no use were
                daily aspirin use is associated with reduced risk and mortality      combined to form the reference group. We also evaluated very
                of several malignancies (eg, colorectal cancer) (13). However, the   frequent (daily/almost daily) use for at least 6 months’ dura
                limited number of women in these trials is insufficient to evalu     tion as one of the following: six to seven days per week, seven
                ate ovarian cancer end points (14).                                  days per week, or 28 or more days per month (11 studies)
                    A recent pooled analysis of 12 case control studies in the       (16,17,21,22,24,25,29 32). Frequency variables were further di
                Ovarian Cancer Association Consortium (OCAC) reported a re           vided by duration of use (all medications: !0.5 5, >5 10, >10
                duced risk of ovarian cancer with aspirin use, particularly for      years, 9 studies) (16,19,24 26,30 32) and aspirin dose (<100 [or
                daily aspirin users (15). High dose nonaspirin NSAID use, but        “baby aspirin”] and !100 mg, four studies) (16,19,23,31).
                not acetaminophen, was also associated with lower risk (15).             Potential confounding variables were harmonized from the
                The few prospective observational studies between aspirin or         studies as part of a core data set. A priori adjustment factors in
                other NSAID use and ovarian cancer risk have had inconsistent        cluded baseline age (continuous), body mass index (<20, 20
                results (16 20). Prospective studies avoid potential biases that     24.9, 25 29.9, 30 34.9, !35 kg/m2), number of births (0, 1, 2, 3, !4
                may occur in case control studies, including differences be          full term births), duration of oral contraceptive (OC) use (never,
                tween nonresponders and responders among cases or controls           %1, >1 5, >5 10, >10 years), and menopause/duration of meno
                or differences in recollection or reporting of medication use af     pausal hormone therapy (premenopausal, postmenopausal:
                ter being diagnosed with ovarian cancer. However, the de             never, %5, >5 10, >10 years).
                creased risk observed for aspirin or nonaspirin NSAIDs and the
                lack of association with acetaminophen in case control studies
                argues against substantial differential recall (15). Further, the    Outcome Definitions
                exposure window being evaluated in case control studies is of
                ten shortly before cancer diagnosis, during which use may be         We included epithelial ovarian or peritoneal tumors identified
                influenced by preclinical disease. Prospective assessment of an      either through cancer registries or medical record review (ICD9
   ARTICLE




                algesic use many years before ovarian cancer diagnosis is nec        codes 183 and 158; ICD10 codes C56). We first evaluated associ
                essary to confirm the association with an eye toward improving       ations of medications with all tumors combined (ovarian and
                prevention recommendations. Thus, we evaluated the associa           peritoneal, n ¼ 3514). Second, we evaluated associations for in
                tion between frequent aspirin, nonaspirin NSAID, and acet            vasive epithelial ovarian cancers (n ¼ 3147), and, third, we
                aminophen use with ovarian cancer risk using prospective             evaluated associations for the four most common tumor his
                individual level data from the Ovarian Cancer Cohort                 totypes: serous (n ¼ 1475, including tumors coded as poorly
                Consortium (OC3).                                                    differentiated), endometrioid (n ¼ 233), mucinous (n ¼ 125),
                                                                                     and clear cell (n ¼ 111). The remaining 1203 cases had another
                                                                                     histology (eg, mixed) or were missing histology information (n
                                                                                     ¼ 817) and were censored at diagnosis date in histology
                Methods                                                              specific analyses.

                Study Population
                                                                                     Statistical Methods
                The study population included women participating in 16 pro
                spective cohort studies from North America and Europe                Women were excluded from primary analyses if they had a his
                (Supplementary Table 1, available online) (16,17,19,21 35).          tory of cancer (other than nonmelanoma skin cancer) at base
                Eligible studies were a cohort study or clinical trial with pro      line, bilateral oophorectomy before study entry, or were missing
                spective follow up including women, determination of ovarian         age. We calculated hazard ratios (HRs) and 95% confidence
                cancer end points through questionnaire/medical record               intervals (CIs) using Cox proportional hazards regression to
                follow up or confirmation by cancer registries, and follow up        evaluate the association between the analgesic medications
                for death. This analysis was limited to 13 studies that collected    and risk of ovarian cancer. Women entered the analysis at age
                information on frequent aspirin, nonaspirin NSAID, or acet           at study entry and contributed person time until the age at first
                aminophen (paracetamol) use over at least a six month period         diagnosis of ovarian cancer (event), death (censored), or end of



Downloaded from https://academic.oup.com/jnci/advance-article-abstract/doi/10.1093/jnci/djy100/5026198
by University of Texas at Austin user
on 25 July 2018
        Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 61 of 97 PageID: 75782
                                                                                                                              B. Trabert et al. | 3



              follow up (censored), whichever came first. In primary analyses,       users of five to 10 years’ duration (HR ¼ 0.88, 95% CI ¼ 0.65 to
              we pooled data from all cohorts, stratifying on cohort to account      1.18, n ¼ 50 cases). Conversely, women who frequently used (vs
              for potential differences in baseline hazards. Secondarily, we         infrequent/nonuse) aspirin for long durations (!10 years at
              used meta analysis of cohort specific estimates to assess              baseline) had a non statistically significantly elevated risk of
              between study heterogeneity. Associations between analgesic            ovarian cancer (HR ¼ 1.15, 95% CI ¼ 0.98 to 1.34, P ¼.09, n ¼ 212
              medication use and ovarian cancer histotype were calculated            cases). No associations were observed when analyzing aspirin
              using competing risks Cox regression (36). Statistical heteroge        dose or other patterns of duration. In analyses by histotype
              neity of associations across histotypes was assessed via likeli        (Table 3), results for serous ovarian cancers were similar to
              hood ratio test comparing a model that assumed different               those seen for all ovarian cancer: compared with infrequent/
              associations for the exposure of interest by histotype (full           nonuse, daily aspirin use was associated with a 15% decrease
              model) with a model with a single estimate across histotypes           for serous tumors (95% CI ¼ 0.71 to 1.00, n ¼ 159 cases), whereas
              (reduced model) (37).                                                  10 or more years of frequent aspirin use was related to a sugges
                  Effect modification by factors that influence inflammation (eg,    tively elevated risk (HR ¼ 1.27, 95% CI ¼ 0.99 to 1.62, n ¼ 74
              smoking, body mass index [BMI], history of chronic disease) and        cases). A similar pattern was observed for clear cell tumors;
              established ovarian cancer risk factors (eg, age, parity, OC use, en   however, risk estimates were imprecise due to limited numbers.
              dometriosis) was evaluated using multiplicative interaction terms,     No associations were observed for endometrioid or mucinous
              with statistical significance assessed by a likelihood ratio test.     tumors.
                  In sensitivity analyses, we considered a common reference
              group, coding “nonfrequent users” as women who reported no
              or infrequent use of aspirin, nonaspirin NSAIDs, and acetamin          Nonaspirin NSAIDs
              ophen to account for analgesic usage patterns. We also ex              Women who frequently used nonaspirin NSAIDs had a similar
              cluded women who reported a history of chronic disease at              rate of ovarian cancer as infrequent/nonusers (HR ¼ 1.00, 95% CI
              baseline to assess potential indication for medication use and         ¼ 0.90 to 1.11, n ¼ 426 cases) (Table 2). Longer duration or daily
              explored the potential for reverse causation by evaluating asso        frequency of nonaspirin NSAIDs was not related to ovarian can
              ciations of frequent analgesic use with ovarian cancer cases           cer risk, although the risk estimate for ovarian cancer for fre
              that occurred less than five years, five to less than 10 years, and    quent, frequent, long duration (>10 years) of use of nonaspirin
              10 or more years after baseline. Another sensitivity analysis          NSAIDs was suggestively elevated (HR ¼ 1.19, 95% CI ¼ 0.84 to
              considered death a competing risk (rather than censoring).             1.68, n ¼ 36 cases). In analyses by histotype, women who fre
              Exposure curves from survivor function plots were parallel, sug        quently used (vs infrequent/nonuse) nonaspirin NSAIDs for
              gesting no deviation from proportional hazards. All statistical        long durations had an increased risk of serous tumors than
              tests were two sided, and P values of less than .05 were consid        women who used them infrequently or not at all (HR ¼ 2.06,
              ered statistically significant; analyses were performed using          95% CI ¼ 1.14 to 3.74, n ¼ 10 cases) (Table 3).
              SAS 9.1.

                                                                                     Acetaminophen
              Results
                                                                                     Frequent use compared with infrequent/nonuse of acetamino
              Study Characteristics                                                  phen was not associated with ovarian cancer risk (HR ¼ 1.05,
                                                                                     95% CI ¼ 0.88 to 1.24, n ¼ 152 exposed cases) (Table 2). However,
              The proportion of women reporting frequent analgesic use in            there was a suggestive elevated risk with daily acetaminophen
              creased with age; for example, among women reporting fre               use (HR ¼ 1.28, 95% CI ¼ 1.00 to 1.65, P ¼ .05, n ¼ 71 cases) that
              quent aspirin use, 17.7% were younger than age 50 years,




                                                                                                                                                            ARTICLE
                                                                                     was stronger for serous tumors (HR ¼ 1.70, 95% CI ¼ 1.14 to 2.55,
              whereas 52.2% were 60 years of age or older (Table 1). Compared        n ¼ 26 cases) (Table 3).
              with women who did not use aspirin or who used it infre
              quently, women who frequently used aspirin were more likely
              to be older, be postmenopausal, have a history of a chronic dis        Additional Analyses
              ease, have higher BMI, and were less likely to have previously
                                                                                     There was little heterogeneity across studies (data not shown).
              used OCs. Average follow up after exposure assessment was
                                                                                     Risk estimates were generally similar across age strata
              10.8 years (maximum ¼ 18.9 years); individual cohort follow up
                                                                                     (Supplementary Table 2, available online). Compared with infre
              is reported in Supplementary Table 1 (available online).
                                                                                     quent/nonusers, daily aspirin use was related to reduced ovar
                                                                                     ian cancer risk among women younger than age 50 years (HR ¼
                                                                                     0.89, 95% CI ¼ 0.43 to 1.84), age 50 to 59 years (HR ¼ 0.92, 95% CI
              Aspirin
                                                                                     ¼ 0.73 to 1.17), and age 60 to 69 years (HR ¼ 0.88, 95% CI ¼ 0.75 to
              Women who used aspirin at least four to five times per week            1.04) at baseline but was null for women age 70 years or older
              (n ¼ 851 exposed cases [events]) developed ovarian cancer at           (HR ¼ 1.05, 95% CI ¼ 0.82 to 1.36, Pinteraction ¼ .73). Daily acet
              about the same rate as women who did not use aspirin or used           aminophen use was only associated with increased ovarian
              it only infrequently (HR ¼ 0.95, 95% CI ¼ 0.88 to 1.03) (Table 2).     cancer risk among women age 70 years or older (HR ¼ 1.78, 95%
              However, compared with infrequent/nonusers, women report               CI ¼ 1.17 to 2.72, Pinteraction < .001). Results were similar across
              ing daily or almost daily use (at least 6 days/wk or more, n ¼ 449     strata of other ovarian cancer risk factors (data not shown).
              cases) had a 10% reduction in ovarian cancer risk (HR ¼ 0.90,              Results were similar in analyses restricted to invasive ovar
              95% CI ¼ 0.82 to 1.00, P ¼ .05). This association was statistically    ian cancers, utilizing a common reference group, and account
              significant for women reporting daily or almost daily use for 0.5      ing for death as a competing risk (data not shown). In analyses
              to less than five years’ duration (HR ¼ 0.79, 95% CI ¼ 0.63 to 0.99,   excluding women with a history of chronic disease, elevated
              P ¼ .04, n ¼ 87 cases) and was suggestively associated for daily       risk estimates with frequent long duration use of aspirin or



Downloaded from https://academic.oup.com/jnci/advance-article-abstract/doi/10.1093/jnci/djy100/5026198
by University of Texas at Austin user
on 25 July 2018
             Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 62 of 97 PageID: 75783
                   4 | JNCI J Natl Cancer Inst, 2019, Vol. 111, No. 2



                Table 1. Distribution of frequent analgesic use by baseline demographic and health characteristics in the Ovarian Cancer Cohort Consortium
                (n ¼ 758 829)


                                                          Aspirin                            Nonaspirin NSAID                     Acetaminophen

                                            Infrequent/nonuse       Frequent use*     Infrequent/nonuse   Frequent use*   Infrequent/nonuse   Frequent use*
                Characteristics                   No. (%)              No. (%)              No. (%)          No. (%)            No. (%)          No. (%)

                Age, mean (SD), y                    54.7 (11.4)        59.4 (10.1)        59.1 (9.5)       59.6 (8.5)         57.7 (10.6)      60.9 (10.0)
                Age, y
                  <50                            171 049 (31.0)      28 462 (17.7)       68 208 (15.8)    10 496 (12.9)      69 762 (22.9)     3973 (14.4)
                  50 59                          182 326 (33.0)      48 432 (30.1)      144 873 (33.6)    29 425 (36.1)     101 553 (33.4)     8351 (30.3)
                  60þ                            198 689 (36.0)      84 044 (52.2)      218 295 (50.6)    41 609 (51.0)     132 697 (43.6)    15 244 (55.3)
                BMI, kg/m2
                  <20                             38 712 (7.0)         9460 (5.9)        28 981 (6.7)      3239 (4.0)        20 937 (6.9)       1513 (5.5)
                  20 24.9                        246 476 (44.6)      63 791 (39.6)      183 064 (42.4)    25 614 (31.4)     127 806 (42)        9216 (33.4)
                  25 29.9                        157 968 (28.6)      49 716 (30.9)      130 232 (30.2)    25 969 (31.9)      89 960 (29.6)      8560 (31.1)
                  30 34.9                         61 441 (11.1)      21 816 (13.6)       51 919 (12.0)    14 072 (17.3)      36 797 (12.1)      4342 (15.8)
                  35þ                             33 201 (6.0)       12 620 (7.8)        26 604 (6.2)     10 813 (13.3)      21 015 (6.9)       3068 (11.1)
                  Missing                         14 266 (2.6)         3535 (2.2)        10 576 (2.5)      1823 (2.2)         7497 (2.5)         869 (3.2)
                Age at menarche, y
                  %11                            129 521 (23.5)      39 029 (24.3)      104 278 (24.2)    22 428 (27.5)      58 358 (19.2)      5549 (20.1)
                  12                             132 550 (24.0)      43 314 (26.9)      107 177 (24.8)    22 151 (27.2)      82 000 (27.0)      8085 (29.3)
                  13                             155 896 (28.2)      42 510 (26.4)      122 489 (28.4)    19 967 (24.5)      87 684 (28.8)      6628 (24.0)
                  14                              71 928 (13.0)      21 378 (13.3)       55 615 (12.9)    10 314 (12.7)      44 990 (14.8)      4640 (16.8)
                  !15                             48 479 (8.8)       13 304 (8.3)        38 367 (8.9)      6361 (7.8)        27 904 (9.2)       2428 (8.8)
                  Missing                         13 690 (2.5)         1403 (0.9)         3450 (0.8)         309 (0.4)        3076 (1.0)         238 (0.9)
                Duration, oral contraceptive use, y
                  Never                          210 399 (38.1)      79 036 (49.1)      193 635 (44.9)    32 992 (40.5)     112 760 (37.1)    11 756 (42.6)
                  >0 1                            43 208 (7.8)       14 589 (9.1)        32 672 (7.6)      7606 (9.3)        27 743 (9.1)      2557 (9.3)
                  >1 5                            97 165 (17.6)      24 065 (15.0)       67 121 (15.6)    13 458 (16.5)      47 757 (15.7)     3612 (13.1)
                  >5 10                           78 116 (14.1)      16 254 (10.1)       48 201 (11.2)     9520 (11.7)       36 471 (12.0)     2323 (8.4)
                  >10                            104 143 (18.9)      24 316 (15.1)       76 349 (17.7)    16 530 (20.3)      65 839 (21.7)     6257 (22.7)
                  Missing                         19 033 (3.4)         2678 (1.7)        13 398 (3.1)      1424 (1.7)        13 442 (4.4)      1063 (3.9)
                No. of pregnancies
                  0                               85 920 (15.6)      16 579 (10.3)       56 916 (13.2)     9977 (12.2)       42 630 (14.0)      2899 (10.5)
                  1                               60 572 (11.0)      14 426 (9.0)        45 993 (10.7)     8030 (9.8)        35 178 (11.6)      2988 (10.8)
                  2                              177 064 (32.1)      44 857 (27.9)      128 389 (29.8)    23 169 (28.4)      97 780 (32.2)      7997 (29.0)
                  3                              131 053 (23.7)      42 162 (26.2)      110 188 (25.5)    21 291 (26.1)      67 767 (22.3)      6372 (23.1)
                  4þ                              93 130 (16.9)      41 287 (25.7)       85 208 (19.8)    17 992 (22.1)      55 969 (18.4)      6706 (24.3)
                  Missing                           4325 (0.8)         1627 (1.0)         4682 (1.1)       1071 (1.3)         4688 (1.5)         606 (2.2)
                Menopausal status
                  Premenopausal                  188 738 (34.2)      31 168 (19.4)       83 184 (19.3)    12 792 (15.7)      82 248 (27.1)     3986 (14.5)
   ARTICLE




                  Postmenopausal                 348 494 (63.1)     125 619 (78.1)      342 938 (79.5)    67 335 (82.6)     216 731 (71.3)    22 957 (83.3)
                  Missing                         14 832 (2.7)         4151 (2.6)         5254 (1.2)       5254 (1.7)         5033 (1.7)         625 (2.3)
                Age at menopause among postmenopausal women, y
                  %45                             45 905 (12.6)      15 523 (12.0)       45 476 (13.1)     8341 (12.1)       33 314 (15.0)      3162 (13.4)
                  46 50                           89 057 (24.5)      32 661 (25.2)       86 398 (24.8)    15 875 (23.1)      60 363 (27.2)      6024 (25.5)
                  51 55                          123 290 (33.9)      43 577 (33.6)      125 242 (36.0)    22 357 (32.5)      77 772 (35.1)      7313 (31.0)
                  >55                             24 452 (6.7)    9294 9294 (7.2)        25 889 (7.4)      5503 (8.0)        14 587 (6.6)       1600 (6.8)
                  Missing                         80 622 (22.2)      28 715 (22.1)       65 187 (18.7)    16 662 (24.2)      35 728 (16.1)      5483 (23.3)
                Duration, menopausal hormone use, y
                  Never                              273 (49.6)      73 279 (45.5)      165 228 (38.3)    26 744 (32.8)     112 911 (37.1)      9282 (33.7)
                  >0 5                                 78 (14.3)     29 980 (18.6)       73 431 (17.0)    16 284 (20.0)      54 914 (18.1)      6446 (23.4)
                  >5 10                                43 (7.9)      16 040 (10.0)       41 755 (9.7)      9652 (11.8)       30 399 (10.0)      3512 (12.7)
                  >10                                  42 (7.7)      20 700 (12.9)       44 658 (10.4)    13 673 (16.8)      28 174 (9.3)       4487 (16.3)
                  Missing                             113 (20.5)     20 939 (13.0)      106 304 (24.6)    15 177 (18.6)      77 614 (25.5)      3841 (13.9)
                History of chronic diseases at baseline included:
                Any cardiovascular disease
                  No                              19 146 (3.5)       11 630 (7.2)        22 121 (5.1)      8655 (10.6)       26 078 (8.6)      4698 (17.0)
                  Yes                               1763 (0.3)         1545 (1.0)         2500 (0.6)         808 (1.0)        2859 (0.9)         449 (1.6)
                  Missing                        531 155 (96.2)     147 763 (91.8)      406 755 (94.3)    72 067 (88.4)     275 075 (90.5)    22 421 (81.3)
                Diabetes
                  No                             440 316 (85.2)     113 913 (82.0)      308 678 (79.5)    55 152 (81.8)     200 184 (72.8)    14 468 (64.5)
                  Yes                             15 142 (2.9)         9472 (6.8)        16 115 (4.2)      4131 (6.1)         9268 (3.4)       1500 (6.7)
                  Missing                         61 381 (11.9)      15 541 (11.2)       63 500 (16.4)     8161 (12.1)       65 623 (23.9)     6453 (28.8)
                                                                                                                                                (continued)




Downloaded from https://academic.oup.com/jnci/advance-article-abstract/doi/10.1093/jnci/djy100/5026198
by University of Texas at Austin user
on 25 July 2018
        Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 63 of 97 PageID: 75784
                                                                                                                                                   B. Trabert et al. | 5


              Table 1. (continued)


                                                                Aspirin                                    Nonaspirin NSAID                         Acetaminophen

                                               Infrequent/nonuse            Frequent use*        Infrequent/nonuse       Frequent use*    Infrequent/nonuse     Frequent use*
              Characteristics                        No. (%)                   No. (%)                 No. (%)              No. (%)             No. (%)            No. (%)

              Autoimmune disease
                No                                  86 690 (18.2)                35 539 (25.5)     104 565 (28.7)        20 401 (31.8)       115 614 (49.5)       9414 (49.4)
                Yes                                  6192 (1.3)                   4179 (3.0)         7292 (2.0)           3159 (4.9)           9630 (4.1)         1855 (9.7)
                Missing                            383 645 (80.5)                99 626 (71.5)     252 748 (69.3)        40 667 (63.3)       108 156 (46.3)       7787 (40.9)

              *Frequent: use at least $4–5 days/wk for 6 months or longer. BMI    body mass index; NSAID    nonsteroidal anti-inflammatory drug.




              Table 2. Associations between analgesic use and ovarian cancer risk in the Ovarian Cancer Cohort Consortium (n ¼ 758 829)

              Analgesic use                                     No. of events (cases)                      Person years                      HR* (95% CI)                  P†

              Aspirin
                Infrequent/nonuse                                 2404                                       4 946 886                    1.00 (ref)
                Frequent use‡                                      851                                       1 408 656                    0.95 (0.88 to 1.03)              .23
                  Frequent use by duration vs infrequent/nonuse
                    Infrequent/nonuse                             1402                                       3 150 285                    1.00 (ref)
                    Frequent/0.5 <5 y                              239                                         504 116                    0.92 (0.80 to 1.06)              .24
                    Frequent/5 <10 y                                93                                         171 582                    0.90 (0.72 to 1.12)              .33
                    Frequent/10þ y                                 212                                         305 987                    1.15 (0.98 to 1.34)              .09
                  Categories of frequent use vs infrequent/nonuse
                    Infrequent/nonuse                             1936                                       3 245 903                    1.00 (ref)
                    <Daily use                                     156                                         161 238                    1.06 (0.90 to 1.26)              .49
                    Daily use§                                     449                                         545 499                    0.90 (0.82 to 1.00)              .05
                  Categories of frequent use by duration vs infrequent/nonuse
                    Infrequent/nonuse                             1402                                       3 150 285                    1.00 (ref)
                    <Daily/0.5 <5 y                                152                                         379 640                    1.02 (0.85 to 1.21)              .87
                    <Daily/5 <10 y                                  43                                         108 355                    0.92 (0.67 to 1.26)              .60
                    <Daily/10þ y                                   113                                         260 503                    1.12 (0.92 to 1.37)              .26
                    Daily/0.5 <5 y                                  87                                         124 476                    0.79 (0.63 to 0.99)              .04
                    Daily/5 10 y                                    50                                          63 227                    0.88 (0.65 to 1.18)              .39
                    Daily/10þ y                                     99                                          45 484                    1.18 (0.93 to 1.50)              .18
                  Frequent use by dose vs infrequent/nonuse
                    Infrequent/nonuse                              392                                        436 742                     1.00 (ref)
                    Frequent low dose                              115                                         72 719                     0.99 (0.79 to 1.23)              .91
                    Frequent normal dose                           144                                        130 684                     0.94 (0.77 to 1.15)              .55




                                                                                                                                                                                 ARTICLE
              Nonaspirin NSAID
                Infrequent/nonuse                                 2305                                       3 798 980                    1.00 (ref)
                Frequent use‡                                      426                                         614 745                    1.00 (0.90 to 1.11)              .96
                  Frequent use by duration vs infrequent/nonuse
                    Infrequent/nonuse                             1168                                       2 051 666                    1.00 (ref)
                    Frequent/0.5 <5 y                              122                                         237 614                    0.94 (0.78 to 1.14)              .54
                    Frequent/5 <10 y                                64                                          75 230                    1.10 (0.85 to 1.42)              .49
                    Frequent/10þ y                                  36                                          29 429                    1.19 (0.84 to 1.68)              .33
                  Categories of frequent use vs infrequent/nonuse
                    Infrequent/nonuse                             1982                                       3 049 045                    1.00 (ref)
                    <Daily use                                     104                                         124 937                    1.07 (0.88 to 1.31)              .50
                    Daily use§                                     237                                         319 625                    0.97 (0.84 to 1.11)              .65
                  Categories of frequent use vs infrequent/nonuse
                    Infrequent/nonuse                             1168                                       2 051 666                    1.00 (ref)
                    <Daily/0.5 <5 y                                 83                                         159 749                    1.02 (0.81 to 1.28)              .88
                    <Daily/5 <10 y                                  39                                          43 940                    1.31 (0.95 to 1.81)              .10
                    <Daily/10þ y                                    15                                          18 356                    1.10 (0.66 to 1.84)              .72
                    Daily/0.5 <5 y                                  39                                          77 865                    0.81 (0.58 to 1.14)              .23
                    Daily/5 <10 y                                   25                                          31 290                    0.86 (0.57 to 1.30)              .48
                    Daily/10þ y                                     21                                          11 074                    1.27 (0.80 to 2.01)              .32
                                                                                                                                                                  (continued)




Downloaded from https://academic.oup.com/jnci/advance-article-abstract/doi/10.1093/jnci/djy100/5026198
by University of Texas at Austin user
on 25 July 2018
             Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 64 of 97 PageID: 75785
                    6 | JNCI J Natl Cancer Inst, 2019, Vol. 111, No. 2


                Table 2. (continued)

                Analgesic use                                      No. of events (cases)                      Person years                         HR* (95% CI)                        P†

                Acetaminophen
                  Infrequent/nonuse                                 1421                                        2 583 452                       1.00 (ref)
                  Frequent use‡                                      152                                          213 668                       1.05 (0.88 to 1.24)                   .61
                    Frequent use by duration vs infrequent/nonuse
                      Infrequent/nonuse                             1386                                        2 425 711                       1.00 (ref)
                      Frequent/0.5 <5 y                               61                                           95 060                       0.99 (0.76 to 1.29)                   .93
                      Frequent/5 <10 y                                50                                           50 683                       1.16 (0.87 to 1.54)                   .32
                      Frequent/10þ y                                  37                                           51 266                       1.01 (0.73 to 1.41)                   .96
                    Categories of frequent use vs infrequent/nonuse
                      Infrequent/nonuse                             1179                                        2 120 248                       1.00 (ref)
                      <Daily use                                      35                                           43 645                       0.99 (0.70 to 1.39)                   .94
                      Daily use§                                      71                                           62 759                       1.28 (1.00 to 1.65)                   .05
                    Categories of frequent use by duration vs infrequent/nonuse
                      Infrequent/nonuse                             1386                                        2 425 711                       1.00 (ref)
                      <Daily/0.5 <5 y                                 33                                           69 923                       0.87 (0.62 to 1.22)                   .42
                      <Daily/5 <10 y                                  25                                           35 311                       0.98 (0.66 to 1.46)                   .93
                      <Daily/10þ y                                    22                                           39 950                       0.89 (0.58 to 1.36)                   .58
                      Daily/0.5 <5 y                                  28                                           25 137                       1.21 (0.81 to 1.81)                   .35
                      Daily/5 <10 y                                   25                                           15 372                       1.42 (0.94 to 2.13)                   .09
                      Daily/10þ y                                     15                                           11 315                       1.24 (0.75 to 2.08)                   .40

                *Hazard ratios and 95% confidence intervals were estimated from Cox proportional hazards models stratified by study cohort and adjusted for baseline age (continu-
                ous), body mass index (<20, 20–24.9, 25–29.9, 30–34.9, !35 kg/m2), number of births (none, one, two, three, four or more full–term births), duration of oral contraceptive
                (OC) use (never, %1, >1–5, >5–10, >10 years), and duration of menopausal hormone therapy use (premenopausal, never, %5, >5–10, >10 years). CI         confidence interval;
                HR hazard ratio; NSAID nonsteroidal anti-inflammatory drug.
                †P value was calculated using a two-sided Wald test.
                ‡Frequent: use at least $4–5 days/wk for 6 months or longer.
                §Daily: use at least $6–7 days/wk or !28 days per month for 6 months or longer.




                nonaspirin NSAIDs were attenuated (aspirin: HR ¼ 1.11, 95% CI                           durations of use was limited, as evidenced by the less precise
                ¼ 0.93 to 1.33; nonaspirin NSAIDs: HR ¼ 1.04, 95% CI ¼ 0.68 to                          estimates in this group. A better understanding of the relation
                1.60); other associations, including for acetaminophen,                                 ship between frequency and duration of use leveraging updated
                remained unchanged. Associations were slightly stronger for                             exposure data is needed to assess the potential causality of the
                frequent long duration use of aspirin or daily acetaminophen                            daily aspirin ovarian cancer relationship, including ascertain
                use for cases diagnosed within five years of baseline compared                          ment of use during potentially critical time periods given that
                with five or more years after baseline (data not shown).                                the increased risk for long duration use was strongest for cases
                                                                                                        diagnosed early in follow up. Further, consideration of associa
                                                                                                        tions for daily aspirin use and its timing/duration with ovarian
                Discussion
                                                                                                        cancer is needed to fully assess potential for primary prevention,
   ARTICLE




                We observed a 10% reduced ovarian cancer risk for daily aspirin                         particularly given the relatively low prevalence of ovarian cancer
                use, although only for women who had used aspirin for less                              and risk related adverse events (eg, upper gastrointestinal bleed
                than 10 years; use for 10 or more years was associated with a                           ing). Consistent with our results, pooled analyses of clinical trial
                null or slightly elevated risk. Nonaspirin NSAID and acetamino                          data demonstrate that daily aspirin use is most relevant for risk
                phen use was not clearly related to ovarian cancer risk overall;                        reduction of colorectal cancer and cancer risk overall (39), as al
                however, we observed an increased risk for very frequent (daily/                        ternate dosing trials (higher dose or every other day use) did not
                almost daily for at least six months) acetaminophen use.                                show clear benefits (40).
                Further, like aspirin, long duration, frequent nonaspirin NSAID                             The previous pooled case control study and our current
                use was associated, at least suggestively, with elevated risk of                        study support that daily aspirin use is associated with lower
                ovarian cancer. The modestly reduced risk for daily aspirin use                         ovarian cancer risk. The weaker association in the prospective
                is consistent with previous observations from case control                              studies vs case control studies is similar to results for breast
                studies (15), although the suggestively elevated risk with long                         cancer risk (14). Although recall bias may lead to a stronger as
                duration of frequent analgesic use requires further evaluation.                         sociation in case control studies, we would expect this to atten
                    Importantly, in this analysis, we were able to evaluate pat                         uate any true reductions in risk with daily aspirin use.
                terns of duration to characterize a dose response association;                          Alternately, considering analgesic use collected at study entry
                however, unlike colorectal cancer, in which longer duration of                          may lead to misclassification of exposure status over follow up
                use is associated with further risk reductions (38), the reduced                        (which averaged more than a decade long) that could attenuate
                risk of ovarian cancer with frequent aspirin use was only appar                         results. Conversely, we observed a consistently elevated ovarian
                ent with short to moderate duration (the largest exposure stra                          cancer risk with frequent, long duration use of aspirin and non
                tum) and appeared null or slightly elevated with longer duration                        aspirin NSAIDs, suggesting potential confounding by medical
                use (!10 years). This may be because those who frequently used                          indications for long term use. We could not directly address
                aspirin for many years may be more likely to use standard vs                            this as indication for use was not collected in most studies. To
                low dose aspirin. That said, availability of data on very long                          address this in sensitivity analyses, we excluded women who



Downloaded from https://academic.oup.com/jnci/advance-article-abstract/doi/10.1093/jnci/djy100/5026198
by University of Texas at Austin user
on 25 July 2018
on 25 July 2018
                                                                                                         Table 3. Associations between analgesic use and ovarian carcinoma histologic subtypes, Ovarian Cancer Cohort Consortium

                                                                                                                                                                  Serous (n ¼ 1470)                           Endometrioid (n ¼ 233)                              Mucinous (n ¼ 125)                         Clear cell (n ¼ 111)

                                                                                                         Analgesic use                      Phet*      No of events            HR† (95% CI)            No of events            HR† (95% CI)           No of events             HR† (95% CI)        No of events           HR† (95% CI)

                                                                                                         Aspirin
                                                                                                           Infrequent/nonuse            26          1141                   1 00 (ref)                        181             1 00 (ref)                      93             1 00 (ref)                  85             1 00 (ref)
                                                                                                           Frequent use‡                             307                   0 93 (0 81 to 1 05)                45             0 90 (0 64 to 1 27)             29             1 13 (0 73 to 1 75)         25             1 11 (0 71 to 1 74)




by University of Texas at Austin user
                                                                                                             Frequent use by duration vs infrequent/nonuse
                                                                                                               Infrequent/nonuse        03           680                   1 00 (ref)                        132             1 00 (ref)                      52             1 00 (ref)                  59             1 00 (ref)
                                                                                                               Frequent/0 5–<5 y                      69                   0 85 (0 73 to 0 99)                18             0 93 (0 62 to 1 40)             10             1 03 (0 60 to 1 74)          5             0 75 (0 40 to 1 42)
                                                                                                               Frequent/5–<10 y                       37                   0 89 (0 64 to 1 24)                 8             1 28 (0 62 to 2 66)              2             0 67 (0 16 to 2 87)          4             1 46 (0 52 to 4 12)
                                                                                                               Frequent/10þ y                         74                   1 27 (0 99 to 1 62)                 8             0 64 (0 31 to 1 31)             10             1 69 (0 83 to 3 42)         10             1 97 (0 98 to 3 97)
                                                                                                             Categories of frequent use vs infrequent/nonuse
                                                                                                               Infrequent/nonuse        13           938                   1 00 (ref)                        139             1 00 (ref)                      62             1 00 (ref)                  67             1 00 (ref)
                                                                                                               <Daily use                             57                   1 04 (0 86 to 1 25)                 3             0 86 (0 55 to 1 34)              1             0 93 (0 53 to 1 63)          4             1 35 (0 75 to 2 41)
                                                                                                               Daily use§                            159                   0 85 (0 71 to 1 00)                20             0 95 (0 59 to 1 54)             14             1 40 (0 77 to 2 56)          9             0 87 (0 44 to 1 73)
                                                                                                         Nonaspirin NSAID
                                                                                                           Infrequent/nonuse            06           984                   1 00 (ref)                        139             1 00 (ref)                      67             1 00 (ref)                  75             1 00 (ref)
                                                                                                           Frequent use‡                             157                   1 09 (0 92 to 1 30)                18             1 03 (0 61 to 1 73)              8             0 86 (0 41 to 1 77)          6             0 53 (0 23 to 1 22)
                                                                                                             Frequent use by duration vs infrequent/nonuse
                                                                                                               Infrequent/nonuse        03           456                   1 00 (ref)                         71            1 00 (ref)                       31             1 00 (ref)                  47             1 00 (ref)
                                                                                                               Frequent/0 5–<5 y                      38                   1 01 (0 83 to 1 23)                 7            1 09 (0 63 to 1 89)               2             0 84 (0 38 to 1 86)          2             0 54 (0 22 to 1 34)
                                                                                                               Frequent/5–<10 y                       20                   1 39 (0 87 to 2 22)                 2            1 04 (0 25 to 4 31)               1             1 51 (0 20 to 11 63)         1             0 71 (0 10 to 4 95)
                                                                                                               Frequent/10þ y                         10                   2 06 (1 14 to 3 74)                 0            &                                 0             &                            0                &
                                                                                                             Categories of frequent use vs infrequent/nonuse
                                                                                                               Infrequent/nonuse        04           883                   1 00 (ref)                        115             1 00 (ref)                      61             1 00 (ref)                  69             1 00 (ref)
                                                                                                               <Daily use                             38                   1 15 (0 87 to 1 53)                 7             1 36 (0 61 to 3 00)              3             1 65 (0 65 to 4 20)          1             0 45 (0 11 to 1 83)
                                                                                                               Daily use§                            102                   1 06 (0 86 to 1 31)                 9             0 87 (0 45 to 1 67)              3             0 49 (0 15 to 1 58)          4             0 58 (0 21 to 1 59)
                                                                                                         Acetaminophen
                                                                                                           Infrequent/nonuse            21           577                   1 00 (ref)                        103             1 00 (ref)                      38             1 00 (ref)                  50             1 00 (ref)




Downloaded from https://academic.oup.com/jnci/advance-article-abstract/doi/10.1093/jnci/djy100/5026198
                                                                                                           Frequent use‡                              47                   1 29 (0 94 to 1 77)                11             1 77 (0 96 to 3 29)              2             0 70 (0 16 to 2 99)          4             1 49 (0 43 to 5 17)
                                                                                                             Frequent use by duration vs infrequent/nonuse
                                                                                                               Infrequent/nonuse        01           557                   1 00 (ref)                        100             1 00 (ref)                      38             1 00 (ref)                  46             1 00 (ref)
                                                                                                               Frequent/0 5–<5 y                      22                   1 36 (0 87 to 2 12)                 3             0 72 (0 20 to 2 64)              0             &                            3             2 42 (0 57 to 10 35)
                                                                                                               Frequent/5–<10 y                       15                   1 44 (0 85 to 2 43)                 5             3 66 (1 54 to 8 69)              1             1 68 (0 23 to 12 17)         1             1 48 (0 18 to 11 91)
                                                                                                               Frequent/10þ y                          8                   0 97 (0 48 to 1 96)                 3             1 92 (0 58 to 6 32)              1             1 30 (0 16 to 10 48)         0                &
                                                                                                             Categories of frequent use vs infrequent/nonuse
                                                                                                               Infrequent/nonuse        09           554                   1 00 (ref)                        102             1 00 (ref)                      35             1 00 (ref)                  46             1 00 (ref)
                                                                                                               <Daily use                              9                   0 95 (0 60 to 1 51)                 1             1 70 (0 78 to 3 69)              1             1 15 (0 22 to 6 03)          3             1 69 (0 33 to 8 59)
                                                                                                               Daily use§                             26                   1 70 (1 14 to 2 55)                 6             1 85 (0 75 to 4 57)              0             &                            1             1 15 (0 17 to 8 01)

                                                                                                         *The Pheterogeneity value was calculated using a two-sided likelihood ratio test (37). CI ¼ confidence interval; HR ¼ hazard ratio; NSAID ¼ nonsteroidal anti-inflammatory drug.
                                                                                                         †Hazard ratios and 95% confidence intervals were estimated from competing risk (37). Cox proportional hazards models were stratified on study cohort and adjusted for baseline age (continuous), body mass index (<20, 20–24.9,
                                                                                                         25–29.9, 30–34.9, !35 kg/m2), number of births (none, one, two, three, four, or more full-term births), duration of oral contraceptive (OC) use (never, %1, >1–5, >5–10, >10 years), and duration of menopausal hormone therapy use
                                                                                                         (premenopausal, never, %5, >5–10, >10 years). Competing risk models were based on fixed covariate effects; variable covariate effect results were practically identical (data not shown).
                                                                                                         ‡Frequent: use at least $4–5 days/wk for 6 months or longer.
                                                                                                                                                                                                                                                                                                                                               B. Trabert et al. | 7




                                                                                                         §Daily: use at least $6–7 days/wk or !28 days per month for 6 months or longer.
                                                                                                                                                                                                                                                                                                                                                                       Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 65 of 97 PageID: 75786




                                                                                                                                                                                 ARTICLE
             Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 66 of 97 PageID: 75787
                   8 | JNCI J Natl Cancer Inst, 2019, Vol. 111, No. 2



                reported a history of chronic disease at baseline and observed       Funding
                some attenuation in risk estimates. That said, further assess
                ment of confounding by medical indications for long term use,        This work was supported by Department of Defense Ovarian
                such as joint pain, osteoarthritis, cardiovascular disease, or       Cancer Research Program grant W81XWH 12 1 0561. The
                other factors, is needed, as well as consideration of potential bi   UKBGS thanks Breast Cancer Now and the Institute of Cancer
                ologic mechanisms by which long term use may increase risk.          Research (ICR) for support and funding. The ICR acknowledges
                    Consistent with our results, acetaminophen use was not as        National Health Service funding to the National Institute for
                sociated with ovarian cancer risk in the pooled case control         Health Research Biomedical Research Centre. K05CA154337
                study data (15), based on more than 400 exposed cases (odds ra       from the National Cancer Institute (NCI) and Office of Dietary
                tio for daily vs nonregular use ¼ 0.95, 95% CI ¼ 0.74 to 1.23).      Supplements (VITAL); R01 CA39742 (Iowa Women’s Health
                Acetaminophen and nonaspirin NSAIDs are commonly used in             Study); research grants from the Swedish Research Council
                terchangeably; however, acetaminophen has weak anti                  and Swedish Cancer Foundation (SMC, WLHS); UM1 CA164973
                inflammatory properties and may have gonadotrophic effects           (Multiethnic Cohort Study [MEC]); NIH/NCI UM1 CA182876
                (11), supporting the different associations we observed between      (SCHS); UM1 CA186107, P01 CA87969, UM1 CA176726, R01
                NSAIDs and acetaminophen in our study and suggesting differ          CA67262 (Nurses’ Health Study, Nurses’ Health Study II); and
                ent anti inflammatory effects or other mechanisms of action          NIEHS Intramural Research Program (Project Z01 ES044005 to
                (8,9,11). Importantly, the increased risk with daily acetamino
                                                                                     DPS). The Womens Health Initiative (WHI) program is funded
                phen use observed in this study was based on a limited number
                                                                                     by the National Heart, Lung, and Blood Institute, NIH/DHHS,
                of exposed cases and should be interpreted with caution.
                                                                                     through contracts HHSN268201100046C, HHSN268201100001C,
                    The consistent positive relationship for frequent long dura
                                                                                     HHSN268201100002C, HHSN268201100003C, HHSN268201100004C,
                tion use of aspirin or nonaspirin NSAIDs with serous disease
                                                                                     and HHSN271201100004C. NCI Intramural Research Program.
                may suggest that long term users likely have other factors that
                increase inflammation and thus risk of this histotype. Some
                data suggest that serous tumors may be more strongly related
                                                                                     Notes
                to inflammatory factors. For example, aggressive high grade se
                rous tumors have been more commonly associated with induc            Affiliations of authors: Division of Cancer Epidemiology and
                ible nitric oxide synthase and other inflammatory markers than       Genetics, National Cancer Institute, Bethesda, MD (BT, LAB, PH,
                low grade tumors (41). Further, prediagnostic circulating in         NW); Brigham and Women’s Hospital and Harvard Medical
                flammatory marker, C reactive protein, has been associated           School, Boston, MA (EMP); Cancer Prevention Program, Fred
                with the serous histotype (6,42). Lifetime ovulations also were      Hutchinson Cancer Research Center, Seattle, WA (EW, GLA, UP);
                more strongly associated with tumors expressing p53 (43), a          Johns Hopkins Bloomberg School of Public Health, Baltimore,
                hallmark of serous disease (44).                                     MD (KV, JHB); Department of Medical Epidemiology and
                    The prospective design of the pooled studies precludes recall    Biostatistics, Karolinska Institutet, Stockholm, Sweden (HOA,
                bias. Additional strengths of the study include the large sample     EW); Clinical Effectiveness Research Group, Institute of Health
                size, the ability to identify deaths as well as capture loss to      and Society, University of Oslo, Oslo, Norway (HOA); Division of
                follow up, and the ability to account for many known and sus         Cancer Prevention and Control, College of Medicine, The Ohio
                pected risk factors for ovarian cancer. Limitations included the     State University, Columbus, OH (TMB); Division of Cancer
                use of self reported exposure data, limited information on low       Epidemiology, German Cancer Research Center (DKFZ),
                dose aspirin use, and limited data on health conditions or medi      Heidelberg, Germany (RTF); Epidemiology Research Program,
                cal indications underlying long term analgesic use. The combi        American Cancer Society, Atlanta, GA (MG, AVP); Division of
                nation of long term follow up and ascertainment of exposure at       Genetics and Epidemiology and Division of Breast Cancer
   ARTICLE




                baseline (in most studies) mean that individuals could have          Research, The Institute of Cancer Research, London, UK (MJ, AS);
                started or stopped use during follow up, which would contrib         City of Hope, Duarte, CA (JVLJr); Institute of Environmental
                ute to measurement error. Further, information on duration of        Medicine, Karolinska Institutet, Stockholm, Sweden (SCL, AW);
                use at baseline may not adequately represent exposure dura           Department of Nutrition, University of California Davis, Davis,
                tion, as such confounding by indication may not fully explain        CA (GGM); Department of Epidemiology, GROW School for
                the elevated risks. Residual confounding by age related factors      Oncology and Developmental Biology, Maastricht University,
                may also be present; however, we did not observe substantial         Maastricht, Netherlands (LJS, PAvdB); National Institute of
                differences in associations across age strata.                       Environmental Health Sciences, National Institutes of Health,
                    The incidence of ovarian cancer is low; thus, our modest find    Research Triangle Park, NC (DPS, KO); Division of Epidemiology
                ings are unlikely to alter the balance of more common and clini      and Community Health, School of Public Health, and Masonic
                cally significant risks and benefits associated with daily aspirin   Cancer Center, University of Minnesota, Minneapolis, MN (AP);
                use. However, the associations stratified by age at baseline pro     Department of Exercise and Nutrition Sciences, Milken Institute
                vide information relevant to current US Preventive Services Task     School of Public Health, George Washington University,
                Force recommendations regarding aspirin use for cardiovascular       Washington, DC (KR); University of Southern California, Los
                prevention (45), as decreased ovarian cancer risk estimates asso     Angeles, CA (VWS); Department of Community Medicine,
                ciated with daily aspirin use were only observed among women         Faculty of Health Sciences, University of Tromsø, The Arctic
                younger than age 70 years. The USPSTF does not recommend fre         University of Norway, Tromsø, Norway (EWeiderpass);
                quent aspirin use in women age 70 years or older because of in       Department of Research, Cancer Registry of Norway, Institute of
                creased risk for adverse events. Although the potential increased    Population     Based    Cancer     Research,    Oslo,   Norway
                risk associated with daily acetaminophen and frequent aspirin        (EWeiderpass); Genetic Epidemiology Group, Folkha          € lsan
                and nonaspirin NSAID use for more than 10 years’ duration            Research Center, Helsinki, Finland (EW); University of Hawaii
                requires further study, daily aspirin use may provide a very mod     Cancer Center, Honolulu, HI (LRW); Department of
                estly reduced risk with respect to incident ovarian cancer.          Epidemiology, Harvard T. H. Chan School of Public Health,



Downloaded from https://academic.oup.com/jnci/advance-article-abstract/doi/10.1093/jnci/djy100/5026198
by University of Texas at Austin user
on 25 July 2018
        Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 67 of 97 PageID: 75788
                                                                                                                                                          B. Trabert et al. | 9



              Boston, MA (SST); Department of Cancer Epidemiology, H. Lee                             17. Prizment AE, Folsom AR, Anderson KE. Nonsteroidal anti-inflammatory
                                                                                                          drugs and risk for ovarian and endometrial cancers in the Iowa Women’s
              Moffitt Cancer Center and Research Institute, Tampa, FL (SST).
                                                                                                          Health Study. Cancer Epidemiol Biomarkers Prev. 2010;19(2):435–442.
                  The funding agency did not have any role in the design of                           18. Murphy MA, Trabert B, Yang HP, et al. Non-steroidal anti-inflammatory drug
              the study; the collection, analysis, or interpretation of the data;                         use and ovarian cancer risk: Findings from the NIH-AARP Diet and Health
                                                                                                          Study and systematic review. Cancer Causes Control. 2012;23(11):1839–1852.
              the writing of the manuscript; or the decision to submit the
                                                                                                      19. Brasky TM, Liu J, White E, et al. Non-steroidal anti-inflammatory drugs and
              manuscript for publication.                                                                 cancer risk in women: Results from the Women’s Health Initiative. Int J
                  Preliminary results from this study were presented at the                               Cancer. 2014;135(8):1869–1883.
              AACR Rivkin Ovarian Cancer Meeting (September 2016) and at                              20. Baandrup L, Kjaer SK, Olsen JH, et al. Low-dose aspirin use and the risk of
                                                                                                          ovarian cancer in Denmark. Ann Oncol. 2015;26(4):787–792.
              the NCI Cohort Consortium Annual Meeting (November 2016,                                21. Schatzkin A, Subar AF, Thompson FE, et al. Design and serendipity in estab-
              same abstract).                                                                             lishing a large cohort with wide dietary intake distributions: The National
                  The authors thank Ruifeng Li for assistance with computer pro                           Institutes of Health-American Association of Retired Persons Diet and Health
                                                                                                          Study. Am J Epidemiol. 2001;154(12):1119–1125.
              gramming and harmonization of covariate data. The UKBGS                                 22. Swerdlow AJ, Jones ME, Schoemaker MJ, et al. The Breakthrough Generations
              thanks the study participants, study staff, and the doctors, nurses,                        Study: Design of a long-term UK cohort study to investigate breast cancer
              and other health care staff and data providers who contributed to                           aetiology. Br J Cancer. 2011;105(7):911–917.
                                                                                                      23. Gallicchio L, Visvanathan K, Burke A, et al. Nonsteroidal anti-inflammatory
              the study. We would like to thank the participants and staff of the                         drugs and the risk of developing breast cancer in a population-based prospec-
              NHS/NHSII for their valuable contributions and the following state                          tive cohort study in Washington County, MD. Int J Cancer. 2007;121(1):211–215.
              cancer registries for their help: AL, AZ, AR, CA, CO, CT, DE, FL, GA,                   24. Jacobs EJ, Thun MJ, Connell CJ, et al. Aspirin and other nonsteroidal anti-
                                                                                                          inflammatory drugs and breast cancer incidence in a large U.S. cohort. Cancer
              ID, IL, IN, IA, KY, LA, ME, MD, MA, MI, NE, NH, NJ, NY, NC, ND, OH,
                                                                                                          Epidemiol Biomarkers Prev. 2005;14(1):261–264.
              OK, OR, PA, RI, SC, TN, TX, VA, WA, WY. The authors assume full                         25. Clarke CA, Canchola AJ, Moy LM, et al. Regular and low-dose aspirin, other non-
              responsibility for analyses and interpretation of these data. The                           steroidal anti-inflammatory medications and prospective risk of HER2-defined
                                                                                                          breast cancer: The California Teachers Study. Breast Cancer Res. 2017;19(1):52.
              NLCS thanks participants and staff who have contributed to the
                                                                                                      26. Setiawan VW, Matsuno RK, Lurie G, et al. Use of nonsteroidal anti-
              study. The authors thank the WHI investigators for their dedication                         inflammatory drugs and risk of ovarian and endometrial cancer: The
              and the WHI study participants for making the program possible.                             Multiethnic Cohort. Cancer Epidemiol Biomarkers Prev. 2012;21(9):1441–1449.
                                                                                                      27. Kolonel LN, Henderson BE, Hankin JH, et al. A multiethnic cohort in Hawaii
                                                                                                          and Los Angeles: Baseline characteristics. Am J Epidemiol. 2000;151(4):346–357.
              References                                                                              28. Braem MG, Onland-Moret NC, van den Brandt PA, et al. Reproductive and
                                                                                                          hormonal factors in association with ovarian cancer in the Netherlands co-
               1. Ness RB, Cottreau C. Possible role of ovarian epithelial inflammation in ovar-          hort study. Am J Epidemiol. 2010;172(10):1181–1189.
                  ian cancer. J Natl Cancer Inst. 1999;91(17):1459–1467.                              29. Prorok PC, Andriole GL, Bresalier RS, et al. Design of the Prostate, Lung,
               2. Fathalla MF. Incessant ovulation—a factor in ovarian neoplasia? Lancet. 1971;           Colorectal and Ovarian (PLCO) Cancer Screening Trial. Control Clin Trials. 2000;
                  2(7716):163.                                                                            21(6 Suppl):273S–309S.
               3. Moorman PG, Schildkraut JM, Calingaert B, et al. Ovulation and ovarian can-         30. Larsson SC, Giovannucci E, Wolk A. Dietary folate intake and incidence of ovarian
                  cer: A comparison of two methods for calculating lifetime ovulatory cycles              cancer: The Swedish Mammography Cohort. J Natl Cancer Inst. 2004;96(5):396–402.
                  (United States). Cancer Causes Control. 2002;13(9):807–811.                         31. Kim S, Shore DL, Wilson LE, et al. Lifetime use of nonsteroidal anti-
               4. Wentzensen N, Poole EM, Trabert B, et al. Ovarian cancer risk factors by his-           inflammatory drugs and breast cancer risk: Results from a prospective study
                  tologic subtype: An analysis from the Ovarian Cancer Cohort Consortium. J               of women with a sister with breast cancer. BMC Cancer. 2015;15:960.
                  Clin Oncol. 2016;34(24):2888–2898.                                                  32. Ready A, Velicer CM, McTiernan A, et al. NSAID use and breast cancer risk in
               5. Zhou Z, Zeng F, Yuan J, et al. Pelvic inflammatory disease and the risk of ovar-        the VITAL cohort. Breast Cancer Res Treat. 2008;109(3):533–543.
                  ian cancer: A meta-analysis. Cancer Causes Control. 2017;28(5):415–428.             33. Langer RD, White E, Lewis CE, et al. The Women’s Health Initiative
               6. Trabert B, Pinto L, Hartge P, et al. Pre-diagnostic serum levels of inflammation        Observational Study: Baseline characteristics of participants and reliability
                  markers and risk of ovarian cancer in the Prostate, Lung, Colorectal and                of baseline measures. Ann Epidemiol. 2003;13(9 Suppl):S107–S121.
                  Ovarian Cancer (PLCO) Screening Trial. Gynecol Oncol. 2014;135(2):297–304.          34. Design of the Women’s Health Initiative clinical trial and observational study.
               7. Poole EM, Lee IM, Ridker PM, et al. A prospective study of circulating C-reac-          The Women’s Health Initiative Study Group. Control Clin.Trials. 1998;19(1):61–109.
                  tive protein, interleukin-6, and tumor necrosis factor alpha receptor 2 levels      35. Roswall N, Sandin S, Adami HO, et al. Cohort profile: The Swedish Women’s
                  and risk of ovarian cancer. Am J Epidemiol. 2013;178(8):1256–1264.                      Lifestyle and Health cohort. Int J Epidemiol. 2017;46(2):e8.
               8. Sciulli MG, Seta F, Tacconelli S, et al. Effects of acetaminophen on constitu-      36. Lunn M, McNeil D. Applying Cox regression to competing risks. Biometrics.
                  tive and inducible prostanoid biosynthesis in human blood cells. Br J                   1995;51(2):524–532.




                                                                                                                                                                                               ARTICLE
                  Pharmacol. 2003;138(4):634–641.                                                     37. Gates MA, Rosner BA, Hecht JL, et al. Risk factors for epithelial ovarian cancer
               9. Altinoz MA, Korkmaz R. NF-kappa B, macrophage migration inhibitory factor               by histologic subtype. Am J Epidemiol. 2010;171(1):45–53.
                  and cyclooxygenase-inhibitions as likely mechanisms behind the acetamin-            38. Chubak J, Kamineni A, Buist DSM, et al. Aspirin Use for the Prevention of
                  ophen- and NSAID-prevention of the ovarian cancer. Neoplasma. 2004;51(4):               Colorectal Cancer: An Updated Systematic Evidence Review for the U.S.
                  239–247.                                                                                Preventive Services Task Force. US Preventive Services Task Force Evidence
              10. Khunnarong J, Tangjitgamol S, Manusirivithaya S, et al. Expression of                   Syntheses, formerly Systematic Evidence Reviews. Rockville, MD: Agency for
                  cyclooxygenase-1 in epithelial ovarian cancer: A clinicopathological study.             Healthcare Research and Quality; 2015.
                  Asian Pac J Cancer Prev. 2008;9(4):757–762.                                         39. Cuzick J, Thorat MA, Bosetti C, et al. Estimates of benefits and harms of prophy-
              11. Cramer DW, Liberman RF, Hornstein MD, et al. Basal hormone levels in women              lactic use of aspirin in the general population. Ann Oncol. 2015;26(1):47–57.
                  who use acetaminophen for menstrual pain. Fertil Steril. 1998;70(2):371–373.        40. Cook NR, Lee IM, Gaziano JM, et al. Low-dose aspirin in the primary preven-
              12. Rodriguez-Burford C, Barnes MN, Oelschlager DK, et al. Effects of nonsteroi-            tion of cancer: The Women’s Health Study: A randomized controlled trial.
                  dal anti-inflammatory agents (NSAIDs) on ovarian carcinoma cell lines:                  JAMA. 2005;294(1):47–55.
                  Preclinical evaluation of NSAIDs as chemopreventive agents. Clin Cancer Res.        41. Ali-Fehmi R, Semaan A, Sethi S, et al. Molecular typing of epithelial ovarian
                  2002;8(1):202–209.                                                                      carcinomas using inflammatory markers. Cancer. 2011;117(2):301–309.
              13. Rothwell PM, Price JF, Fowkes FG, et al. Short-term effects of daily aspirin on     42. Ose J, Schock H, Tjonneland A, et al. Inflammatory markers and risk of epi-
                  cancer incidence, mortality, and non-vascular death: Analysis of the time               thelial ovarian cancer by tumor subtypes: The EPIC cohort. Cancer Epidemiol
                  course of risks and benefits in 51 randomised controlled trials. Lancet. 2012;          Biomarkers Prev. 2015;24(6):951–961.
                  379(9826):1602–1612.                                                                43. Schildkraut JM, Bastos E, Berchuck A. Relationship between lifetime ovula-
              14. Bosetti C, Rosato V, Gallus S, et al. Aspirin and cancer risk: A quantitative re-       tory cycles and overexpression of mutant p53 in epithelial ovarian cancer. J
                  view to 2011. Ann Oncol. 2012;23(6):1403–1415.                                          Natl Cancer Inst. 1997;89(13):932–938.
              15. Trabert B, Ness RB, Lo-Ciganic WH, et al. Aspirin, nonaspirin nonsteroidal          44. Kobel M, Kalloger SE, Lee S, et al. Biomarker-based ovarian carcinoma typing:
                  anti-inflammatory drug, and acetaminophen use and risk of invasive epithe-              A histologic investigation in the ovarian tumor tissue analysis consortium.
                  lial ovarian cancer: A pooled analysis in the Ovarian Cancer Association                Cancer Epidemiol Biomarkers Prev. 2013;22(10):1677–1686.
                  Consortium. J Natl Cancer Inst. 2014;106(2):djt431.                                 45. Bibbins-Domingo K; US Preventive Services Task Force. Aspirin use for the
              16. Pinheiro SP, Tworoger SS, Cramer DW, et al. Use of nonsteroidal antiinflam-             primary prevention of cardiovascular disease and colorectal cancer:
                  matory agents and incidence of ovarian cancer in 2 large prospective cohorts.           Recommendations from the U.S. Preventive Services Task Force. Ann Intern Med.
                  Am J Epidemiol. 2009;169(11):1378–1387.                                                 2016;164(12):836–845.




Downloaded from https://academic.oup.com/jnci/advance-article-abstract/doi/10.1093/jnci/djy100/5026198
by University of Texas at Austin user
on 25 July 2018
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 68 of 97 PageID: 75789




                       Exhibit 108
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 69 of 97 PageID: 75790
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 70 of 97 PageID: 75791
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 71 of 97 PageID: 75792
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 72 of 97 PageID: 75793
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 73 of 97 PageID: 75794
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 74 of 97 PageID: 75795
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 75 of 97 PageID: 75796
Analgesics and ovarian cancer in African Americans                                                          BRITISH JOURNAL OF CANCER


  Doherty JA, Goodman MT, Lurie G, Kjær SK, Hogdall E, Jensen A,          Wu AH, Pearce CL, Tseng C C, Templeman C, Pike MC (2009) Markers of
  Cramer DW, Terry KL, Vitonis A, Bandera EV, Olson S, King MG,              inflammation and risk of ovarian cancer in Los Angeles county. Int J
  Chandran U, Anton Culver H, Ziogas A, Menon U, Gayther SA, Ramus           Cancer 124: 1409 1415.
  SJ, Gentry Maharaj A, Wu AH, Pearce CL, Pike MC, Berchuck A,            Zhou Y, Boudreau DM, Freedman AN (2014) Trends in the use of aspirin and
  Schildkraut JM, Wentzensen N (2014) Aspirin, nonaspirin nonsteroidal       nonsteroidal anti inflammatory drugs in the general U.S. population.
  anti inflammatory drug, and acetaminophen use and risk of invasive         Pharmacoepidemiol Drug Saf 23: 43 50.
  epithelial ovarian cancer: a pooled analysis in the Ovarian Cancer
  Association Consortium. J Natl Cancer Inst 106: djt431.                 This work is published under the standard license to publish agree
Wernli KJ, Newcomb PA, Hampton JM, Trentham Dietz A,
  Egan KM (2008) Inverse association of NSAID use and ovarian cancer in
                                                                          ment. After 12 months the work will become freely available and
  relation to oral contraceptive use and parity. Br J Cancer 98:          the license terms will switch to a Creative Commons Attribution
  1781 1783.                                                              NonCommercial Share Alike 4.0 Unported License.




www.bjcancer.com | DOI:10.1038/bjc.2016.39                                                                                                   825
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 76 of 97 PageID: 75797




                       Exhibit 109
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 77 of 97 PageID: 75798
               American Journal of Epidemiology                                                                                              Vol. 185, No. 1
               © The Author 2016. Published by Oxford University Press on behalf of the Johns Hopkins Bloomberg School of          DOI: 10.1093/aje/kww161
               Public Health. All rights reserved. For permissions, please e mail: journals.permissions@oup.com.                 Advance Access publication:
                                                                                                                                          December 9, 2016



 Systematic Reviews and Meta- and Pooled Analyses

 Pelvic Inﬂammatory Disease and the Risk of Ovarian Cancer and Borderline
 Ovarian Tumors: A Pooled Analysis of 13 Case-Control Studies




 Christina B. Rasmussen, Susanne K. Kjaer, Vanna Albieri, Elisa V. Bandera, Jennifer A. Doherty,
 Estrid Høgdall, Penelope M. Webb, Susan J. Jordan, Mary Anne Rossing, Kristine G. Wicklund,
 Marc T. Goodman, Francesmary Modugno, Kirsten B. Moysich, Roberta B. Ness,
 Robert P. Edwards, Joellen M. Schildkraut, Andrew Berchuck, Sara H. Olson,
 Lambertus A. Kiemeney, Leon F. A. G. Massuger, Steven A. Narod, Catherine M. Phelan,
 Hoda Anton-Culver, Argyrios Ziogas, Anna H. Wu, Celeste L. Pearce, Harvey A. Risch,
 and Allan Jensen*, on behalf of the Ovarian Cancer Association Consortium
 * Correspondence to Dr. Allan Jensen, Virus, Lifestyle and Genes Unit, Danish Cancer Society Research Center,
 Strandboulevarden 49, DK-2100 Copenhagen, Denmark (e-mail: allan@cancer.dk).

 Initially submitted November 17, 2015; accepted for publication May 26, 2016.



           Inﬂammation has been implicated in ovarian carcinogenesis. However, studies investigating the association
         between pelvic inﬂammatory disease (PID) and ovarian cancer risk are few and inconsistent. We investigated the
         association between PID and the risk of epithelial ovarian cancer according to tumor behavior and histotype. We
         pooled data from 13 case-control studies, conducted between 1989 and 2009, from the Ovarian Cancer
         Association Consortium (OCAC), including 9,162 women with ovarian cancers, 2,354 women with borderline tu-
         mors, and 14,736 control participants. Study-speciﬁc odds ratios were estimated and subsequently combined into
         a pooled odds ratio using a random-effects model. A history of PID was associated with an increased risk of bor-
         derline tumors (pooled odds ratio (pOR) = 1.32, 95% conﬁdence interval (CI): 1.10, 1.58). Women with at least 2
         episodes of PID had a 2-fold increased risk of borderline tumors (pOR = 2.14, 95% CI: 1.08, 4.24). No association
         was observed between PID and ovarian cancer risk overall (pOR = 0.99, 95% CI: 0.83, 1.19); however, a statisti-
         cally nonsigniﬁcantly increased risk of low-grade serous tumors (pOR = 1.48, 95% CI: 0.92, 2.38) was noted. In
         conclusion, PID was associated with an increased risk of borderline ovarian tumors, particularly among women
         who had had multiple episodes of PID. Although our results indicated a histotype-speciﬁc association with PID,
         the association of PID with ovarian cancer risk is still somewhat uncertain and requires further investigation.

         inﬂammation; neoplasms; histological type; ovarian neoplasms; pelvic inﬂammatory disease; risk factors



 Abbreviations: AUS, Australian Ovarian Cancer Study/Australian Cancer Study (Ovarian Cancer); CI, conﬁdence interval;
 CON, Connecticut Ovarian Cancer Study; DOV, Diseases of the Ovary and Their Evaluation; HAW, Hawaii Ovarian Cancer
 Study; HOP, Hormones and Ovarian Cancer Prediction; MAL, Danish Malignant Ovarian Tumor Study; NCO, North Carolina
 Ovarian Cancer Study; NJO, New Jersey Ovarian Cancer Study; NTH, Nijmegen Polygene Study and Nijmegen Biomedical
 Study; OCAC, Ovarian Cancer Association Consortium; OR, odds ratio; PID, pelvic inﬂammatory disease; pOR, pooled odds
 ratio; SON, Southern Ontario Ovarian Cancer Study; TOR, Familial Ovarian Tumor Study; UCI, University of California Irvine
 Ovarian Cancer Study; USC, Los Angeles County Case-Control Studies of Ovarian Cancer.




   Ovarian cancer is the ﬁfth most common cancer among                               factors have been identiﬁed. A reduced risk of ovarian can-
 women in developed countries, and it is the most fatal                              cer has been observed with increased parity (2), use of oral
 gynecological malignancy (1). The etiology of ovarian can-                          contraceptives (2), hysterectomy (3), and tubal ligation (3),
 cer is still not fully clariﬁed, although a number of risk                          whereas family history of ovarian or breast cancer (2), use

                                                                                8                                     Am J Epidemiol. 2017;185(1):8–20
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 78 of 97 PageID: 75799
                                                                   Pelvic Inﬂammatory Disease and Risk of Ovarian Tumors      9


 of hormone replacement therapy (2), exposure to talc (4),         Ovary Study (CON), Diseases of the Ovary and Their
 and a history of endometriosis (5) have been associated           Evaluation (DOV), Hawaii Ovarian Cancer Study (HAW),
 with increased risks.                                             Hormones and Ovarian Cancer Prediction (HOP), North
    The 2 dominant hypotheses to explain the development of        Carolina Ovarian Cancer Study (NCO), New Jersey Ovarian
 ovarian cancer relate increased risk to a large number of life-   Cancer Study (NJO), University of California Irvine Ovarian
 time ovulatory cycles (the incessant ovulation theory) (6) or     Cancer Study (UCI), and Los Angeles County Case-Control
 exposure to high levels of gonadotropins (the gonadotropin        Studies of Ovarian Cancer (USC)) (26, 27, 31 36), 2 in
 theory) (7). However, inﬂammation has also been suggested         Canada (Familial Ovarian Tumor Study (TOR) and SON)
 as a potential biological mechanism that may underlie a           (37, 38), 2 in Europe (Danish Malignant Ovarian Tumor
 number of epidemiologic associations not easily explained         Study (MAL) and Nijmegen Polygene Study and Nijmegen
 by either theory (8, 9), including talc exposure, endometri-      Biomedical Study (NTH)) (28 30), and 1 in Australia
 osis, tubal ligation, and hysterectomy. Furthermore, a link       (Australian Ovarian Cancer Study and Australian Cancer
 between pelvic inﬂammatory disease (PID) and the risk of          Study (Ovarian Cancer) (AUS)) (20).
 ovarian cancer has been suggested, and this potential associ-        Characteristics of the 13 included studies are presented
 ation may also be explained by the inﬂammation theory.            in Table 1. Data were cleaned and checked for internal
 PID is deﬁned as an upper genital-tract infection and in-         consistency, and clariﬁcations were obtained from the ini-
 cludes diagnoses of endometritis, salpingitis, pelvic peritoni-   tial investigators if needed. Women with nonepithelial
 tis, and tubo-ovarian abscess caused by microorganisms            ovarian tumors (n = 186) and with missing information on
 ascending from the lower genital tract (10). Approximately        PID status (n = 278) were excluded, leaving 9,162 women
 800,000 women are treated for PID annually in the United          with invasive ovarian cancer (hereafter denoted “ovarian
 States (11), and it is estimated that 6% 20% of all women in      cancer”), 2,354 women with borderline ovarian tumors,
 the Western world are diagnosed with PID during their life-       and 14,736 control participants for analysis. Eleven studies
 times (12 14).                                                    included both women with ovarian cancer and women with
    Epidemiologic studies investigating the association            borderline ovarian tumors, whereas 2 studies included only
 between PID and the risk of ovarian cancer and borderline         women with ovarian cancer (NTH and NJO). Each study
 ovarian tumors have been inconsistent, revealing increased        had approval from the relevant institutional review board or
 risks in some studies (15 19) but not in all (20 23).             ethics committee, and all participants gave informed consent.
 Moreover, most previous studies have had methodological
 problems, including limited statistical power due to small        PID assessment
 numbers of study subjects and/or a short follow-up period.
 Also, ovarian cancer is a heterogeneous disease consisting           Information on PID was self-reported in all studies,
 of different histotypes with different risk factor proﬁles        through either in-person interviews (n = 10 studies) or self-
 (24). However, few investigators have studied the role of         administered questionnaires (n = 3 studies). Table 1 in-
 PID separately for borderline tumors (15, 18) or for the          cludes the phrasing of the question regarding PID status
 separate histotypes of ovarian cancer (18, 20).                   used in each study. We aimed to obtain information on the
    To examine the association of PID with the risk of             following PID variables: PID status (ever/never had PID),
 ovarian cancer, an international collaborative study was          age at ﬁrst PID episode, time since ﬁrst PID episode, and
 performed, using data from 13 case-control studies partici-       number of PID episodes. All studies except for HAW had
 pating in the Ovarian Cancer Association Consortium               information on age at ﬁrst PID episode, and 5 studies
 (OCAC). To our knowledge, this was the largest study of           (CON, DOV, NJO, SON, and TOR) had data on number
 PID and ovarian cancer risk to date, thereby enabling a           of PID episodes.
 more robust estimation of risks among subgroups accord-
 ing to tumor behavior and histotype than has previously           Statistical analysis
 been possible.
                                                                      Associations between the PID variables and ovarian
                                                                   cancer risk were estimated using a 2-stage method (39).
 METHODS                                                           First, study-speciﬁc odds ratios were obtained from logis-
 Participating studies                                             tic regression models and were subsequently combined
                                                                   into a pooled odds ratio with 95% conﬁdence intervals.
    OCAC was founded in 2005 as an international forum of          The pooled estimate was computed by weighting each
 investigators conducting ovarian cancer case-control stud-        estimate by the inverse of the sum of its variance and the
 ies. The main aims of the collaboration are to discover as-       across-studies variance using a random-effects model (40).
 sociations between genetic polymorphisms and ovarian              Only studies for which the study-speciﬁc model converged
 cancer risk and to identify and conﬁrm epidemiologic risk         contributed to the pooled estimate. We used the Cochran
 factors for ovarian cancer (25).                                  Q and I² statistics to evaluate statistical heterogeneity
    For the present study, we obtained individual-level data       between studies. If heterogeneity was present, we explored
 from 13 case-control studies: 12 studies in OCAC (20, 26          the potential sources of heterogeneity, including continent
 37) and a parallel study not originally included in OCAC          of study (North America vs. Europe vs. Australia) and
 (Southern Ontario Ovarian Cancer Study (SON)) (38). Eight         method of data collection (in-person interview vs. self-
 studies were conducted in the United States (Connecticut          administered questionnaire).

 Am J Epidemiol. 2017;185(1):8–20
                                                         Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 79 of 97 PageID: 75800




                                                                                                                                                                                                                                10
                                   Table 1. Characteristics of 13 Ovarian Cancer Case-Control Studies From the Ovarian Cancer Association Consortium, Conducted in Australia, Europe, and North America Between
                                   1989 and 2009




                                                                                                                                                                                                                                Rasmussen et a .
                                                                                                                                              Mean
                                                                                                                                             Interval                                                   No. and %
                                     First Author,                                                                                                                                                          of
                                                                                                                                               From      Response Rate,                                              Missing
                                         Year                                                                      Age                                                                                   Controls
                                                       Study Name and     Study                  Method of Data              Matching        Ovarian          %              Wording of Question                       PID
                                      (Reference                                    Study Type                    Range,                                                                                Who Had
                                                          Acronym         Period                   Collection                Variable       Cancer to                       Concerning PID Status                     Data
                                          No.)                                                                    years                                                                                  Had PID
                                                                                                                                            Interview,
                                                                                                                                             months
                                                                                                                                                         Cases Controls                                 No.    %       %

                                                                                                                       Australia
                                     Merritt,   Australian Ovarian  2002–2005 Population- Self-                   18–80    Age (5-year         5.3        84      47      Have you ever had pelvic       84    5.6     3.5
                                      2008 (20)   Cancer Study/                 based       administered                     categories)                                    inﬂammatory disease
                                                  Australian Cancer                         questionnaire                                                                   (e.g., chlamydia)?
                                                  Study (Ovarian                                                                                                            Have you ever had
                                                  Cancer) (AUS)                                                                                                             infection of the tubes or
                                                                                                                                                                            womb?
                                                                                                                       Europe
                                     Glud, 2004      Danish Malignant   1995–1999 Population- In-person           31–81    Age (5-year         3.6        81      68      Have you ever been told       416 26.6       0.7
                                       (28)            Ovarian Tumor                based        interview                   categories)                                    by a doctor that you
                                                       Study (MAL)                                                                                                          had pelvic
                                                                                                                                                                            inﬂammatory disease,
                                                                                                                                                                            that is an infection in
                                                                                                                                                                            your uterus or tubes?a
                                     van Altena, Nijmegen Polygene      1989–2008 Population- Self-               23–83    No matching        85.3        63      42      Could you tell whether         13    2.2     0.0
                                       2012 (29)   Study and                        based       administered                                                                you have ever had
                                                   Nijmegen                                     questionnaire                                                               inﬂammation of the
                                       Wetzels,    Biomedical Study                                                                                                         tubes or ovaries?
                                       2007 (30)   (NTH)
                                                                                                                    North America
                                     Risch, 2006 Connecticut Ovarian 1998–2003 Population- In-person              34–81    Age (3 age          9.6        69      61      Could you tell me              23    4.2     0.2
                                       (34)        Cancer Study                  based        interview                      groups:                                        whether you have ever
                                                   (CON)                                                                     35–49                                          had an internal pelvic
                                                                                                                             years,                                         infection, sometimes
                                                                                                                             50–64                                          called PID or pelvic
                                                                                                                             years, and                                     inﬂammatory disease?
                                                                                                                             65–79 years)                                   We are not including
                                                                                                                                                                            bladder or vaginal
                                                                                                                                                                            infections in this.
Am J Epidemiol. 2017;185(1):8–20




                                     Bodelon,    Diseases of the        2002–2009 Population- In-person           35–74    Age (5-year         9.3        74      62      Before reference date,         65    3.5     0.3
                                       2012 (27)   Ovary and Their                  based        interview                   categories)                                    did a doctor or other
                                                   Evaluation (DOV)                                                                                                         health professional
                                                                                                                                                                            ever tell you that you
                                                                                                                                                                            had pelvic
                                                                                                                                                                            inﬂammatory disease
                                                                                                                                                                            or PID?a
                                     Goodman,   Hawaii Ovarian          1993–2008 Population- In-person           18–93    Age (5-year        10.9        78      80      Have you ever had PID          27    2.5     0.0
                                      2008 (31)   Cancer Study                      based        interview                   categories),                                   or pelvic inﬂammatory
                                                  (HAW)                                                                      race/                                          disease? That is, have
                                                                                                                             ethnicity                                      you ever had an
                                                                                                                                                                            infection in your tubes?
                                                                                                                                                                                                              Table continues
                                                        Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 80 of 97 PageID: 75801
Am J Epidemiol. 2017;185(1):8–20
                                   Table 1. Continued

                                                                                                                                            Mean
                                                                                                                                           Interval                                                   No. and %
                                     First Author,                                                                                                                                                        of
                                                                                                                                             From      Response Rate,                                              Missing
                                         Year                                                                    Age                                                                                   Controls
                                                     Study Name and     Study                  Method of Data              Matching        Ovarian          %              Wording of Question                       PID
                                      (Reference                                  Study Type                    Range,                                                                                Who Had
                                                        Acronym         Period                   Collection                Variable       Cancer to                       Concerning PID Status                     Data
                                          No.)                                                                  years                                                                                  Had PID
                                                                                                                                          Interview,
                                                                                                                                           months
                                                                                                                                                       Cases Controls                                 No.    %       %

                                    Lo-Ciganic, Hormones and          2003–2009 Population- In-person           25–94    Age (5-year         4.3        71      68      Before reference date,         22    1.2     0.0
                                      2012 (32)   Ovarian Cancer                  based        interview                   categories)                                    did a doctor or other
                                                  Prediction (HOP)                                                                                                        health professional
                                                                                                                                                                          ever tell you that you
                                                                                                                                                                          had pelvic
                                                                                                                                                                          inﬂammatory disease
                                                                                                                                                                          (PID) or pelvic infection
                                                                                                                                                                          not related to surgery?a
                                    Schildkraut, North Carolina       1999–2008 Population- In-person           20–75    Age (5-year         6.2        67      60      Before you were                37    3.4     0.3
                                      2010 (35)    Ovarian Cancer                 based        interview                   categories),                                   diagnosed with ovarian
                                                   Study (NCO)                                                             race/                                          cancer, had a doctor
                                                                                                                           ethnicity                                      ever told you that you
                                                                                                                                                                          had pelvic
                                                                                                                                                                          inﬂammatory disease
                                                                                                                                                                          (or other pelvic
                                                                                                                                                                          infection)?a
                                    Bandera,    New Jersey Ovarian 2002–2008 Population- In-person              23–88    No matching        11.4        47      40      Before reference date,          2    0.4     0.9
                                      2011 (26)   Cancer Study                 based        interview                                                                     were you ever told by a
                                                  (NJO)                                                                                                                   health professional that
                                                                                                                                                                          you had PID or pelvic
                                                                                                                                                                          inﬂammatory disease?a




                                                                                                                                                                                                                              Pe v c Inﬂammatory D sease and R sk of Ovar an Tumors
                                    Risch, 1994 Southern Ontario      1989–1992 Population- In-person           25–80    Age (3 age          4.8        71      65      Could you tell me         114 20.2           1.2
                                      (38)        Ovarian Cancer                  based        interview                   groups:                                        whether you have ever
                                                  Study (SON)                                                              35–49                                          had an internal pelvic
                                                                                                                           years,                                         infection? (PID or
                                                                                                                           50–64                                          pelvic inﬂammatory
                                                                                                                           years, and                                     disease—not including
                                                                                                                           65–79 years)                                   your bladder or vagina)
                                    Zhang,      Familial Ovarian      1995–2003 Population- In-person           21–94    Age (5-year        21.4        50      80      Could you tell me              14    2.6     0.0
                                      2011 (37)   Tumor Study                     basedb       interview                   categories)                                    whether you have ever
                                                  (TOR)                                                                                                                   had an internal pelvic
                                                                                                                                                                          infection, sometimes
                                                                                                                                                                          called PID or pelvic
                                                                                                                                                                          inﬂammatory disease?
                                                                                                                                                                          We are not including
                                                                                                                                                                          bladder or vaginal
                                                                                                                                                                          infections in this.
                                    Ziogas,     University of         1993–2005 Population- Self-               18–86    Age (5-year        31.6        65      80      Have you ever been told        28    4.6     8.9
                                      2000 (36)   California Irvine               based       administered                 categories),                                   by a physician that you
                                                  Ovarian Cancer                              questionnaire                race/                                          have pelvic
                                                  Study (UCI)                                                              ethnicity                                      inﬂammatory disease?a
                                                                                                                                                                                                            Table continues




                                                                                                                                                                                                                              11
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 81 of 97 PageID: 75802
 12                   Rasmussen et al.


                                                                                                                                                                                                                                      For analyses, age at ﬁrst PID episode and time since
                         Missing                                                                                                                                                                                                   ﬁrst PID episode were modeled both as categorical and
                          Data
                           PID




                                                                         0.2
                                                        %
                                                                                                                                                                                                                                   continuous variables. Each categorical variable was cate-
                                                                                                                                                                                                                                   gorized into ordinal groups (age at ﬁrst PID episode: <20,
                                                                                                                                                                                                                                   20 29, or ≥30 years; time since ﬁrst PID episode: <10,
                                                                         3.8
                       No. and %


                       Who Had
                        Controls

                        Had PID

                                                        %
                                                                                                                                                                                                                                   10 19, or ≥20 years; number of PID episodes: 1 or ≥2),
                           of




                                                                         99
                                                        No.

                                                                                                                                                                                                                                   with women who had never had PID as the referent.
                                                                                                                                                                                                                                   Associations between the continuous variables (age at ﬁrst
                                                                           nfect on n your tubes?
                                                                           d sease? That s, have
                                                                                                                                                                                                                                   PID episode and time since ﬁrst PID episode) and ovarian
                                                                           or pe v c nﬂammatory




                                                                           or pe v c nﬂammatory
                                Concerning PID Status




                                                                           you that you had PID
                                                                         Have you ever had PID
                                 Wording of Question




                                                                           Before [month/year],
                                                                           d d a doctor ever te
                                                                                                                                                                                                                                   cancer risk were assessed only among women who had
                                                                           you ever had an

                                                                                                                                                                                                                                   ever been diagnosed with PID. In order to model these as-
                                                                                                                                                                                                                                   sociations, we included PID status in the model as a cate-
                                                                           d sease?b                                                                                                                                               gorical indicator variable together with the continuous
                                                                                                                                                                                                                                   PID variable, as suggested by Leffondré et al. (41).
                                                                                                                                                                                                                                      All analyses adjusted for age, parity (nulliparous vs.
                                                                                                                                                                                                                                   parous as well as parity as a continuous variable), oral
                                                                                                                                                                                                                                   contraceptive use (ever/never use as well as duration of
                                                        Cases Controls
                          Response Rate,




                                                                                                                                                                                                                                   use as a continuous variable), and family history of ovar-
                                                                         73




                                                                                                                                                                                                                                   ian or breast cancer in a ﬁrst-degree relative (yes/no) ir-
                               %




                                                                                                                                                                                                                                   respective of their effect on the association between PID
                                                                         73




                                                                                                                                                                                                                                   and ovarian cancer risk, because these factors were con-
                                                                                                                                                                                                                                   sidered to be potentially important confounders a priori.
                      Cancer to
                      Interview,




                                                                                                                                                                                                                                   For studies that used matching (age, race/ethnicity), con-
                       Ovarian


                       months
                       Interval
                        Mean

                         From




                                                                         8.1




                                                                                                                                                                                                                                   ditional logistic regression analysis was used to adjust
                                                                                                                                                                                                                                   for these variables. In unmatched studies, age was cate-
                                                                                                                                                                                                                                   gorized into 5-year age groups and unconditional logistic
                                                                           categor es),




                                                                                                                                                                                                                                   regression analysis was used (Table 1). When modeling
                                                                         Age (5-year
                                Matching
                                Variable




                                                                           ethn c ty




                                                                                                                                                                                                                                   parity and oral contraceptive use, the categorical variable
                                                                           race/




                                                                                                                                                                                                                                   was included as an indicator variable together with the
                                                                                                                                  Stud es c ass ﬁed as hav ng a requ rement that the d agnos s of PID be ver ﬁed by a phys c an.




                                                                                                                                                                                                                                   continuous variable (41). Other potential confounders
                                                                                                                                                                                                                                   were considered but were not included in the ﬁnal model,
                            Range,




                                                                         19–86
                            years




                                                                                                                                                                                                                                   because none of them fulﬁlled an inclusion criterion of
                             Age




                                                                                                                                                                                                                                   changing the log of the pooled estimate for ovarian can-
                                                                                                                                                                                                                                   cer risk by 10% or more; these potential confounders
                                Method of Data




                                                                                                                                                                                                                                   were tubal ligation, hysterectomy, endometriosis, use of
                                  Collection




                                                                                                                                                                                                                                   hormone replacement therapy, breastfeeding, age at menar-
                                                                                                                     nterv ew
                                                                         Los Ange es County 1992–2009 Popu at on- In-person




                                                                                                                                                                                                                                   che, menopausal status, body mass index, cigarette smoking,
                                                                                                                                                                                                                                   and educational level.
                                                                                                                                                                                                                                      We examined interactions between PID status and par-
                                                                                                                                  Popu at on-based cases and non–popu at on-based contro s.




                                                                                                                                                                                                                                   ity (nulliparous vs. parous), oral contraceptive use (ever
                                     Study Type




                                                                                                                                                                                                                                   use vs. never use), and family history of ovarian or breast
                                                                                                        based




                                                                                                                                                                                                                                   cancer in ﬁrst-degree relatives (yes vs. no). Family history
                                                                                                                                                                                                                                   of breast or ovarian cancer was used as a proxy for heredi-
                                                                                                                                                                                                                                   tary ovarian cancer, as we aimed at exploring whether PID
                                                                                                                                Abbrev at on: PID, pe v c nﬂammatory d sease.




                                                                                                                                                                                                                                   was similarly associated with hereditary and sporadic
                                Period
                                Study




                                                                                                                                                                                                                                   ovarian cancer. Linearity for all quantitative variables was
                                                                                                                                                                                                                                   examined by comparison with models with restricted cubic
                                                                                                                                                                                                                                   splines, but no appreciable deviations from linearity were
                                                                                                                                                                                                                                   found. The signiﬁcances of the interactions and nonlinear
                                                                           Ovar an Cancer
                                Study Name and




                                                                                                                                                                                                                                   associations were estimated by likelihood ratio tests of the
                                                                           Case-Contro
                                   Acronym




                                                                                                                                                                                                                                   interactions/nonlinearities and then comparison of the dis-
                                                                           Stud es of




                                                                                                                                                                                                                                   tribution of the study-speciﬁc P values with a uniform dis-
                                                                           (USC)




                                                                                                                                                                                                                                   tribution by means of the Kolmogorov-Smirnov test (42).
 Table 1. Cont nued




                                                                                                                                                                                                                                      All analyses were performed separately for ovarian cancer
                                                                                                                                                                                                                                   and for borderline tumors, and subgroup analyses were con-
                                                                                                                                                                                                                                   ducted by histotype. Ovarian cancers were divided into cate-
                        First Author,

                         (Reference




                                                                         P ke, 2004




                                                                                                                                                                                                                                   gories of serous, mucinous, endometrioid, clear cell, and
                            Year

                             No.)




                                                                           (33)




                                                                                                                                                                                                                                   other (including mixed cell, undifferentiated, and tumors of
                                                                                                                                                                                                                                   unknown epithelial histology). Additionally, serous cancers
                                                                                                                                                             a
                                                                                                                                b




                                                                                                                                                                                                                                   were divided into low-grade (grade 1) and high-grade

                                                                                                                                                                                                                                                           Am J Epidemiol. 2017;185(1):8–20
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 82 of 97 PageID: 75803
                                                                            Pelvic Inﬂammatory Disease and Risk of Ovarian Tumors                13


 (grade 2 or higher) tumors, because these are considered                    PID, whereas in a Canadian study (SON) and in the
 to represent different histotypes (43). However, 2 studies                  Danish study (MAL), larger proportions of the control
 had no information on grade (SON and TOR) and were                          participants reported having had PID (20.2% and 26.6%,
 therefore not included in these analyses; they were included                respectively). Median age at ﬁrst PID episode was 28
 only in the analyses for serous cancer overall. Subgroup                    years (interquartile range, 22 36 years) among women
 analyses for borderline ovarian tumors included serous and                  with ovarian cancer, 24 years (interquartile range, 20 30
 mucinous tumors, because other histotypes of borderline                     years) among women with borderline ovarian tumors, and
 ovarian tumors are rare. All P values were 2-sided, and the                 25 years (interquartile range, 20 33 years) among control
 nominal level of statistical signiﬁcance was set at P < 0.05.               participants. Distributions of the various histotypes of
 All statistical analyses were performed using the statistical               ovarian tumors from the included studies are provided in
 software R, version 3.1.2 (R Foundation for Statistical                     Web Table 1 (available at http://aje.oxfordjournals.org/).
 Computing, Vienna, Austria), including the packages “sur-
 vival,” “meta,” and “rms.”
                                                                             Ovarian cancer

 RESULTS                                                                        In the pooled analysis, we found no association between
                                                                             a history of PID and the risk of ovarian cancer (odds ratio
    A history of PID was reported by 500 of the 9,162                        (OR) = 0.99, 95% conﬁdence interval (CI): 0.83, 1.19)
 women with ovarian cancers (5.5%), by 201 of the 2,354                      (Web Table 2 and Figure 1). Furthermore, we observed no
 women with borderline ovarian tumors (8.5%), and by                         convincing associations of the age at ﬁrst PID episode,
 944 of the 14,736 control participants (6.4%). The propor-                  time since ﬁrst PID episode, or number of PID episodes
 tion of control participants with PID varied across study                   with the risk of ovarian cancer (Web Table 2).
 sites, from 0.4% to 26.6%. In 11 of the studies, small                         The magnitudes of the risk estimates for associations of
 proportions (less than 6%) of control participants reported                 speciﬁc histotypes of ovarian cancer with the individual



                               Study
                          (Reference No.)                                                                  OR (95% CI)
                          NTH (29, 30)                                                                   0.22 (0.03, 1.49)
                          NJO (26)                                                                       2.54 (0.42, 15.3)
                          TOR (37)                                                                       0.56 (0.23, 1.37)
                          CON (34)                                                                       0.71 (0.31, 1.64)
                          HOP (32)                                                                       1.33 (0.61, 2.89)
                          UCI (36)                                                                       0.84 (0.42, 1.70)
                          HAW (31)                                                                       1.18 (0.65, 2.15)
                          NCO (35)                                                                       1.46 (0.89, 2.39)
                          DOV (27)                                                                       0.64 (0.41, 1.02)
                          SON (15)                                                                       1.43 (1.01, 2.02)
                          AUS (20)                                                                       1.04 (0.74, 1.46)
                          USC (23)                                                                       1.02 (0.74, 1.41)
                          MAL (18)                                                                       0.83 (0.65, 1.05)
                          Overall (I2 = 36.8%, P = 0.09)                                                 0.99 (0.83, 1.19)




                                                              0.1        0.5 1.0 2.0 3.5        15.0
                                                                         Odds Ratio

 Figure 1. Associations between pelvic inﬂammatory disease (PID) status and the risk of ovarian cancer among the participants of 13 case-
 control studies in Australia, Europe, and North America, conducted between 1989 and 2009. Results are presented according to study site and
 overall and are adjusted for age, parity, oral contraceptive use (ever/never use and duration of use), and family history of ovarian or breast can-
 cer (yes/no). For 4 of the studies (AUS, MAL, SON, and USC), results for the association between PID and ovarian cancer risk have been pub-
 lished previously (15, 18, 20, 23). For the remaining 9 studies, results for the association between PID and ovarian cancer risk have not been
 published previously, and their references therefore refer to papers with general information about these studies (26, 27, 29–32, 34–37). For
 the present study, we obtained individual-level data from all 13 studies directly from the Ovarian Cancer Association Consortium database.
 Each square and line represent the odds ratio (OR) and 95% conﬁdence interval (CI), respectively, and the size of the square indicates the
 study weighting. AUS, Australian Ovarian Cancer Study and Australian Cancer Study (Ovarian Cancer); CON, Connecticut Ovarian Cancer Study;
 DOV, Diseases of the Ovary and Their Evaluation; HAW, Hawaii Ovarian Cancer Study; HOP, Hormones and Ovarian Cancer Prediction; MAL,
 Danish Malignant Ovarian Tumor Study; NCO, North Carolina Ovarian Cancer Study; NJO, New Jersey Ovarian Cancer Study; NTH, Nijmegen
 Polygene Study and Nijmegen Biomedical Study; SON, Southern Ontario Ovarian Cancer Study; TOR, Familial Ovarian Tumor Study; UCI,
 University of California Irvine Ovarian Cancer Study; USC, Los Angeles County Case-Control Studies of Ovarian Cancer.

 Am J Epidemiol. 2017;185(1):8–20
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 83 of 97 PageID: 75804
 14   Rasmussen et al.


 PID variables did not differ from those observed for ovar-        shown). Notable exceptions were the observation of appar-
 ian cancer overall, and only a few of the risk estimates          ently statistically signiﬁcantly increased risks of low-grade
 reached statistical signiﬁcance. However, we noted a higher       serous ovarian cancer (OR = 2.36, 95% CI: 1.24, 4.48) and
 risk of low-grade serous cancer (OR = 1.48, 95% CI: 0.92,         endometrioid ovarian cancer (OR = 1.42, 95% CI: 1.01, 1.98)
 2.38) associated with PID status, although the risk estimate      among women in the North American studies. However, no
 did not reach statistical signiﬁcance (Web Table 2).              associations between PID and these 2 tumor types were found
                                                                   among the European studies or in the Australian study (low-
 Borderline ovarian tumors                                         grade serous cancer: pooled OR = 0.98, 95% CI: 0.61, 1.59
                                                                   for the European studies and OR = 1.49, 95% CI: 0.52, 4.30
    A history of PID was associated with a higher risk of          for the Australian study; endometrioid ovarian cancer: pooled
 borderline ovarian tumors (OR = 1.32, 95% CI: 1.10, 1.58)         OR = 0.60, 95% CI: 0.33, 1.10 for the European studies and
 (Table 2 and Figure 2). Furthermore, women with 2 or              OR = 1.09, 95% CI: 0.52, 2.26 for the Australian study).
 more episodes of PID had a more than 2-fold higher risk of           Statistically signiﬁcant heterogeneity across studies was
 borderline ovarian tumors compared with women without a           observed for only a few of the risk estimates (Web Table 2
 history of PID (OR = 2.14, 95% CI: 1.08, 4.24). We found          and Table 2). However, additional analyses showed that
 no consistent trend in the risk of borderline tumors with         neither the method of data collection nor study continent
 age at ﬁrst episode of PID (P-trend = 0.29) or time since         nor proportion of control participants with PID could
 ﬁrst episode of PID (P-trend = 0.44).                             explain the observed heterogeneity since these additional
    As for borderline ovarian tumors overall, the risk of          analyses did not reveal increased consistency among stud-
 serous borderline ovarian tumors was statistically signiﬁ-        ies of the same type (data not shown). We observed no
 cantly increased among women with PID (OR = 1.43, 95%             effect modiﬁcation between PID status and any of the
 CI: 1.14, 1.79). Similarly, PID was also associated with an       potential risk factors (parity, oral contraceptive use, and
 increased risk of mucinous borderline ovarian tumors,             family history of ovarian/breast cancer) for ovarian cancer
 although the risk estimate was not statistically signiﬁcant       and borderline ovarian tumors (all P values > 0.05) (data
 (OR = 1.28, 95% CI: 0.97, 1.68). The risks of serous and          not shown).
 mucinous borderline ovarian tumors were not convincingly
 associated with age at or time since ﬁrst PID episode. In
 addition, women with multiple episodes of PID had a high-         DISCUSSION
 er risk of both serous and mucinous borderline ovarian tu-
 mors, but none of the risk estimates reached statistical             To our knowledge, this was the largest study to date to
 signiﬁcance (Table 2).                                            have investigated the association between history of PID
                                                                   and the risk of ovarian cancer. In a pooled analysis of 13
 Additional analyses                                               case-control studies, we found no convincing associations
                                                                   between self-reported PID status and the risk of ovarian
    To consider the possibility that early cancer symptoms         cancer overall, but suggestions of an increased risk of low-
 might have been misinterpreted as PID or that an episode          grade serous cancer were noted. For borderline ovarian tu-
 of PID might have resulted in further examinations that led       mors, an increased risk was observed among women with a
 to the identiﬁcation of ovarian cancer, we performed sensi-       history of PID, both overall and for serous and mucinous
 tivity analyses of the association between PID status and         borderline tumors separately. Furthermore, the risk of bor-
 the risk of ovarian cancer and borderline ovarian tumors by       derline tumors increased with the number of PID episodes.
 excluding women whose last PID episode was ≤1, ≤2, or                An association between PID and the risk of ovarian tu-
 ≤3 years before the date of diagnosis of ovarian cancer (for      mors is biologically plausible and could be explained by the
 cases) or date of interview (for controls). The risk esti-        inﬂammation hypothesis (8). Inﬂammation is characterized
 mates in these sensitivity analyses were not substantially        by the production of free radicals, cytokines, prostaglan-
 different from the risk estimates in the main analyses (data      dins, and growth factors with the potential for genetic and
 not shown).                                                       epigenetic changes to the DNA, resulting in an increased
    We performed additional sensitivity analyses by stratifying    risk of malignant transformation (44). Until recently, it was
 studies by data collection method (in-person interview            believed that all histotypes of ovarian cancer arose from the
 vs. self-administered questionnaire), study continent (North      mesodermal surface epithelium, either on peritoneal sur-
 America vs. Europe vs. Australia), whether a physician-           faces or entrapped within the ovaries, and inﬂammation of
 veriﬁed diagnosis of PID was required, study period (before       the epithelium was therefore proposed to trigger malignant
 or including 2000 vs. after 2000), proportion of control parti-   transformation (8). Recently, it has been suggested that
 cipants with PID (low (<6%) vs. high (>20%)), body mass           some serous ovarian tumors originate in the mucosal epithe-
 index (calculated as weight (kg)/height (m)2; <25 vs. ≥25),       lium of the fallopian tube, and inﬂammation of the fallopian
 age at diagnosis of ovarian cancer (cases) or interview (con-     tubes has been proposed to contribute to the development
 trols) (<50 years vs. ≥50 years), and level of education (high    of these tumors (45).
 school or less vs. more than high school). However, in the           The association between PID and the risk of ovarian can-
 vast majority of these analyses, the direction and the magni-     cer has been investigated in only 2 cohort studies (17, 19)
 tude of the associations were virtually unchanged compared        and 7 case-control studies (15, 16, 18, 20 23). However, 4
 with the associations obtained in the main analyses (data not     of those case-control studies were based on data from study

                                                                                            Am J Epidemiol. 2017;185(1):8–20
                                                           Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 84 of 97 PageID: 75805
Am J Epidemiol. 2017;185(1):8–20




                                   Table 2. Adjusted Pooled Odds Ratios for the Association Between Pelvic Inﬂammatory Disease and Borderline Ovarian Tumors Among Participants in the Ovarian Cancer Association
                                   Consortium (Australia, Europe, and North America), 1989–2009

                                                                                                                             Overall                      Serous Borderline Tumors            Mucinous Borderline Tumors
                                                     PID History          No. of Studies   No. of Controls
                                                                                                             No. of Casesa     pORb      95% CI      No. of Casesa   pORb      95% CI      No. of Casesa   pORb     95% CI

                                     PID status                                11
                                       Never had PID                                          12,755            2,153          1.00     Referent        1,184        1.00     Referent         891         1.00    Referent
                                       Ever had PID                                               929             201          1.32     1.10, 1.58        114        1.43     1.14, 1.79        79         1.28    0.97, 1.68
                                     Age at ﬁrst PID episode, years            10
                                       Never had PID                                          11,679            1,976          1.00     Referent        1,101        1.00     Referent         804         1.00    Referent
                                       <20                                                        172              33          1.38     0.91, 2.09         16        1.28     0.73, 2.25        16         1.89    1.06, 3.35
                                       20–29                                                      355              87          1.52     1.17, 1.97         52        1.72     1.25, 2.38        32         1.60    0.94, 2.70
                                       ≥30                                                        283              50          1.24     0.90, 1.73         27        1.38     0.89, 2.12        20         1.46    0.89, 2.40
                                           P-trend                                                                                     0.29                                  0.25                                 0.96
                                       Per 1-year incrementc                                                                   0.99     0.97, 1.01                   0.98     0.96, 1.01                   1.00    0.97, 1.03
                                     Time since ﬁrst PID episode, years        10
                                       Never had PID                                          11,679            1,976          1.00     Referent        1,101        1.00     Referent         804         1.00    Referent




                                                                                                                                                                                                                                Pe v c Inﬂammatory D sease and R sk of Ovar an Tumors
                                       <10                                                         86              18          1.44     0.76, 2.73         12        1.74     0.86, 3.53          5        3.05    1.11, 8.40
                                       10–19                                                      159              48          1.73     1.21, 2.49         21        1.62     0.98, 2.70        25         2.37    1.46, 3.87
                                       ≥20                                                        565             104          1.29     1.01, 1.64         62        1.48     1.09, 2.02        38         1.27    0.86, 1.86
                                           P-trend                                                                                     0.44                                  0.60                                 0.92
                                       Per 5-year incrementc                                                                   1.03     0.95, 1.12                   1.03     0.89, 1.20                   0.99    0.88, 1.12
                                     No. of PID episodes                         4
                                       0                                                        3,287             662          1.00     Referent          349        1.00     Referent         282         1.00    Referent
                                       1                                                          142              25          0.88     0.55, 1.39         17        1.11     0.63, 1.95          8        0.84    0.33, 2.14
                                       ≥2                                                          70              24          2.14     1.08, 4.24         12        3.28d   0.86, 12.54        11         1.98    0.80, 4.88

                                      Abbreviations: CI, conﬁdence interval; PID, pelvic inﬂammatory disease; pOR, pooled odds ratio.
                                      a
                                        Numbers may not add up to totals due to missing values.
                                      b
                                        Adjusted for parity (ever/never pregnant and number of pregnancies), oral contraceptive use (ever/never use and duration of use), and family history of ovarian or breast cancer
                                   (yes/no).
                                      c
                                        Among women with a history of PID.
                                      d
                                        P for heterogeneity < 0.05.




                                                                                                                                                                                                                                15
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 85 of 97 PageID: 75806
 16   Rasmussen et al.


                              Study
                          (Reference No.)                                                                   OR (95% CI)

                          TOR (37)                                                                        1.38 (0.37, 5.19)

                          UCI (36)                                                                        0.62 (0.22, 1.69)

                          CON (34)                                                                        1.08 (0.40, 2.97)

                          HAW (31)                                                                        1.25 (0.53, 2.94)

                          NCO (35)                                                                        1.22 (0.57, 2.62)

                          DOV (27)                                                                        0.93 (0.52, 1.65)

                          SON (15)                                                                        1.37 (0.80, 2.36)

                          USC (33)                                                                        1.44 (0.90, 2.31)

                          AUS (20)                                                                        1.53 (0.96, 2.44)

                          MAL (18)                                                                        1.46 (1.06, 2.02)

                          Overall (I 2 = 0%, P = 0.85)                                                    1.32 (1.10, 1.58)




                                                                     0.2    0.5 1.0 2.0         5.5
                                                                              Odds Ratio

 Figure 2. Associations between pelvic inﬂammatory disease (PID) status and the risk of borderline ovarian tumors among the pooled partici-
 pants of 13 case-control studies in Australia, Europe, and North America, conducted between 1989 and 2009. Results are presented according
 to study site and overall and are adjusted for age, parity, oral contraceptive use (ever/never use and duration of use), and family history of ovar-
 ian or breast cancer (yes/no). For 2 of the studies (MAL and SON) results for the association between PID and the risk of borderline ovarian tu-
 mors have been published previously (15, 18). For the remaining studies, results for the association between PID and the risk of borderline
 ovarian tumors have not been published previously, and their references therefore refer to papers with general information about these studies
 (20, 27, 31, 33–37). For the present study, we obtained individual-level data from all studies directly through the Ovarian Cancer Association
 Consortium database. Each square and line represent the represent the odds ratio (OR) and 95% conﬁdence interval (CI), respectively, and the
 size of the square indicates the study weighting. AUS, Australian Ovarian Cancer Study and Australian Cancer Study (Ovarian Cancer); CON,
 Connecticut Ovarian Cancer Study; DOV, Diseases of the Ovary and Their Evaluation; HAW, Hawaii Ovarian Cancer Study; HOP, Hormones
 and Ovarian Cancer Prediction; MAL, Danish Malignant Ovarian Tumor Study; NCO, North Carolina Ovarian Cancer Study; NJO, New Jersey
 Ovarian Cancer Study; NTH, Nijmegen Polygene Study and Nijmegen Biomedical Study; SON, Southern Ontario Ovarian Cancer Study; TOR,
 Familial Ovarian Tumor Study; UCI, University of California Irvine Ovarian Cancer Study; USC, Los Angeles County Case-Control Studies of
 Ovarian Cancer.




 sites (MAL, USC, AUS, and SON) that were included in                         2 other studies found an increased risk of ovarian cancer
 the present analysis (15, 18, 20, 23); results from those                    (16, 17). Additionally, 2 studies assessed PID in relation
 studies will not be discussed further. We found a 32%                        to ovarian cancer risk but provided results only for ovarian
 higher risk of borderline ovarian tumors associated with a                   cancer and borderline tumors combined, thereby hamper-
 history of PID, and risk estimates above unity were noted                    ing a comparison with the present results (19, 21); Ness
 for nearly all individual studies. Furthermore, we observed                  et al. (21) reported null ﬁndings, and McAlpine et al. (19),
 similarly increased risks of serous and mucinous borderline                  in a Canadian cohort study, reported a 4-fold higher risk
 tumors associated with PID status. Our novel ﬁnding of a                     of ovarian cancer among women who had had PID.
 2-fold higher risk among women with multiple PID epi-                        Concerning the histotypes of ovarian cancer, indications
 sodes may reﬂect a true association between PID and the                      of an increased risk of low-grade serous cancer with PID
 risk of borderline ovarian tumors rather than being caused                   were noted in the main analysis. Conversely, no convinc-
 by chance or bias. Only 2 studies (SON and MAL, both                         ing associations between PID and the risk of high-grade
 included in the present analyses) have previously investi-                   serous, mucinous, clear cell, or endometrioid ovarian can-
 gated the association between PID and the risk of border-                    cer were noted in the main analyses. However, sensitivity
 line tumors (15, 18).                                                        analyses revealed statistically signiﬁcantly increased risks
    In the present study, the lack of any marked associations                 of low-grade serous and endometrioid ovarian cancers
 between PID and the risk of ovarian cancer overall is con-                   when using data from the North American studies only.
 sistent with results from 1 case-control study (22), whereas                 Other than 2 studies already included in the present pooled

                                                                                                           Am J Epidemiol. 2017;185(1):8–20
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 86 of 97 PageID: 75807
                                                                  Pelvic Inﬂammatory Disease and Risk of Ovarian Tumors      17


 analysis, no previous studies have assessed the association       study (MAL: 27%) and in a Canadian study (SON: 20%);
 between PID and the risk of ovarian cancer according to           the remaining 11 studies all had PID proportions below 6%.
 histotype. Although we cannot completely rule out the             Reasons for the differences in proportions among the studies
 possibility that these histotype-speciﬁc ﬁndings may be           may include geographic variation in the prevalence of PID-
 due to chance, the present study is the ﬁrst, to our knowl-       causing pathogens, different phrasing of the PID-related
 edge, to indicate differences in the risk proﬁle of ovarian       questions, or differences in the prevalence of high-risk sex-
 cancer histotypes with regard to PID. However, the low            ual behaviors. However, we believe that underestimation of
 number of exposed cases for most of the histotypes limited        PID exposure is the most likely cause for the low propor-
 the precision of the risk estimates, and our results must         tions of women with a history of PID in the majority of
 therefore be conﬁrmed by others.                                  studies, because previous studies from Sweden and the
    Nevertheless, our results suggest that PID may be differ-      United States have estimated lifetime prevalences of PID
 entially associated with the risk of ovarian tumors. Reasons      between 6% and 20% (12 14). In studies with self-reported
 for this difference are not known, but they may be associ-        data on PID exposure, including the present study, the true
 ated with different pathogeneses of the ovarian tumor histo-      proportion of women who have had PID might be underesti-
 types. Recently, the so-called dualistic model of ovarian         mated for several reasons women might have forgotten
 carcinogenesis proposed that borderline tumors are precur-        about a past PID episode, chosen not to report it, or had
 sors of type 1 (low-grade) ovarian cancers but unrelated to       unrecognized, subclinical PID. Hence, we cannot rule out
 type 2 (high-grade) ovarian cancers (46). According to this       the possibility that this misclassiﬁcation of PID status
 hypothesis, type 1 tumors include low-grade serous and            could have inﬂuenced our results. Interestingly, investiga-
 mucinous carcinomas, and these are believed to develop            tors in only 2 previous studies did not use self-reported
 along a continuum of tumor progression from adenoma to            data on PID but instead obtained information on PID from
 borderline tumor to invasive carcinoma (46). Clear cell and       a population-based health insurance database or used evi-
 low-grade endometrioid carcinomas are also type 1 cancers         dence of inﬂammation at surgery for tubal damage as a
 and are believed to develop from endometriosis. Our re-           proxy for previous PID, and both groups reported an
 sults demonstrated an association between PID and the risk        increased risk of ovarian cancer associated with PID (17,
 of borderline ovarian tumors and indicated that the risk of       19). Therefore, in future studies, researchers should con-
 low-grade serous cancer might also be increased, which ac-        sider using a more objective measure of PID, such as data
 cords well with the theory of a stepwise development from         obtained from reliable health registries or through serologi-
 a serous borderline tumor to low-grade serous cancer. In          cal testing for antibodies to PID-causing pathogens, includ-
 contrast, no associations between PID and high-grade              ing Chlamydia trachomatis and Neisseria gonorrhoeae.
 serous ovarian cancer were observed. Therefore, our results          Second, misclassiﬁcation of PID exposure might also
 suggest that PID is a risk factor for borderline and possibly     result when women mistakenly report bladder or vaginal
 also low-grade serous ovarian cancer, whereas no marked           infections as PID. However, we expect this misclassiﬁca-
 associations were observed for the other histotypes of ovar-      tion to be relatively infrequent, because in the majority of
 ian cancer. The possible underlying biological mechanisms         included studies, PID was deﬁned as diagnosed by a physi-
 responsible for this differential association between PID         cian, or the question speciﬁed that bladder or vaginal
 and ovarian tumor types are unknown and require further           infections were not included. Furthermore, the majority of
 investigation in epidemiologic and biological studies.            studies performed in-person interviews, thus allowing for
    A strength of the present study is the use of pooled data      potential uncertainties to be clariﬁed. Third, the retrospec-
 from 13 case-control studies. The large sample size resulted      tive design of case-control studies introduces the potential
 in increased statistical power and enabled us to estimate         for recall bias, in which case patients are more likely than
 risks according to invasiveness and histotype. Moreover, all      control participants to report past exposures. However, we
 the studies we included were population-based, and infor-         would not expect such overreporting to be differential with
 mation on PID was obtained through in-person interviews           respect to degree of invasiveness of diagnosed ovarian tu-
 in the majority of them. In addition, we used individual-         mors, and we therefore do not believe that this can explain
 level data carefully harmonized and entered into a single         the increased risk we observed for borderline tumors but
 data set. The use of a 2-stage approach (39) enabled us to        not for ovarian cancer. Fourth, surveillance bias is poten-
 account for differences in design and data collection             tially of concern, because women with PID symptoms may
 between studies and to control for several potential con-         undergo ultrasonography or laparoscopy during which the
 founders. Finally, all studies with the relevant exposure data    ovaries are visualized, leading to coincidental ﬁndings of
 in OCAC were included regardless of their individual re-          ovarian tumors. However, this potential surveillance bias is
 sults, thus removing the inﬂuence of publication bias.            probably minimal, because our sensitivity analyses exclud-
    Some limitations should also be mentioned. First, infor-       ing women with PID less than 1 3 years in the past re-
 mation about PID status was self-reported in all studies,         vealed virtually identical results as in the main analyses.
 and the proportion of control participants reporting an epi-      Fifth, only 5 studies had information on the number of PID
 sode of PID in the individual studies ranged from 0.4% to         episodes, and the absence of thorough information on this
 27%. Unfortunately, most studies had no data or insufﬁ-           exposure variable limited our ability to fully investigate
 cient data on treatment for PID, which could have added           and interpret any potential dose-response associations
 important information in terms of validating the PID diag-        between number of PID episodes and the risk of ovarian
 noses. The highest frequencies were reported in the Danish        cancer and borderline ovarian tumors. Finally, despite the

 Am J Epidemiol. 2017;185(1):8–20
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 87 of 97 PageID: 75808
 18   Rasmussen et al.


 large study size, we still had limited statistical power        of Medicine, University of Pittsburgh, Pittsburgh,
 because of small proportions of women with PID in some          Pennsylvania (Francesmary Modugno, Robert P. Edwards);
 of the categorical analyses and for some of the rarer histo-    Ovarian Cancer Center of Excellence, Magee-Women’s
 types, and we cannot completely rule out the possibility        Research Institute and Foundation, Pittsburgh,
 that some of the observed associations may have been be         Pennsylvania (Francesmary Modugno, Robert P. Edwards);
 due to the large number of comparisons; thus our results        Women’s Cancer Research Center, University of
 should be interpreted with caution.                             Pittsburgh Cancer Institute, Pittsburgh, Pennsylvania
    In conclusion, in this large, pooled analysis, we observed   (Francesmary Modugno, Robert P. Edwards); Department
 an increased risk of borderline ovarian tumors among            of Epidemiology, Graduate School of Public Health,
 women with a history of PID. These risks increased with         University of Pittsburgh, Pittsburgh, Pennsylvania
 the number of PID episodes. Conversely, we found no             (Francesmary Modugno); Department of Cancer
 association between PID and the risk of ovarian cancer          Prevention and Control, Roswell Park Cancer Institute,
 overall, but indications of an increased risk of low-grade      Buffalo, New York (Kirsten B. Moysich); School of Public
 serous cancer were noted. These ﬁndings suggest that PID        Health, University of Texas, Houston, Texas (Roberta B.
 may be a risk factor for borderline ovarian tumors and pos-     Ness); Department of Public Health Sciences, School of
 sibly for low-grade serous cancer, although no convincing       Medicine, University of Virginia, Charlottesville, Virginia
 associations were seen for other ovarian cancer histotypes.     (Joellen M. Schildkraut); Department of Obstetrics and
 However, until the speciﬁcity of the association is con-        Gynecology, Duke University Medical Center, Durham,
 ﬁrmed in additional epidemiologic and biological studies,       North Carolina (Andrew Berchuck); Department of
 the association between PID and ovarian cancer risk is still    Epidemiology and Biostatistics, Memorial Sloan Kettering
 somewhat uncertain.                                             Cancer Center, New York, New York (Sara H. Olson);
                                                                 Department for Health Evidence, Radboud University
                                                                 Medical Center, Nijmegen, the Netherlands (Lambertus A.
                                                                 Kiemeney); Department of Urology, Radboud University
 ACKNOWLEDGMENTS                                                 Medical Center, Nijmegen, the Netherlands (Lambertus A.
                                                                 Kiemeney); Department of Obstetrics and Gynaecology,
    Author afﬁliations: Virus, Lifestyle and Genes Unit,         Radboud University Medical Center, Nijmegen, the
 Danish Cancer Society Research Center, Copenhagen,              Netherlands (Leon F. A. G. Massuger); Women’s College
 Denmark (Christina B. Rasmussen, Susanne K. Kjaer,              Research Institute, University of Toronto, Toronto,
 Estrid Høgdall, Allan Jensen); Department of Gynecology,        Ontario, Canada (Steven A. Narod); Department of Cancer
 Rigshospitalet, University of Copenhagen, Copenhagen,           Epidemiology, Mofﬁtt Cancer Center, Tampa, Florida
 Denmark (Susanne K. Kjaer); Statistics, Bioinformatics          (Catherine M. Phelan); Department of Epidemiology,
 and Registry Unit, Danish Cancer Society Research Center,       Genetic Epidemiology Research Institute, Center for Cancer
 Copenhagen, Denmark (Vanna Albieri); Cancer Prevention          Genetics Research and Prevention, School of Medicine,
 and Control Program, Rutgers Cancer Institute of New            University of California, Irvine, Irvine, California (Hoda
 Jersey, Rutgers, State University of New Jersey, New            Anton-Culver); Department of Epidemiology, School of
 Brunswick, New Jersey (Elisa V. Bandera); Department of         Medicine, University of California, Irvine, Irvine, California
 Epidemiology, Geisel School of Medicine, Dartmouth              (Argyrios Ziogas); Department of Preventive Medicine,
 College, Lebanon, New Hampshire (Jennifer A. Doherty);          Norris Comprehensive Cancer Center, Keck School of
 Department of Community and Family Medicine, Geisel             Medicine, University of Southern California, Los Angeles,
 School of Medicine, Dartmouth College, Lebanon, New             California (Anna H. Wu, Celeste L. Pearce); Department of
 Hampshire (Jennifer A. Doherty); Molecular Unit,                Epidemiology, School of Public Health, University of
 Department of Pathology, Herlev Hospital, University of         Michigan, Ann Arbor, Michigan (Celeste L. Pearce); and
 Copenhagen, Copenhagen, Denmark (Estrid Høgdall);               Department of Chronic Disease Epidemiology, Yale School
 Population Health Department, QIMR Berghofer Medical            of Public Health, Yale University, New Haven, Connecticut
 Research Institute, Herston, Queensland, Australia              (Harvey A. Risch).
 (Penelope M. Webb, Susan J. Jordan); Program in                    This work was supported by the European
 Epidemiology, Division of Public Health Sciences, Fred          Commission’s Seventh Framework Programme grant
 Hutchinson Cancer Research Center, Seattle, Washington          223175 (HEALTH-F2-2009-223175). It was also
 (Mary Anne Rossing, Kristine G. Wicklund); Department           supported by the US National Institutes of Health (grants
 of Epidemiology, School of Public Health, University of         R01 CA074850 and R01 CA080742 (CON); R01
 Washington, Seattle, Washington (Mary Anne Rossing);            CA112523 and R01 CA87538 (DOV); R01 CA58598,
 Cancer Prevention and Control, Samuel Oschin                    N01 CN55424, and N01 PC 67001 (HAW); R01
 Comprehensive Cancer Institute, Cedars-Sinai Medical            CA95023, K07 CA080668, and P50 CA159981 (HOP);
 Center, Los Angeles, California (Marc T. Goodman);              R01 CA61107 (MAL); R01 CA76016 (NCO); P30
 Community and Population Health Research Institute,             CA072720, K07 CA095666, R01 CA83918, and K22
 Department of Biomedical Sciences, Cedars-Sinai Medical         CA138563 (NJO); R01 CA063678, R01 CA149429, and
 Center, Los Angeles, California (Marc T. Goodman);              R01 CA063682 (TOR); R01 CA058860, R01 CA092044,
 Division of Gynecologic Oncology, Department of                 and PSA 042205 (UCI); P01 CA17054, P30 CA14089,
 Obstetrics, Gynecology and Reproductive Sciences, School        R01 CA61132, N01 PC67010, R03 CA113148, R03

                                                                                          Am J Epidemiol. 2017;185(1):8–20
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 88 of 97 PageID: 75809
                                                                     Pelvic Inﬂammatory Disease and Risk of Ovarian Tumors           19


 CA115195, and N01 CN025403 (USC)); Danish Cancer                      9. Shan W, Liu J. Inﬂammation: a hidden path to breaking the
 Society (grant 94 222 52 (MAL)); Mermaid 1 (MAL); US                     spell of ovarian cancer. Cell Cycle. 2009;8(19):3107 3111.
 Army Medical Research and Materiel Command (grant                    10. Brunham RC, Gottlieb SL, Paavonen J. Pelvic inﬂammatory
 DAMD17-01-1-0729) (AUS); National Health and Medical                     disease. N Engl J Med. 2015;372(21):2039 2048.
                                                                      11. Sutton MY, Sternberg M, Zaidi A, et al. Trends in pelvic
 Research Council of Australia (grants 199600 and 400281
                                                                          inﬂammatory disease hospital discharges and ambulatory
 (AUS)); Cancer Councils of New South Wales, Victoria,                    visits, United States, 1985 2001. Sex Transm Dis. 2005;
 Queensland, South Australia, and Tasmania (AUS);                         32(12):778 784.
 Cancer Foundation of Western Australia (AUS); US                     12. Aral SO, Mosher WD, Cates W Jr. Self reported pelvic
 Department of Defense (grants DAMD17-02-1-0669                           inﬂammatory disease in the US: a common occurrence. Am J
 (HOP) and DAMD17-02-1-0666 (NCO)); Cancer Institute                      Public Health. 1985;75(10):1216 1218.
 of New Jersey (NJO); Radboud University Nijmegen                     13. Leichliter JS, Chandra A, Aral SO. Correlates of self reported
 Medical Centre (NTH); Lon V Smith Foundation (grant                      pelvic inﬂammatory disease treatment in sexually
 LVS-39420 (UCI)); and California Cancer Research                         experienced reproductive aged women in the United States,
 Program (grants 00-01389V-20170 and 2II0200 (USC)).                      1995 and 2006 2010. Sex Transm Dis. 2013;40(5):413 418.
                                                                      14. Weström L. Decrease in incidence of women treated in
 The Ovarian Cancer Association Consortium is supported
                                                                          hospital for acute salpingitis in Sweden. Genitourin Med.
 by a grant from the Ovarian Cancer Research Fund.                        1988;64(1):59 63.
    Penelope Webb and Susan Jordan wrote on behalf of the             15. Risch HA, Howe GR. Pelvic inﬂammatory disease and the
 Australian Ovarian Cancer Study Group. The Australian                    risk of epithelial ovarian cancer. Cancer Epidemiol
 group thanks all the clinical and scientiﬁc collaborators for            Biomarkers Prev. 1995;4(5):447 451.
 their contribution (AUS). The cooperation of the 32                  16. Shu XO, Brinton LA, Gao YT, et al. Population based
 Connecticut hospitals, including Stamford Hospital, in                   case control study of ovarian cancer in Shanghai. Cancer
 allowing patient access is gratefully acknowledged (CON).                Res. 1989;49(13):3670 3674.
 The MAL study is grateful to Nick Martinussen for data               17. Lin HW, Tu YY, Lin SY, et al. Risk of ovarian cancer in
 management assistance. We are grateful to the family and                 women with pelvic inﬂammatory disease: a population based
                                                                          study. Lancet Oncol. 2011;12(9):900 904.
 friends of Kathryn Sladek Smith for their generous support
                                                                      18. Rasmussen CB, Faber MT, Jensen A, et al. Pelvic
 of the Ovarian Cancer Association Consortium through                     inﬂammatory disease and risk of invasive ovarian cancer and
 their donations to the Ovarian Cancer Research Fund.                     ovarian borderline tumors. Cancer Causes Control. 2013;
    Certain data from the Connecticut Ovarian Cancer Study                24(7):1459 1464.
 were obtained from the Connecticut Tumor Registry,                   19. McAlpine JN, Lisonkova S, Joseph KS, et al. Pelvic
 Connecticut Department of Public Health. The Connecticut                 inﬂammation and the pathogenesis of ovarian cancer: a
 Ovarian Cancer Study investigators assume full                           cohort study. Int J Gynecol Cancer. 2014;24(8):1406 1413.
 responsibility for analyses and interpretation of these data.        20. Merritt MA, Green AC, Nagle CM, et al. Talcum powder,
    Conﬂict of interest: none declared.                                   chronic pelvic inﬂammation and NSAIDs in relation to risk of
                                                                          epithelial ovarian cancer. Int J Cancer. 2008;122(1):170 176.
                                                                      21. Ness RB, Grisso JA, Cottreau C, et al. Factors related to
                                                                          inﬂammation of the ovarian epithelium and risk of ovarian
 REFERENCES                                                               cancer. Epidemiology. 2000;11(2):111 117.
                                                                      22. Parazzini F, La Vecchia C, Negri E, et al. Pelvic
  1. Torre LA, Bray F, Siegel RL, et al. Global cancer statistics,        inﬂammatory disease and risk of ovarian cancer. Cancer
     2012. CA Cancer J Clin. 2015;65(2):87 108.                           Epidemiol Biomarkers Prev. 1996;5(8):667 669.
  2. Schuler S, Ponnath M, Engel J, et al. Ovarian epithelial         23. Wu AH, Pearce CL, Tseng CC, et al. Markers of
     tumors and reproductive factors: a systematic review. Arch           inﬂammation and risk of ovarian cancer in Los Angeles
     Gynecol Obstet. 2013;287(6):1187 1204.                               County. Int J Cancer. 2009;124(6):1409 1415.
  3. Rice MS, Murphy MA, Tworoger SS. Tubal ligation,                 24. Gates MA, Rosner BA, Hecht JL, et al. Risk factors for
     hysterectomy and ovarian cancer: a meta analysis. J Ovarian          epithelial ovarian cancer by histologic subtype. Am J
     Res. 2012;5(1):13.                                                   Epidemiol. 2010;171(1):45 53.
  4. Terry KL, Karageorgi S, Shvetsov YB, et al. Genital powder       25. Ramus SJ, Vierkant RA, Johnatty SE, et al. Consortium
     use and risk of ovarian cancer: a pooled analysis of 8,525           analysis of 7 candidate SNPs for ovarian cancer. Int J
     cases and 9,859 controls. Cancer Prev Res (Phila). 2013;             Cancer. 2008;123(2):380 388.
     6(8):811 821.                                                    26. Bandera EV, King M, Chandran U, et al. Phytoestrogen
  5. Pearce CL, Templeman C, Rossing MA, et al. Association               consumption from foods and supplements and epithelial
     between endometriosis and risk of histological subtypes of           ovarian cancer risk: a population based case control study.
     ovarian cancer: a pooled analysis of case control studies.           BMC Womens Health. 2011;11:40.
     Lancet Oncol. 2012;13(4):385 394.                                27. Bodelon C, Cushing Haugen KL, Wicklund KG, et al. Sun
  6. Fathalla MF. Incessant ovulation a factor in ovarian                 exposure and risk of epithelial ovarian cancer. Cancer Causes
     neoplasia? [letter]. Lancet. 1971;2(7716):163.                       Control. 2012;23(12):1985 1994.
  7. Cramer DW, Welch WR. Determinants of ovarian cancer              28. Glud E, Kjaer SK, Thomsen BL, et al. Hormone therapy and
     risk. II. Inferences regarding pathogenesis. J Natl Cancer           the impact of estrogen intake on the risk of ovarian cancer.
     Inst. 1983;71(4):717 721.                                            Arch Intern Med. 2004;164(20):2253 2259.
  8. Ness RB, Cottreau C. Possible role of ovarian epithelial         29. van Altena AM, van Aarle S, Kiemeney LA, et al. Adequacy
     inﬂammation in ovarian cancer. J Natl Cancer Inst. 1999;             of family history taking in ovarian cancer patients: a
     91(17):1459 1467.                                                    population based study. Fam Cancer. 2012;11(3):343 349.


 Am J Epidemiol. 2017;185(1):8–20
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 89 of 97 PageID: 75810
 20   Rasmussen et al.


 30. Wetzels JF, Kiemeney LA, Swinkels DW, et al. Age and                invasive ovarian cancer. Gynecol Oncol. 2011;121(2):
     gender speciﬁc reference values of estimated GFR in                 353 357.
     Caucasians: the Nijmegen Biomedical Study. Kidney Int.          38. Risch HA, Jain M, Marrett LD, et al. Dietary fat intake and
     2007;72(5):632 637.                                                 risk of epithelial ovarian cancer. J Natl Cancer Inst. 1994;
 31. Goodman MT, Lurie G, Thompson PJ, et al. Association of             86(18):1409 1415.
     two common single nucleotide polymorphisms in the               39. Stukel TA, Demidenko E, Dykes J, et al. Two stage methods
     CYP19A1 locus and ovarian cancer risk. Endocr Relat                 for the analysis of pooled data. Stat Med. 2001;20(14):
     Cancer. 2008;15(4):1055 1060.                                       2115 2130.
 32. Lo Ciganic WH, Zgibor JC, Bunker CH, et al. Aspirin,            40. DerSimonian R, Laird N. Meta analysis in clinical trials.
     nonaspirin nonsteroidal anti inﬂammatory drugs, or                  Control Clin Trials. 1986;7(3):177 188.
     acetaminophen and risk of ovarian cancer. Epidemiology.         41. Leffondré K, Abrahamowicz M, Siemiatycki J, et al.
     2012;23(2):311 319.                                                 Modeling smoking history: a comparison of different
 33. Pike MC, Pearce CL, Peters R, et al. Hormonal factors and           approaches. Am J Epidemiol. 2002;156(9):813 823.
     the risk of invasive ovarian cancer: a population based         42. Massey FJ Jr. The Kolmogorov Smirnov test for goodness of
     case control study. Fertil Steril. 2004;82(1):186 195.              ﬁt. J Am Stat Assoc. 1951;46(253):68 78.
 34. Risch HA, Bale AE, Beck PA, et al. PGR +331 A/G and             43. Gilks CB, Ionescu DN, Kalloger SE, et al. Tumor cell type
     increased risk of epithelial ovarian cancer. Cancer Epidemiol       can be reproducibly diagnosed and is of independent
     Biomarkers Prev. 2006;15(9):1738 1741.                              prognostic signiﬁcance in patients with maximally debulked
 35. Schildkraut JM, Iversen ES, Wilson MA, et al. Association           ovarian carcinoma. Hum Pathol. 2008;39(8):1239 1251.
     between DNA damage response and repair genes and risk of        44. Hussain SP, Harris CC. Inﬂammation and cancer: an ancient
     invasive serous ovarian cancer. PLoS One. 2010;5(4):                link with novel potentials. Int J Cancer. 2007;121(11):
     e10061.                                                             2373 2380.
 36. Ziogas A, Gildea M, Cohen P, et al. Cancer risk estimates for   45. Vang R, Shih I, Kurman RJ. Fallopian tube precursors of
     family members of a population based family registry for            ovarian low and high grade serous neoplasms.
     breast and ovarian cancer. Cancer Epidemiol Biomarkers              Histopathology. 2013;62(1):44 58.
     Prev. 2000;9(1):103 111.                                        46. Kurman RJ, Shih I. Molecular pathogenesis and extraovarian
 37. Zhang S, Royer R, Li S, et al. Frequencies of BRCA1 and             origin of epithelial ovarian cancer shifting the paradigm.
     BRCA2 mutations among 1,342 unselected patients with                Hum Pathol. 2011;42(7):918 931.




                                                                                               Am J Epidemiol. 2017;185(1):8–20
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 90 of 97 PageID: 75811




                       Exhibit 110
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 91 of 97 PageID: 75812
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 92 of 97 PageID: 75813
L.M. Stewart et al.                                                                                                        Cancer Epidemiology 55 (2018) 110–116


ovarian, fallopian tube and peritoneal cancers and classiﬁed tumours                extended back to 1 January 1970. We used WA’s Hospital Morbidity
according to histological pathways; one [11] grouped together invasive              Data Collection [43] to identify the study population and also to deﬁne
ovarian, fallopian tube and peritoneal serous cancers with high grade               many of the exposure variables. The remaining exposure variables and
endometrioid and undiﬀerentiated tumours into the Type 2 category                   the outcome variable were identiﬁed through linkage to other state
[11,19], whilst another [19] created three categories and grouped high              wide demographic and health databases using WA’s data linkage system
grade serous together with undiﬀerentiated tumours. A third classiﬁed               [44]. Linkage to the WA Deaths Register enabled the identiﬁcation of
serous ovarian and peritoneal cancers into three grades: well, moder                deaths to allow for censoring in survival analysis. Linkage to the WA
ately and poorly diﬀerentiated [30]. Three others considered high                   Midwives Notiﬁcation System allowed the identiﬁcation of births and
grade serous tumours of the ovary but did not mention fallopian tube or             parity related variables from 1980; the WA Births Register was used to
peritoneal tumours [12,13,22].                                                      identify births in the period 1970 1980. The WA Electoral Roll, with
    It is generally established that increasing parity is associated with a         information available from 1988 onward, was used to identify women
reduced risk of ovarian cancer, although this association diﬀers across             who were not registered to vote or who had moved interstate. Ovarian
subtypes with the greatest reduction in risk for endometrioid and clear             cancer and breast cancer cases were identiﬁed from the WA Cancer
cell, the least reduction for serous and some heterogeneity across stu              Registry.
dies of mucinous subtypes [8,9,11,12,14,16,17,19,21,26,28 31]. It is                    The state of WA, although geographically isolated, has a dynamic
possible that the diﬀerent hormonal milieu seen in women carrying                   population, experiencing both inward and outward migration. This has
multiple pregnancies may lead to a modiﬁcation in ovarian cancer risk,              the potential to lead to bias due to misclassiﬁcation of early exposures
although most studies have not found an association between ovarian                 in women who migrate into the state, and loss to follow up in women
cancer overall and twin pregnancies [32 39].                                        who migrate out. For this reason, we excluded women whose hospital
    Endometriosis appears to be associated with an increased risk of                records showed they were overseas visitors or resided out of the state,
endometrioid and clear cell subtypes [19,20]; possibly associated with              and women whose cancer records showed that ovarian cancer was di
an increased risk of low grade serous but perhaps not high grade serous             agnosed out of the state. We also excluded women for whom we did not
tumours [22,30].                                                                    have WA Electoral Roll records, and women whose Electoral Roll re
    Findings with regard to tubal ligation are contradictory: some ﬁnd a            cords showed they had moved out of the state (Fig. 1). With only a few
reduced risk of serous ovarian cancer [10,16,21,24,26] whilst others do             exceptions, all Australian citizens are required to register on the Elec
not [14,18,25,27,30]. An early study by Risch [26] examining the as                 toral Roll and to update their residential address soon after moving
sociation between hysterectomy and serous ovarian cancer found a                    [45]. We also conducted comparative and sensitivity analyses to assess
reduced risk, though later studies have generally not found an asso                 the impact of inward and outward migration on our risk estimates,
ciation [11,14,19,21,25,30].                                                        comparing the ﬁnal cohort of women which included only those known
    It has been speculated that chronic inﬂammation resulting from                  to be resident in WA with a larger preliminary cohort that also included
pelvic inﬂammatory disease (PID) may play a role in ovarian carcino                 women who were not known to be WA residents.
genesis [40]. This association has been investigated by a number of
authors, with contradictory ﬁndings. Risch et al. [26] found that self              2.2. Exposure variables
reported recurrent PID was associated with an increased risk of ovarian
cancer overall, whereas Ness et al. [41] found only a weak association                  We examined the association between HGSC and diagnoses of in
between the two. A pooled analysis of individual level data did not ﬁnd             fertility, endometriosis and PID; parity and plurality (the delivery of
an association between self reported PID and either serous or high                  twins and higher order multiples); tubal ligation; hysterectomy without
grade serous ovarian cancer [42]. A subsequent record linkage study                 salpingectomy or oophorectomy; unilateral salpingectomy, oophor
[23] found an association between hospital diagnosed PID and serous                 ectomy or salpingo oophorectomy (USO) without hysterectomy and a
ovarian cancer.                                                                     personal history of breast cancer. We did not examine the association
    A family history of breast or ovarian cancer, usually in the mother             with hysterectomy plus USO.
or sister, has often been included in multivariable analyses of risk fac                Diagnoses and procedures were recorded in the Hospital Morbidity
tors for serous [9,16,21,30], and high grade serous [30] ovarian cancer.            Data Collection and coded according to contemporaneous International
Identifying cancers in only ﬁrst degree relatives may underestimate risk            Classiﬁcation of Diseases (ICD) codes, including ICD 8, ICD 9 and ICD
as it does not take into account inheritance of cancer susceptibility               10 AM diagnostic codes and COSO (Code of Surgical Operations), ICPM
genes from the paternal line. A personal history of breast cancer has               (International Classiﬁcation of Procedures in Medicine), ICD 9 and
generally not been investigated.                                                    ACHI (Australian Classiﬁcation of Health Interventions) procedure
    The aim of the present study was to examine the association be                  codes. Diagnostic and procedure codes used to identify each study
tween HGSC and a number of ovarian cancer risk factors, including                   variable are listed in Supplementary Table 1. We included any mention
parity, plurality (the delivery of twins and higher order multiples),               of the diagnosis or procedure whether it was recorded as a principal or
endometriosis, infertility, PID, hysterectomy, unilateral salpingo oo               additional diagnosis or a principal or additional procedure. Exposure
phorectomy, tubal ligation and a personal history of breast cancer.                 variables were reported as categorical time varying binary variables,
                                                                                    with exposure changing from 0 to 1 (unexposed to exposed) at the date
2. Methods                                                                          of the relevant diagnosis or procedure or birth of third child. We
                                                                                    compared women whose hospital records mentioned the diagnosis or
2.1. The study population                                                           procedure, with women whose hospital records had no mention of the
                                                                                    diagnosis or procedure.
    This study was conducted in Western Australia (WA), the largest                     We used a binary classiﬁcation for parity, comparing women who
state in Australia with a geographic area of 2,529,875 square kilometres            delivered 3 or more children with women who delivered 0, 1 or 2. The
and a population of 2.59 million (11% of the total Australian popula                reason for this was because of the possibility of misclassiﬁcation of
tion). The majority of the population resides in the south west corner of           parity in women who only gave birth before 1970 or out of WA. Women
the state.                                                                          who gave birth either prior to 1970 or out of WA and did not have any
    This was a population based cohort study. The study population                  subsequent deliveries in WA were classiﬁed as nulliparous because we
included all women, born between 1945 and 1975 inclusive, residing in               did not have any information on deliveries in these women. Women
WA, who had been admitted to hospital in WA at any time between 1                   who gave birth out of WA or prior to 1970 and had subsequent de
January 1980 and 30 June 2014. Hospital records for these women                     liveries in WA were correctly classiﬁed. We reasoned that this

                                                                              111
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 93 of 97 PageID: 75814
L.M. Stewart et al.                                                                                                                   Cancer Epidemiology 55 (2018) 110–116


                                                                                       Table 1
                                                                                       Characteristics of the study population.
                                                                                        Characteristic
                                                                                        Number of women                                                441,382
                                                                                        Total duration of follow-up (person-years)                     23,206,070
                                                                                        Mean age at end of follow-up (years), (SD)                     52.6 (8.7)
                                                                                        Number of women diagnosed with HGSC                            454
                                                                                        Median year of HGSC diagnosis, (range)                         2008 (1987-2014)
                                                                                        Mean age at diagnosis of HGSC (years) (SD)                     54.4 (7.5)

                                                                                        Infertility
                                                                                        Number (%) with a diagnosis of infertility                     28,859 (6.5%)
                                                                                        Mean age at ﬁrst infertility diagnosis (years), (SD)           32.7 (5.7)
                                                                                        Number with a diagnosis of infertility and a later diagnosis   24
                                                                                            of HGSC

                                                                                        Endometriosis
                                                                                        Number (%) with a diagnosis of endometriosis                   34,552 (7.8%)
                                                                                        Mean age at ﬁrst endometriosis diagnosis (years), (SD)         38.4 (8.2)
                                                                                        Number with a diagnosis of endometriosis and a later           28
                                                                                           diagnosis of HGSC

                                                                                        PID
                                                                                        Number (%) with a diagnosis of PID                             33,335 (7.6%)
                                                                                        Mean age at ﬁrst PID diagnosis (years), (SD)                   34.4 (9.4)
                                                                                        Number with a diagnosis of PID and a later diagnosis of        39
                                                                                            HGSC

                                                                                        Hysterectomy without salpingectomy or oophorectomy
                                                                                        Number who had a hysterectomy (%)                              47,947 (10.9%)
                                                                                        Mean age at hysterectomy (years), (SD)                         41.5 (7.4)
                                                                                        Number with a hysterectomy and a later diagnosis of HGSC       64

                                                                                        USO, US or UO without hysterectomy
                                                                                        Number who had a USO (%)                                       6887 (1.6%)
                                                                                        Mean age at USO (years), (SD)                                  39.5 (10.2)
                                                                                        Number with a USO and later diagnosis of HGSC                  < 101

                                                                                        Tubal ligation
                                                                                        Number who had tubal ligation (%)                              78,639 (17.8%)
                                                                                        Mean age at tubal ligation (years), (SD)                       33.7 (5.4)
                                                                                        Number with tubal ligation and a later diagnosis of HGSC       85

                                                                                        Plural delivery
                                                                                        Number who had a plural delivery                               9,490 (2.2%)
                                                                                        Mean age at ﬁrst plural delivery (years), (SD)                 30.1 (5.6)
                                                                                        Number with a plural delivery and a later diagnosis of HGSC    12

                                                                                        Parity
                                                                                        Number (%) with three or more births                           123,777 (28.0%)
                                                                                        Mean age at birth of third child (years), (SD)                 30.4 (5.0)
                                                                                        Number who had three or more births and were later             87
                                                                                            diagnosed with HGSC

                                                                                        Personal history of breast cancer
                                                                                        Number (%) with a personal history of breast cancer            12,168 (2.8%)
                                                                                        Mean age at breast cancer diagnosis (years), (SD)              49.6 (8.5)
                                                                                        Number with a personal history of breast cancer and a later    37
                                                                                            diagnosis of HGSC

                                                                                         1
                                                                                           Actual number not presented in accordance with data conﬁdentiality
                                                                                       agreement.


Fig. 1. Flow chart showing cohort selection with eligible and ineligible study
participants.                                                                          2.3. Outcome variable

                                                                                           The outcome of interest was a diagnosis of HGSC. Data were ob
                                                                                       tained from the WA Cancer registry and classiﬁcation of ovarian cancer
                                                                                       subtypes was reviewed and revised where appropriate [46]. Conse
misclassiﬁcation was much less likely in women who delivered three or                  quently, HGSC included correctly classiﬁed ovarian, tubal and perito
more children than in women who delivered one or two. Preliminary                      neal high grade serous carcinomas.
investigation and sensitivity analyses supported this assumption.
    Plurality was included as a binary variable, with women who de                     2.4. Data analysis
livered twins, triplets and higher order multiples grouped together.
    We also considered a personal history of breast cancer. Cases were                     Data were analysed using Cox regression with time varying cov
identiﬁed from the WA Cancer Registry (from 1982), with earlier cases                  ariates. We used age as the time scale. Women were followed from birth
(between 1970 and 1982) identiﬁed from the Hospital Morbidity Data                     until the censor date of 30 June 2014, or a diagnosis of HGSC or any
Collection.                                                                            type of ovarian cancer, or death, whichever came ﬁrst. Follow up was
                                                                                       also censored at the time of bilateral salpingo oophorectomy (BSO) or

                                                                                 112
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 94 of 97 PageID: 75815
L.M. Stewart et al.                                                                                                             Cancer Epidemiology 55 (2018) 110–116


Table 2                                                                                 The University of Notre Dame Human Research Ethics Committees.
Association between risk factors and the rate of HGSC. Unadjusted and adjusted
hazard ratios (HRs) with 95% conﬁdence intervals (CIs).                                 3. Results
  Exposure1                        Unadjusted HR2 (95%   Adjusted HR3 (95%
                                   CI)                   CI)                            3.1. The cohort

  Infertility                      1.24 (0.82-1.88)      1.12 (0.73-1.71)
                                                                                            A total of 583,488 women, born between 1 January 1945 and 31
  Endometriosis                    0.85 (0.58-1.25)      0.82 (0.55-1.22)
  PID                              1.36 (0.98-1.89)      1.47 (1.04-2.07)               December 1975 had a hospital admission in WA between 1 January
  Hysterectomy 4                   0.89 (0.68-1.16)      0.94 (0.71-1.24)               1980 and 30 June 2014. We excluded women not known to be resident
  USO5                             0.55 (0.20-1.46)      0.48 (0.18-1.29)               in WA, as described in Fig. 1, and derived a ﬁnal cohort numbering
  Tubal ligation                   0.78 (0.62-0.99)      0.83 (0.65-1.06)
                                                                                        441,382.
  Plural delivery6                 1.48 (0.84-2.63)      1.59 (0.89-2.82)
  High parity                      0.61 (0.48-0.77)
                                                                                            A total of 454 women were diagnosed with HGSC. The average age
  Breast cancer                    3.54 (2.52-4.98)                                     at diagnosis was 54.4 years (Table 1); (median 55.4 years).
  Parity and breast cancer7                                                                 Endometriosis was the most common gynecological diagnosis,
  No breast cancer, low parity8                          1.00 (ref)                     identiﬁed in 7.8% of women in our cohort. PID was diagnosed in 7.6%
  No breast cancer, high parity9                         0.57 (0.44-0.73)
                                                                                        of women and infertility in 6.5%. The most common gynaecological
  Breast cancer, low parity                              2.79 (1.85-4.20)
  Breast cancer, high parity                             4.14 (2.32-7.39)               surgery was tubal ligation, in 17.8% of the women. Breast cancer was
                                                                                        identiﬁed in 2.8% of women (Table 1).
  1
     Reference levels for each variable are for the unexposed. For example, for
infertility, the HR for the group of women who had no mention of infertility in         3.2. Association between risk factors and HGSC
any hospital record was 1.00.
  2
     Age is used as the time scale, hence unadjusted HRs are eﬀectively age-                We ﬁrst examined the association between exposure variables and
adjusted.                                                                               the rate of HGSC in unadjusted analysis, and then included all exposure
  3
     Each HR is derived from a model that includes all the listed variables.            variables in the ﬁnal multivariable model (see Table 2).
  4
     Hysterectomy without oophorectomy or salpingectomy.                                    Neither infertility nor endometriosis appeared to be associated with
  5
     Unilateral salpingectomy, oophorectomy or salpingo-oophorectomy                    an increased risk of HGSC in either unadjusted or adjusted analyses.
without hysterectomy.                                                                   Women in our cohort diagnosed with PID had a 47% increased rate of
  6
     The delivery of twins and higher order multiples.
  7
                                                                                        HGSC compared to women with no such diagnosis (Table 2).
     There was signiﬁcant interaction between parity and breast cancer
                                                                                            There did not appear to be an association between hysterectomy
(p = 0.015). Therefore, results for parity and breast cancer are presented se-
                                                                                        and HGSC. Tubal ligation was associated with a 17% reduction in risk
parately at each level of each variable.
  8
                                                                                        but conﬁdence intervals included one (Table 2).
     Women of low parity have had 0, 1 or 2 births.
  9                                                                                         The delivery of twins and higher order multiples was associated
     Women of high parity have had 3 or more births.
                                                                                        with a 59% increased rate of HGSC with conﬁdence intervals that also
                                                                                        included one (Table 2).
bilateral oophorectomy (BO); unilateral oophorectomy after a previous
                                                                                            Increased parity (3 or more births, compared with 0, 1 or 2 births)
unilateral oophorectomy; hysterectomy with BSO or BO, or hyster
                                                                                        was associated with a reduced risk of HGSC whereas a personal history
ectomy where salpingo oophorectomy was not speciﬁed as bilateral or
                                                                                        of breast cancer was associated with an increased risk. A total of 12,168
unilateral. All exposure variables were time varying, that is, the value
                                                                                        women had a personal history of breast cancer; of these, 37 had a later
of the binary exposure variables changed from 0 to 1 at the time of
                                                                                        diagnosis of HGSC (Table 1). We observed a signiﬁcant interaction
exposure.
                                                                                        between parity and breast cancer, and for this reason, present results for
    Data were analyzed ﬁrst in unadjusted models and then in multi
                                                                                        each category separately.
variable models. Because age was used as the time scale, all models
                                                                                            Among women without breast cancer, higher parity was associated
were eﬀectively age adjusted. All variables included in the multi
                                                                                        with a 43% reduced rate of HGSC (Table 2). This was not the case in
variable model are listed in Table 2. We checked for interactions be
                                                                                        women with a history of breast cancer where the HR associated with
tween all the study variables. We tested the proportional hazards as
                                                                                        higher parity was 1.48, (95% CI 0.74 2.95) (data not shown, but this
sumption by examining Schoenfeld residuals in the initial univariate
                                                                                        can be estimated by dividing 4.14 by 2.79 (see Table 2)).
and ﬁnal multivariable models and did not ﬁnd any evidence for an
                                                                                            A personal history of breast cancer was associated with an almost 3
overall violation of the assumption.
                                                                                        fold increase in the rate of HGSC in women of low parity (women with
    Because age was used as the time scale, hazard rates could be in
                                                                                        0, 1 or 2 births) and a 4 fold increase in the rate of HGSC in women of
terpreted as age speciﬁc incidence rates of HGSC. However, the semi
                                                                                        high parity (women with 3 or more births) (Table 2).
parametric Cox model produces only relative hazard rates (hazard rate
                                                                                            Among women of high parity, a personal history of breast cancer
ratios) rather than hazard rates. To visualise age speciﬁc incidence
                                                                                        was associated with a 7.30 times increased rate of HGSC (95% CI
rates of HGSC by parity in this cohort, ﬂexible parametric proportional
                                                                                        3.96 13.46) (this can be estimated by dividing 4.14 by 0.57 (see
hazards (Royston Parmar) models were employed [47]. Spline func
                                                                                        Table 2)).
tions with one internal knot were used to model the baseline hazards,
                                                                                            Spline functions were used to graph the association between a wo
while parity was included as a time dependent spline function with one
                                                                                        man’s age and the rate of HGSC. We compared women of low and high
internal knot. This allowed us to investigate subtle changes in the
                                                                                        parity (women with 0, 1 or 2 births compared with women with 3 or
proportionality of hazards with age which we have represented gra
                                                                                        more births). Age speciﬁc rates of HGSC were lower in women of higher
phically.
                                                                                        parity throughout their middle years. The diﬀerence between parity
    Data were analysed using SPSS version 24 (IBM) and Stata version
                                                                                        groups diminished as women approached their mid 60 s (Fig. 2).
14 (StataCorp, College Station, Texas).
                                                                                        3.3. Comparative and sensitivity analyses
2.5. Ethics
                                                                                           To estimate the impact of potential misclassiﬁcation due to inward
  This study was approved by Department of Health Custodians, the                       and outward migration, we conducted comparative and sensitivity
WA Department of Health Ethics Committee and Curtin University and                      analyses comparing ﬁndings from a cohort which included both WA

                                                                                  113
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 95 of 97 PageID: 75816
L.M. Stewart et al.                                                                                                                Cancer Epidemiology 55 (2018) 110–116


                                                                                           with serous [14,28] or high grade serous [14] carcinoma. Our analysis
                                                                                           of age speciﬁc rates suggested that this parity associated risk reduction
                                                                                           attenuates over time, so that as women approach their mid 60 s, the
                                                                                           reduced risk associated with higher parity diminishes. This observation
                                                                                           ﬁnds support from studies of McGuire et al. [52] and might help to
                                                                                           explain why some studies have found that older age at delivery is as
                                                                                           sociated with a reduced ovarian cancer risk [53,54] with a later de
                                                                                           livery extending parity related protection further into middle age.
                                                                                               Among women with a personal history of breast cancer, there did
                                                                                           not appear to be a reduced risk of HGSC associated with high parity.
                                                                                           Instead, we found a 48% increase in the risk of HGSC in women of
                                                                                           increased parity, although the statistical evidence was weak. Many
                                                                                           studies have examined ovarian cancer risk in BRCA mutation carriers
                                                                                           [55 57]. Some of these found a reduced risk of ovarian cancer asso
                                                                                           ciated with increasing parity in BRCA1 carriers, but not in BRCA2
                                                                                           carriers [55,56]. It is possible that the long held association between
                                                                                           parity and ovarian cancer and in particular, HGSC, may not hold for all
Fig. 2. Predicted age-speciﬁc rates of HGSC in women without a history of
                                                                                           subgroups of the population, in particular, for older women and women
breast cancer stratiﬁed by periods of time having had less than three births and
                                                                                           with a personal history of breast cancer.
periods of time having had three or more births. Predictions adjusted for in-
fertility, endometriosis, PID, hysterectomy, USO, sterilisation, plurality, parity
                                                                                               We did not ﬁnd any evidence for an association between HGSC and
and breast cancer and the interaction between parity and breast cancer. All the            hysterectomy without salpingo oophorectomy. This is consistent with
above variables set at 0 for the predicted parity rates. Shading represents                most studies examining the association with serous ovarian cancer
95%CI.                                                                                     [11,14,21,25,30]. Few papers report the association speciﬁcally with
                                                                                           HGSC, but where they do, they generally ﬁnd a weaker association
                                                                                           between hysterectomy and HGSC than between hysterectomy and other
residents and non residents (n = 583,488) with our ﬁnal cohort which
                                                                                           ovarian cancer subtypes [30].
included only women known to be WA residents (n = 441,382). Our
                                                                                               We found a small, 17% reduction in risk of HGSC associated with
overall conclusions were the same irrespective of which cohort we
                                                                                           tubal ligation, though with conﬁdence intervals that included one.
chose and HR estimates for all variables were similar. The estimate for
                                                                                           Findings from other groups are mixed; for example Gaitskell et al. [13]
higher parity (comparing women with 3 or more births with women
                                                                                           found a signiﬁcant 23% reduction in risk of HGSC associated with tubal
with 0, 1 or 2 births) was slightly closer to the null in the larger cohort,
                                                                                           ligation whereas Wentzensen [30] found a non signiﬁcant 9% reduc
which included women known to have migrated into or out of the state
                                                                                           tion in the risk of serous ovarian cancer associated with tubal ligation.
(the HR estimate was 0.67 in the preliminary cohort (95% CI
                                                                                           With regard to high grade serous ovarian cancer, Gaitskell et al. [13]
0.52 0.85), compared with 0.57 in the ﬁnal cohort (95% CI 0.44 0.73))
                                                                                           found a reduced risk associated with tubal ligation whereas Merritt
suggesting there may have been some misclassiﬁcation of parity in the
                                                                                           et al. [19] did not.
larger cohort which we were able to reduce by restricting the cohort to
                                                                                               We found a reduced risk of HGSC associated with USO without
known WA residents.
                                                                                           hysterectomy, although this ﬁnding was based on only a few HGSC
    We also compared the results in Fig. 2 with those from a restricted
                                                                                           cases in the exposed. This was consistent with results from Rice et al.
cohort which excluded, ﬁrstly, nulliparous women, secondly, women
                                                                                           [25] but contrasts with our earlier ﬁndings of the relationship with
born prior to 1950 and thirdly, women born prior to 1955. Our con
                                                                                           ovarian cancer overall in a cohort of women undergoing investigation
clusions remained the same, suggesting that the ﬁndings could not be
                                                                                           and treatment for infertility [58].
explained by parity misclassiﬁcation.
                                                                                               We did not detect an association between infertility and HGSC. In
                                                                                           other studies, Merritt et al. [19] did not ﬁnd an association between
4. Discussion                                                                              infertility and high grade serous carcinomas whereas Jensen et al. [15],
                                                                                           but not Tung et al. [28] found an association between infertility and
    In this study we examined the association between high grade                           serous carcinomas. Our ﬁndings with regard to the relationship be
serous tubo ovarian carcinoma and a range of risk factors.                                 tween HGSC and endometriosis are consistent with others [19,22,30].
    One of the factors we considered was a personal history of breast                          We found that a diagnosis of PID was associated with an increased
cancer. Breast cancer is a relatively common cancer [48], usually                          risk of HGSC. This ﬁnding was consistent with a recent record linkage
sporadic in nature [49]. In our study, the rate of HGSC in women with a                    cohort study by Rassmussen et al. [23] which found an increased risk of
personal history of breast cancer was around three times that of women                     serous ovarian cancer associated with PID, but not with an earlier meta
without a breast cancer diagnosis. It is likely that at least some of these                analysis of case control studies, which did not ﬁnd an association be
aﬀected women carried a BRCA mutation, which is associated with an                         tween PID and either serous ovarian cancer or high grade serous
increased risk of both breast and ovarian cancer, particularly HGSC.                       ovarian cancer [42]. These discrepancies may be due to the fact that
There is currently no reliable screening test for the early detection of                   PID may be underreported in studies that rely on self report due to its
ovarian cancer [50,51]. As the cost of genetic testing becomes more                        sensitive nature, whilst only more severe or recurring episodes of PID
aﬀordable, it may be worthwhile expanding the criteria for women in                        may be captured in hospital records.
whom genetic testing is appropriate. It may become cost eﬀective to                            We found a 59% increased risk of HGSC in women who delivered
oﬀer this simple saliva or blood test to more women treated for breast                     twins and higher order multiples compared with women who did not,
cancer.                                                                                    with conﬁdence intervals that included one. Other authors have gen
    We also examined the association between parity and risk of HGSC                       erally not found an association between ovarian cancer overall and the
and found a reduced risk of HGSC in women of higher parity (i.e.                           delivery of twins [33,37,39], although Albrektsen [32] found an in
women with 3 or more births, compared with women with 0, 1 or 2                            creased risk of serous tumours in women who delivered twin girls.
births),    consistent      with     most        studies      of    serous                 These diﬀerent ﬁndings may be related to the fact that individual stu
[8,9,11,12,16,17,19,21,26,28 31] and high grade serous [19,30]                             dies may not have suﬃcient power to adequately explore this associa
ovarian carcinoma, but not all. Some studies did not ﬁnd an association                    tion and because the association may diﬀer according to ovarian cancer

                                                                                     114
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 96 of 97 PageID: 75817
L.M. Stewart et al.                                                                                                                    Cancer Epidemiology 55 (2018) 110–116


subtype.                                                                               LMS and KS contributed to the analysis of data.
    Our study has several strengths and limitations. A major strength                  All authors contributed to the interpretation of data.
was the implementation of a detailed pathology review of all ovarian                   LMS drafted the article and all authors revised it critically for im
tumours recorded in our cohort using up to date methodology and                     portant intellectual content.
currently recognized classiﬁcation schemes [46]. This review led to the                All authors approved the ﬁnal version to be published.
re classiﬁcation of a number of cases, particularly those previously
classiﬁed as “not otherwise speciﬁed” and those of uncertain grade and              Acknowledgements
mixed type. These unspeciﬁed (other) categories can make up as much
as 30% of all ovarian cancer cases [13,31,52], and are predominantly                    The authors wish to thank the staﬀ at the Western Australian Data
high grade serous [46]. Other authors have emphasized the importance                Linkage Branch and staﬀ and custodians of the Hospital Morbidity Data
of histopathological review [2] and noted that without histopatholo                 Collection, the WA Cancer Registry, the Midwives Notiﬁcation System,
gical review, estimates of risk may be less precise [59]. Strengths in              Birth Registrations, Deaths Registrations and the WA Electoral Roll.
clude the size of the study population; accurate recording of diagnoses
and procedures in administrative databases rather than relying on                   Appendix A. Supplementary data
personal report which could be subject to error and recall bias.
Nevertheless, medical record linkage studies are not without ﬂaws.                      Supplementary material related to this article can be found, in the
Conditions under study had to have been diagnosed in hospital. Women                online version, at doi:https://doi.org/10.1016/j.canep.2018.05.011.
who were not admitted to hospital for infertility, PID or endometriosis
were classiﬁed as unexposed, even though some of these women would                  References
be suﬀering from these conditions.
    The major limitation of this study was our inability to include in               [1] M. Kossai, A. Leary, J.Y. Scoazec, C. Genestie, Ovarian cancer: a heterogeneous
formation on oral contraceptive use. Use of oral contraceptives is as                    disease, Pathobiology (2017), http://dx.doi.org/10.1159/000479006.
                                                                                     [2] W.G. McCluggage, Morphological subtypes of ovarian carcinoma: a review with
sociated with a signiﬁcant reduction in ovarian cancer risk [60]. If                     emphasis on new developments and pathogenesis, Pathology 43 (5) (2011)
women taking oral contraceptives were more, or less likely to be ex                      420–432, http://dx.doi.org/10.1097/PAT.0b013e328348a6e7.
posed to the factors under study, then confounding may have resulted,                [3] J. Prat, Ovarian carcinomas: ﬁve distinct diseases with diﬀerent origins, genetic
                                                                                         alterations, and clinicopathological features, Virchows Arch. 460 (3) (2012)
and our risk estimates would be inaccurate. For example, if women                        237–249, http://dx.doi.org/10.1007/s00428-012-1203-5.
diagnosed with PID were more likely to have taken oral contraceptives,               [4] P.M. Webb, S.J. Jordan, Epidemiology of epithelial ovarian cancer, Best Pract. Res.
then we may have underestimated the association between PID and                          Clin. Obstet. Gynaecol. 41 (2017) 3–14, http://dx.doi.org/10.1016/j.bpobgyn.
                                                                                         2016.08.006.
HGSC. Another limitation of our study was the need to classify parity                [5] J. Hunn, G.C. Rodriguez, Ovarian cancer: etiology, risk factors, and epidemiology,
into two categories, with women who delivered zero, one or two chil                      Clin. Obstet. Gynecol. 55 (1) (2012) 3–23, http://dx.doi.org/10.1097/GRF.
dren compared with women who delivered three or more. We classiﬁed                       0b013e31824b4611.
                                                                                     [6] J. Permuth-Wey, T.A. Sellers, Epidemiology of ovarian cancer, Methods Mol. Biol.
parity in this way to reduce misclassiﬁcation of women who migrated
                                                                                         472 (2009) 413–437, http://dx.doi.org/10.1007/978-1-60327-492-0 20.
into the state and only gave birth outside WA and women who only                     [7] T. Riman, S. Nilsson, I.R. Persson, Review of epidemiological evidence for re-
delivered children prior to 1970. A further limitation was the age of the                productive and hormonal factors in relation to the risk of epithelial ovarian ma-
study population. Because we wanted to capture information on ex                         lignancies, Acta Obstet. Gynecol. Scand. 83 (9) (2004) 783–795, http://dx.doi.org/
                                                                                         10.1111/j.0001-6349.2004.00550.x.
posures that occurred early in a woman’s life, including births and tubal            [8] G. Albrektsen, I. Heuch, G. Kvale, Reproductive factors and incidence of epithelial
ligation, we needed to choose a relatively young study population. The                   ovarian cancer: a Norwegian prospective study, Cancer Causes Control 7 (4) (1996)
average age at the end of follow up was 53 years, with the oldest                        421–427.
                                                                                     [9] F. Chiaﬀarino, F. Parazzini, C. Bosetti, S. Franceschi, R. Talamini, V. Canzonieri,
women in the cohort aged 69 years.                                                       et al., Risk factors for ovarian cancer histotypes, Eur. J. Cancer 43 (7) (2007)
                                                                                         1208–1213, http://dx.doi.org/10.1016/j.ejca.2007.01.035.
4.1. Conclusions                                                                    [10] D. Cibula, M. Widschwendter, O. Majek, L. Dusek, Tubal ligation and the risk of
                                                                                         ovarian cancer: review and meta-analysis, Hum. Reprod. Update 17 (1) (2011)
                                                                                         55–67, http://dx.doi.org/10.1093/humupd/dmq030.
    Our ﬁnding that PID was associated with an increased risk of HGSC               [11] R.T. Fortner, J. Ose, M.A. Merritt, H. Schock, A. Tjonneland, L. Hansen, et al.,
lends support to the hypothesis that inﬂammatory processes may play a                    Reproductive and hormone-related risk factors for epithelial ovarian cancer by
                                                                                         histologic pathways, invasiveness and histologic subtypes: results from the EPIC
role in the development of HGSC [40,61].
                                                                                         cohort, Int. J. Cancer 137 (5) (2015) 1196–1208, http://dx.doi.org/10.1002/ijc.
                                                                                         29471.
Funding                                                                             [12] K. Gaitskell, J. Green, K. Pirie, I. Barnes, C. Hermon, G.K. Reeves, et al., Histological
                                                                                         subtypes of ovarian cancer associated with parity and breastfeeding in the pro-
                                                                                         spective million women study, Int. J. Cancer 142 (2) (2018) 281–289, http://dx.
    This work was supported by a grant from the Ovarian Cancer                           doi.org/10.1002/ijc.31063.
Research Foundation (OCRF).                                                         [13] K. Gaitskell, J. Green, K. Pirie, G. Reeves, V. Beral, Million Women Study C, Tubal
    Susan Jordan is supported by a fellowship from the National Health                   ligation and ovarian cancer risk in a large cohort: substantial variation by histo-
                                                                                         logical type, Int. J. Cancer 138 (5) (2016) 1076–1084, http://dx.doi.org/10.1002/
and Medical Research Council of Australia.                                               ijc.29856.
    The funding source had no role to play in study design; in the col              [14] M.A. Gates, B.A. Rosner, J.L. Hecht, S.S. Tworoger, Risk factors for epithelial
lection, analysis and interpretation of data; in the writing of the report;              ovarian cancer by histologic subtype, Am. J. Epidemiol. 171 (1) (2010) 45–53,
                                                                                         http://dx.doi.org/10.1093/aje/kwp314.
or in the decision to submit the article for publication.                           [15] A. Jensen, H. Sharif, J.H. Olsen, S.K. Kjaer, Risk of breast cancer and gynecologic
                                                                                         cancers in a large population of nearly 50,000 infertile Danish women, Am. J.
Declaration of interest                                                                  Epidemiol. 168 (1) (2008) 49–57, http://dx.doi.org/10.1093/aje/kwn094.
                                                                                    [16] A.W. Kurian, R.R. Balise, V. McGuire, A.S. Whittemore, Histologic types of epi-
                                                                                         thelial ovarian cancer: have they diﬀerent risk factors? Gynecol. Oncol. 96 (2)
   LMS reports grants from Ovarian Cancer Research Foundation,                           (2005) 520–530, http://dx.doi.org/10.1016/j.ygyno.2004.10.037.
during the conduct of the study.                                                    [17] G. Kvale, I. Heuch, S. Nilssen, V. Beral, Reproductive factors and risk of ovarian
                                                                                         cancer: a prospective study, Int. J. Cancer 42 (2) (1988) 246–251.
   KS, SJ, CS, CDJH, AP, JR and PC report no declaration of interest.
                                                                                    [18] C. Madsen, L. Baandrup, C. Dehlendorﬀ, S.K. Kjaer, Tubal ligation and sal-
                                                                                         pingectomy and the risk of epithelial ovarian cancer and borderline ovarian tumors:
Authorship contribution                                                                  a nationwide case-control study, Acta Obstet. Gynecol. Scand. 94 (1) (2015) 86–94,
                                                                                         http://dx.doi.org/10.1111/aogs.12516.
                                                                                    [19] M.A. Merritt, M. De Pari, A.F. Vitonis, L.J. Titus, D.W. Cramer, K.L. Terry,
    LMS and CS contributed to the conception and design and acquisi                      Reproductive characteristics in relation to ovarian cancer risk by histologic path-
tion of data.                                                                            ways, Hum. Reprod. 28 (5) (2013) 1406–1417, http://dx.doi.org/10.1093/


                                                                              115
Case 3:16-md-02738-MAS-RLS Document 9900 Filed 05/30/19 Page 97 of 97 PageID: 75818
L.M. Stewart et al.                                                                                                                                    Cancer Epidemiology 55 (2018) 110–116


     humrep/des466.                                                                                  [41] R.B. Ness, J.A. Grisso, C. Cottreau, J. Klapper, R. Vergona, J.E. Wheeler, et al.,
[20] M.A. Merritt, A.C. Green, C.M. Nagle, P.M. Webb, Australian Cancer S, Australian                     Factors related to inﬂammation of the ovarian epithelium and risk of ovarian
     ovarian cancer study G, Talcum powder, chronic pelvic inﬂammation and NSAIDs                         cancer, Epidemiology 11 (2) (2000) 111–117.
     in relation to risk of epithelial ovarian cancer, Int. J. Cancer 122 (1) (2008)                 [42] C.B. Rasmussen, S.K. Kjaer, V. Albieri, E.V. Bandera, J.A. Doherty, E. Hogdall, et al.,
     170–176, http://dx.doi.org/10.1002/ijc.23017.                                                        Pelvic inﬂammatory disease and the risk of ovarian cancer and borderline ovarian
[21] F. Modugno, R.B. Ness, J.E. Wheeler, Reproductive risk factors for epithelial                        tumors: a pooled analysis of 13 case-control studies, Am. J. Epidemiol. 185 (1)
     ovarian cancer according to histologic type and invasiveness, Ann. Epidemiol. 11                     (2017) 8–20, http://dx.doi.org/10.1093/aje/kww161.
     (8) (2001) 568–574.                                                                             [43] Data Linkage Western Australia, Enabling Health and Medical Research in Western
[22] C.L. Pearce, C. Templeman, M.A. Rossing, A. Lee, A.M. Near, P.M. Webb, et al.,                       Australia, (2018) [updated 24 August 2016; cited 25 April 2018] http://www.
     Association between endometriosis and risk of histological subtypes of ovarian                       datalinkage-wa.org/.
     cancer: a pooled analysis of case-control studies, Lancet Oncol. 13 (4) (2012)                  [44] C.D. Holman, A.J. Bass, D.L. Rosman, M.B. Smith, J.B. Semmens, E.J. Glasson, et al.,
     385–394, http://dx.doi.org/10.1016/S1470-2045(11)70404-1.                                            A decade of data linkage in Western Australia: strategic design, applications and
[23] C.B. Rasmussen, A. Jensen, V. Albieri, K.K. Andersen, S.K. Kjaer, Is Pelvic in-                      beneﬁts of the WA data linkage system, Aust. Health Rev. 32 (4) (2008) 766–777.
     ﬂammatory disease a risk factor for ovarian cancer? Cancer Epidemiol. Biomarkers                [45] L. Hill, Compulsory voting in Australia: a basis for a best practice regime, Fed. Law
     Prev. 26 (1) (2017) 104–109, http://dx.doi.org/10.1158/1055-9965.EPI-16-0459.                        Rev. 32 (2004) 479–498.
[24] M.S. Rice, M.A. Murphy, S.S. Tworoger, Tubal ligation, hysterectomy and ovarian                 [46] C.J.R. Stewart, L.M. Stewart, C.D.J. Holman, S. Jordan, J. Semmens, K. Spilsbury,
     cancer: a meta-analysis, J. Ovarian Res. 5 (1) (2012) 13, http://dx.doi.org/10.                      et al., Value of pathology review in a population-based series of ovarian tumors, Int.
     1186/1757-2215-5-13.                                                                                 J. Gynecol. Pathol. 36 (4) (2017) 377–385, http://dx.doi.org/10.1097/PGP.
[25] M.S. Rice, S.E. Hankinson, S.S. Tworoger, Tubal ligation, hysterectomy, unilateral                   0000000000000342.
     oophorectomy, and risk of ovarian cancer in the nurses’ health studies, Fertil. Steril.         [47] P. Royston, M.K. Parmar, Flexible parametric proportional-hazards and propor-
     102 (1) (2014), http://dx.doi.org/10.1016/j.fertnstert.2014.03.041 192-8 e3.                         tional-odds models for censored survival data, with application to prognostic
[26] H.A. Risch, L.D. Marrett, M. Jain, G.R. Howe, Diﬀerences in risk factors for epi-                    modelling and estimation of treatment eﬀects, Stat. Med. 21 (15) (2002)
     thelial ovarian cancer by histologic type. Results of a case-control study, Am. J.                   2175–2197, http://dx.doi.org/10.1002/sim.1203.
     Epidemiol. 144 (4) (1996) 363–372.                                                              [48] J. Ferlay, C. Héry, P. Autier, R. Sankaranarayanan, Global burden of breast cancer,
[27] K.A. Rosenblatt, D.B. Thomas, Reduced risk of ovarian cancer in women with a                         in: C. Li (Ed.), Breast Cancer Epidemiology. New York, Springer New York, NY,
     tubal ligation or hysterectomy. The World Health Organization collaborative study                    2010, pp. 1–19.
     of neoplasia and steroid contraceptives, Cancer Epidemiol. Biomarkers Prev. 5 (11)              [49] K. McPherson, C.M. Steel, J.M. Dixon, ABC of breast diseases. Breast cancer-epi-
     (1996) 933–935.                                                                                      demiology, risk factors, and genetics, BMJ 321 (7261) (2000) 624–628.
[28] K.H. Tung, M.T. Goodman, A.H. Wu, K. McDuﬃe, L.R. Wilkens, L.N. Kolonel, et al.,                [50] D.C. Grossman, S.J. Curry, D.K. Owens, M.J. Barry, K.W. Davidson, C.A. Doubeni,
     Reproductive factors and epithelial ovarian cancer risk by histologic type: a mul-                   et al., Screening for ovarian cancer: US preventive services task force re-
     tiethnic case-control study, Am. J. Epidemiol. 158 (7) (2003) 629–638.                               commendation statement, JAMA 319 (6) (2018) 588–594, http://dx.doi.org/10.
[29] N.S. Weiss, J.L. Young Jr., G.J. Roth, Marital status and incidence of ovarian cancer:               1001/jama.2017.21926.
     the U.S. third national cancer survey, 1969–71, J. Natl. Cancer Inst. 58 (4) (1977)             [51] J.T. Henderson, E.M. Webber, G.F. Sawaya, Screening for ovarian cancer: updated
     913–915.                                                                                             evidence report and systematic review for the US preventive services task force,
[30] N. Wentzensen, E.M. Poole, B. Trabert, E. White, A.A. Arslan, A.V. Patel, et al.,                    JAMA 319 (6) (2018) 595–606, http://dx.doi.org/10.1001/jama.2017.21421.
     Ovarian cancer risk factors by histologic subtype: an analysis from the ovarian                 [52] V. McGuire, P. Hartge, L.M. Liao, R. Sinha, L. Bernstein, A.J. Canchola, et al., Parity
     cancer cohort consortium, J. Clin. Oncol. 34 (24) (2016) 2888–2898, http://dx.doi.                   and oral contraceptive use in relation to ovarian cancer risk in older women, Cancer
     org/10.1200/JCO.2016.66.8178.                                                                        Epidemiol. Biomarkers Prev. 25 (7) (2016) 1059–1063, http://dx.doi.org/10.1158/
[31] H.P. Yang, B. Trabert, M.A. Murphy, M.E. Sherman, J.N. Sampson, L.A. Brinton,                        1055-9965.EPI-16-0011.
     et al., Ovarian cancer risk factors by histologic subtypes in the NIH-AARP diet and             [53] D.C. Whiteman, V. Siskind, D.M. Purdie, A.C. Green, Timing of pregnancy and the
     health study, Int. J. Cancer 131 (4) (2012) 938–948, http://dx.doi.org/10.1002/ijc.                  risk of epithelial ovarian cancer, Cancer Epidemiol. Biomarkers Prev. 12 (1) (2003)
     26469.                                                                                               42–46.
[32] G. Albrektsen, I. Heuch, S. Thoresen, G. Kvale, Twin births, sex of children and                [54] A.H. Wu, C.L. Pearce, A.W. Lee, C. Tseng, A. Jotwani, P. Patel, et al., Timing of
     maternal risk of ovarian cancer: a cohort study in Norway, Br. J. Cancer 96 (9)                      births and oral contraceptive use inﬂuences ovarian cancer risk, Int. J. Cancer. 141
     (2007) 1433–1435, http://dx.doi.org/10.1038/sj.bjc.6603687.                                          (12) (2017) 2392–2399, http://dx.doi.org/10.1002/ijc.30910.
[33] J. Ji, A. Forsti, J. Sundquist, K. Hemminki, Risks of breast, endometrial, and ovarian          [55] T.M. Friebel, S.M. Domchek, T.R. Rebbeck, Modiﬁers of cancer risk in BRCA1 and
     cancers after twin births, Endocr. Relat. Cancer 14 (3) (2007) 703–711, http://dx.                   BRCA2 mutation carriers: systematic review and meta-analysis, J. Natl. Cancer Inst.
     doi.org/10.1677/ERC-07-0088.                                                                         106 (6) (2014), http://dx.doi.org/10.1093/jnci/dju091 dju091.
[34] S.J. Jordan, A.C. Green, C.M. Nagle, C.M. Olsen, D.C. Whiteman, P.M. Webb, et al.,              [56] J. Kotsopoulos, J. Lubinski, J. Gronwald, C. Cybulski, R. Demsky, S.L. Neuhausen,
     Beyond parity: association of ovarian cancer with length of gestation and oﬀspring                   et al., Factors inﬂuencing ovulation and the risk of ovarian cancer in BRCA1 and
     characteristics, Am. J. Epidemiol. 170 (5) (2009) 607–614, http://dx.doi.org/10.                     BRCA2 mutation carriers, Int. J. Cancer 137 (5) (2015) 1136–1146, http://dx.doi.
     1093/aje/kwp185.                                                                                     org/10.1002/ijc.29386.
[35] M. Lambe, J. Wuu, M.A. Rossing, C.C. Hsieh, Twinning and maternal risk of ovarian               [57] B. Modan, P. Hartge, G. Hirsh-Yechezkel, A. Chetrit, F. Lubin, U. Beller, et al.,
     cancer, Lancet 353 (9168) (1999) 1941, http://dx.doi.org/10.1016/S0140-                              Parity, oral contraceptives, and the risk of ovarian cancer among carriers and
     6736(99)02000-0.                                                                                     noncarriers of a BRCA1 or BRCA2 mutation, N. Engl. J. Med. 345 (4) (2001)
[36] R.E. Neale, S. Darlington, M.F. Murphy, P.B. Silcocks, D.M. Purdie, M. Talback, The                  235–240, http://dx.doi.org/10.1056/NEJM200107263450401.
     eﬀects of twins, parity and age at ﬁrst birth on cancer risk in Swedish women, Twin             [58] L.M. Stewart, C.D. Holman, P. Aboagye-Sarfo, J.C. Finn, D.B. Preen, R. Hart, In vitro
     Res. Hum. Genet. 8 (2) (2005) 156–162, http://dx.doi.org/10.1375/                                    fertilization, endometriosis, nulliparity and ovarian cancer risk, Gynecol. Oncol.
     1832427053738809.                                                                                    128 (2) (2013) 260–264, http://dx.doi.org/10.1016/j.ygyno.2012.10.023.
[37] R.E. Neale, D.M. Purdie, M.F. Murphy, G.P. Mineau, T. Bishop, D.C. Whiteman,                    [59] M. Jareid, I. Licaj, K. Standahl Olsen, E. Lund, H.M. Bovelstad, Does an epide-
     Twinning and the incidence of breast and gynecological cancers (United States),                      miological comparison support a common cellular lineage for similar subtypes of
     Cancer Causes Control 15 (8) (2004) 829–835, http://dx.doi.org/10.1023/B:CACO.                       postmenopausal uterine and ovarian carcinoma? The Norwegian women and cancer
     0000043433.09264.58.                                                                                 study, Int. J. Cancer 141 (6) (2017) 1181–1189, http://dx.doi.org/10.1002/ijc.
[38] L. Titus-Ernstoﬀ, K. Perez, D.W. Cramer, B.L. Harlow, J.A. Baron, E.R. Greenberg,                    30826.
     Menstrual and reproductive factors in relation to ovarian cancer risk, Br. J. Cancer            [60] B.M. Reid, J.B. Permuth, T.A. Sellers, Epidemiology of ovarian cancer: a review,
     84 (5) (2001) 714–721, http://dx.doi.org/10.1054/bjoc.2000.1596.                                     Cancer Biol. Med. 14 (1) (2017) 9–32, http://dx.doi.org/10.20892/j.issn.2095-
[39] D.C. Whiteman, M.F. Murphy, L.S. Cook, D.W. Cramer, P. Hartge, P.A. Marchbanks,                      3941.2016.0084.
     et al., Multiple births and risk of epithelial ovarian cancer, J. Natl. Cancer Inst. 92         [61] B. Goswami, M. Rajappa, M. Sharma, A. Sharma, Inﬂammation: its role and inter-
     (14) (2000) 1172–1177.                                                                               play in the development of cancer, with special focus on gynecological malig-
[40] R.B. Ness, C. Cottreau, Possible role of ovarian epithelial inﬂammation in ovarian                   nancies, Int. J. Gynecol. Cancer 18 (4) (2008) 591–599, http://dx.doi.org/10.1111/
     cancer, J. Natl. Cancer Inst. 91 (17) (1999) 1459–1467.                                              j.1525-1438.2007.01089.x.




                                                                                               116
